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                                                         Hearing Date: June 6, 2018 at 9:30 a.m. (Atlantic Time)
                                                   Objection Deadline: April 9, 2018 at 4:00 p.m. (Atlantic Time)



                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


 In re:

 THE FINANCIAL OVERSIGHT AND                                                 PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                           Title III

                       as representative of                                  Case No. 17-BK-3283 (LTS)

 THE COMMONWEALTH OF PUERTO RICO, et al.,                                    (Jointly Administered)
           Debtors.1


         SECOND INTERIM APPLICATION OF KLEE, TUCHIN, BOGDANOFF &
        STERN LLP, IN ITS CAPACITY AS SPECIAL MUNICIPAL BANKRUPTCY
          COUNSEL TO BETTINA M. WHYTE, AS THE COFINA AGENT, FOR
       INTERIM ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
             AND REIMBURSEMENT OF EXPENSES INCURRED FROM
                  OCTOBER 1, 2017 THROUGH JANUARY 31, 2018




 1
     The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
     (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of
     Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
     Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last
     Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
     Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747).

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                                       EXHIBITS


 Exhibit 1     Certification of Jonathan M. Weiss

 Exhibit 2     Compensation by Professional for the Interim Period

 Exhibit 3     Summary of Expenses for the Interim Period

 Exhibit 4     Summary of Time by Billing Category for the Interim Period

 Exhibit 4-A   Time and Expense Detail for the October 2017 Fee Statement

 Exhibit 4-B   Time and Expense Detail for the November 2017 Fee Statement

 Exhibit 4-C   Time and Expense Detail for the December 2017 Fee Statement

 Exhibit 4-D   Time and Expense Detail for the January 2018 Fee Statement

 Exhibit 5     Comparable Compensation Disclosures

 Exhibit 6     Budget and Staffing Plans

 Exhibit 7     List of Professionals By Matter

 Exhibit 8     Engagement Letter




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     SUMMARY SHEET TO THE SECOND INTERIM APPLICATION OF KLEE, TUCHIN,
         BOGDANOFF & STERN LLP, IN ITS CAPACITY AS SPECIAL MUNICIPAL
     BANKRUPTCY COUNSEL TO BETTINA M. WHYTE, AS THE COFINA AGENT, FOR
      INTERIM ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES INCURRED FROM
                  OCTOBER 1, 2017 THROUGH JANUARY 31, 2018



Name of Applicant                                                        Klee, Tuchin, Bogdanoff & Stern LLP
Authorized to Provide Professional Services to                           Bettina M. Whyte, as COFINA Agent
Date of Retention                                                        August 10, 2017
                                                                         Nunc Pro Tunc to July 31, 2017
Period for which compensation and reimbursement is                       October 1, 2017 through January 31, 2018
sought
Amount of interim compensation sought as actual,                         $587,025.501 (100% Fees)
reasonable, and necessary
Amount of interim expense reimbursement sought as                        $12,994.18 (100% Expenses)
actual, reasonable, and necessary
Are your fee or expense totals different from the sum of                 No
previously-served monthly statements
Blended rate in this application for all attorneys                       $999.70
Blended rate in this application for all timekeepers                     $964.00
Petition date                                                            May 5, 2017 for COFINA (as defined below)
Total compensation approved by interim order to date                     $552,195.152
Total expenses approved by interim order to date                         $10,198.66
Total allowed compensation paid to date                                  $881,435.25 (90% fees from 1st Interim plus
                                                                         90% fees for Oct-Dec 2017)
Total allowed expenses paid to date                                      $23,465.83 (100% fees from 1st Interim plus
                                                                         100% fees for Oct-Dec 2017)




     1
         This does not include $43,431.00 representing 39.70 hours of work that has been written off in the exercise of
         billing discretion and is reflected as “No Charge” on the billing records, and also does not include an additional
         $2,626.00 representing 3.20 hours of work that has been written off in the exercise of billing discretion and does
         not appear on the billing records at all.
     2
         The Fee Examiner has reserved rights with respect to an additional $66,578.50. KTB&S similarly reserves its
         rights with respect to the same.
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Compensation sought in this application already paid         $348,000.75 (90% Fees for 10/1/2017 –
pursuant to the interim compensation order but not yet       12/31/2017) (the deadline for payment on
allowed                                                      account of KTB&S’s January fees has not
                                                             yet passed as of the filing of this
                                                             Application).
Expenses sought in this application already paid pursuant    $12,331.95
to the interim compensation order but not yet allowed        (100% Expenses for 10/1/2017 –
                                                             12/31/2017)
Number of professionals with time included in this           6
application
If applicable, number of professionals in this application   1
not included in staffing plans approved by client

If applicable, difference between fees budgeted and          Fees Budgeted: $873,400.00
compensation sought for this period                          Fees Sought: $587,025.50
                                                             Difference: $263,374.50
Number of professionals billing fewer than 15 hours to the   1
case during this period
Are any timekeeper’s hourly rates higher than those          The Application does not include rate
charged and approved upon retention? If yes, calculate and   increases other than ordinary course annual
disclose the total compensation sought in this application   step increases. The client was notified at the
using the rate originally disclosed in the retention         outset of the engagement that, like most of
application.                                                 its peer law firms, KTB&S adjusts its hourly
                                                             rates periodically, typically on January 1 of
                                                             each year, in the form of step increases in the
                                                             ordinary course on the basis of advancing
                                                             experience, seniority, and promotion of
                                                             KTB&S’s professionals. The client was
                                                             further notified immediately upon
                                                             implementation of the step increases. These
                                                             step increases do not constitute “rate
                                                             increases” as that term is used in the U.S.
                                                             Trustee Guidelines. Notwithstanding the
                                                             foregoing, the total compensation (fees and
                                                             expenses) billed solely at 2017 rates would
                                                             have been $586,120.45.


     This is an interim application.

     The total time expended for monthly and interim fee application preparation for the Interim Fee
     Period is approximately 41.80 hours and the corresponding compensation requested is
     approximately $22,095.00. Notably, time billed to the 0005 (Fee Applications and Retentions)
     category included (i) time expended for fee application preparation, and (ii) time expended for
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 fee-related tasks not relating to fee application preparation, such as analysis and correspondence
 concerning Fee Examiner memoranda, analysis of the Fee Examiner’s motion for an amended
 Interim Compensation Order, and communications with the Commonwealth and AAFAF
 concerning compliance with the Interim Compensation Order and the COFINA Protections
 Order (as defined below). Accordingly, even though the total amount listed in this paragraph is
 necessarily less than the total amount of fees in category 0005, this amount is accurate.




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                       PRIOR INTERIM FEE APPLICATIONS & ADJUSTMENTS

                                                       Requested                          Approved
   Date                 Interim Fee             Fees            Expenses           Fees           Expenses
[Docket No.]           Period (“IFP”)
                          Covered

12/18/2017              07/31/2017 –
Dkt. No. 2099            09/30/2017            $592,705.00      $11,133.88     $552,195.153        $10,198.66

           Total fees and expenses approved by interim orders to date:         $552,195.15         $10,198.66




                  PRIOR INTERIM AND/OR MONTHLY FEE PAYMENTS TO DATE

                                                             Requested                        Paid
  Date            Interim Fee Application                Fees       Expenses          Fees           Expenses
Payment         [Docket No.] or Monthly Fee
Received              Statement Paid

               First Interim Fee Application
12/01/17       Dkt No. 2099                         $592,705.00     $11,133.88     $533,434.50     $11,133.88
               Monthly Fee Statement
12/26/17       (October 2017)                       $146,885.50      $7,106.71     $132,196.95       $7,106.71
               Monthly Fee Statement
01/23/18       (November 2017)                      $158,738.50      $4,548.66     $142,864.65       $4,548.66
               Monthly Fee Statement
02/12/18       (December 2017)                         $81.043.50        $676.58    $72,939.15         $676.58

                                        Total fees and expenses PAID to date: $881,435.25          $23,465.83




    3
        See note 2 above.
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 TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE LAURA

 TAYLOR SWAIN:

            Klee, Tuchin, Bogdanoff & Stern LLP (“KTB&S”), in its capacity as special municipal

 bankruptcy counsel to Bettina M. Whyte, the COFINA Agent (the “COFINA Agent”) in the

 above-captioned Title III cases ( the “Title III Cases”), hereby submits its second interim fee

 application (the “Application”) for an award of interim compensation for professional services

 rendered in the amount of $587,025.50 and reimbursement for actual and necessary expenses in

 connection with such services in the amount of $12,994.18, for the period October 1, 2017

 through January 31, 2018 (the “Interim Period”). KTB&S submits this Application pursuant to

 sections 316 and 317 of the Puerto Rico Oversight, Management, and Economic Stability Act

 (“PROMESA”),1 48 U.S.C. §§ 2176, 2177; sections 105(a) and 503(b) of chapter 11 of the

 United States Code (the “Bankruptcy Code),2 Rule 2016(a) of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”),3 Rule 2016-1 of the Bankruptcy Rules for the United

 States Bankruptcy Court for the District of Puerto Rico (the “Local Rules”),4 the First Amended

 Order Setting Procedures for Interim Compensation and Reimbursement of Expenses of

 Professionals [Dkt. No. 1715] (“Interim Compensation Order”) and the United States

 Trustee’s Guidelines for Reviewing Applications for Compensation and Reimbursement of

 Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Large Chapter 11 Cases Effective as of

 November 1, 2013 (the “UST Guidelines”). In support of its Application for allowance of


 1
     PROMESA is codified at 48 U.S.C. §§ 2101–2241.
 2
     Unless otherwise noted, all Bankruptcy Code sections cited in the Application are made applicable to these Title
     III Cases pursuant to section 301(a) of PROMESA.
 3
     All Bankruptcy Rules referenced in the Application are made applicable to these Title III Cases pursuant to
     section 310 of PROMESA.
 4
     The Local Rules are made applicable to these Title III Cases by the Court’s Order (A) Imposing and Rendering
     Applicable Local Bankruptcy Rules to These Title III Cases, (B) Authorizing Establishment of Certain Notice,
     Case Management, and Administrative Procedures, and (C) Granting Related Relief [Dkt. No. 249].
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 compensation for professional services rendered and reimbursement of expenses incurred during

 the Interim Period, in its capacity as special municipal bankruptcy counsel to the COFINA

 Agent, KTB&S respectfully represents:

                                     PRELIMINARY STATEMENT

            1.    KTB&S’s services to the COFINA Agent have been substantial, necessary, and

 beneficial to the COFINA Agent and have materially advanced the Commonwealth-COFINA

 Dispute.5 During the Interim Period, KTB&S worked diligently on behalf of the COFINA

 Agent, including among other things: (i) advancing the Commonwealth-COFINA Dispute,

 including litigating the scope of the dispute and responding to amended complaints filed by the

 Commonwealth Agent; (ii) prosecuting discovery against various third parties with important

 information bearing on the dispute; (iii) participating in the corresponding mediation process,

 including, at the request of the COFINA Agent, preparing mediation memoranda and statements

 in support of the COFINA Agent’s positions; (iv) conducting substantial legal research and

 analysis regarding bankruptcy law and other related topics and preparing and/or editing

 numerous memoranda and pleadings regarding the Commonwealth-COFINA Dispute;

 (v) regularly discussing strategy and key issues in the Commonwealth-COFINA Dispute with the

 COFINA Agent and her other professionals; and (vi) discussing the Commonwealth-COFINA

 Dispute with the stakeholders of COFINA and other constituents in these Title III Cases.

 Throughout the Interim Period, the variety and complexity of the issues involved in these cases

 and the need to address many of those issues on an expedited basis have required KTB&S

 professionals to devote substantial time on a daily basis.


 5
     Terms used but not defined herein shall have the meaning ascribed to them in the Stipulation and Order
     Approving Procedure to Resolve Commonwealth-COFINA Dispute (the “Commonwealth-COFINA
     Stipulation”).
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                                   JURISDICTION AND VENUE

            2.    This Court has subject matter jurisdiction over this matter pursuant to section

 306(a) of PROMESA.

            3.    Venue is proper pursuant to section 306(a) of PROMESA.

            4.    KTB&S makes this Application pursuant to sections 316 and 317 of PROMESA,

 sections 105(a) and 503(b) of the Bankruptcy Code, Bankruptcy Rule 2016, Local Rule 2016-1,

 the Commonwealth-COFINA Stipulation (as defined below), the Interim Compensation Order

 and the UST Guidelines.

                                           BACKGROUND

 A.         General Background

            5.    On May 3, 2017, the Commonwealth of Puerto Rico (the “Commonwealth”), by

 and through the Financial Oversight and Management Board for Puerto Rico (the “Oversight

 Board”), as the Commonwealth’s representative pursuant to section 315(b) of PROMESA, filed

 a petition with the Court under title III of PROMESA.

            6.    On May 5, 2017, the Puerto Rico Sales Tax Financing Corporation (“COFINA”),

 by and through the Oversight Board, as COFINA’s representative pursuant to section 315(b) of

 PROMESA, filed a petition with the Court under title III of PROMESA.

            7.    On May 21, 2017, the Employees Retirement System for the Commonwealth of

 Puerto Rico (“ERS”), by and through the Oversight Board, as ERS’s representative pursuant to

 section 315(b) of PROMESA, filed a petition with the Court under title III of PROMESA.

            8.    On July 3, 2017, the Puerto Rico Electric Power Authority (“PREPA”), by and

 through the Oversight Board, as PREPA’s representative pursuant to section 315(b) of

 PROMESA, filed a petition with the Court under title III of PROMESA.

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            9.    Through Orders of this Court, the Commonwealth, COFINA, HTA, ERS, and

 PREPA Title III Cases (collectively, the “Title III Cases”) are jointly administered for

 procedural purposes only pursuant to section 304(g) of PROMESA and Bankruptcy Rule 1015.

 [See Dkt. Nos. 242, 537 and 1417.]

 B.         KTB&S’s Retention By The COFINA Agent

            10.   On August 10, 2017, the Court entered the Commonwealth-COFINA Stipulation.

 The Commonwealth-COFINA Stipulation appointed Bettina M. Whyte as the COFINA Agent

 and appointed KTB&S as her special municipal bankruptcy counsel. The Commonwealth-

 COFINA Stipulation also authorized the applicable Debtor (in KTB&S’s case, COFINA) to

 compensate KTB&S in accordance with KTB&S’s normal hourly rates and reimburse KTB&S

 for the firm’s actual and necessary out-of-pocket expenses incurred, subject to application to this

 Court as set forth herein. The Commonwealth-COFINA Stipulation further provides that the

 Commonwealth must make such payments within fourteen days (14) of receiving notice of

 nonpayment. As set forth more fully below, pursuant to the Interim Compensation Order (as

 defined below), KTB&S has served four monthly fee statements in respect of the Interim Period

 and has been paid 90% of the fees and 100% of the expenses for its October 2017, November

 2017, and December 2017 monthly fee statements. KTB&S has received no payment for its

 January 2018 fee statement.

 C.         Appointment of Fee Examiner

            11.   On October 6, 2017, the Court entered the Order Pursuant to PROMESA Sections

 316 and 317 and Bankruptcy Code Section 105(a) Appointing a Fee Examiner and Related

 Relief [Dkt. No. 1416], thereby appointing Brady Williamson to serve as the fee examiner (the

 “Fee Examiner”) in the Title III Cases.

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                     SUMMARY OF PROFESSIONAL COMPENSATION
                    AND REIMBURSEMENT OF EXPENSES REQUESTED

            12.   By this Application and pursuant to sections 316 and 317 of PROMESA, sections

 105(a) and 503(b) of the Bankruptcy Code, Rule 2016(a) of the Bankruptcy Rules and Rule

 2016-1 of the Local Rules, KTB&S requests that this Court authorize interim allowance of

 compensation for professional services rendered and reimbursement of expenses incurred during

 the Interim Period in the amount of $600,019.68 (the “Application Amount”), which includes

 (a) compensation of $587,025.50 in fees for services rendered to COFINA and

 (b) reimbursement of $12,994.18 in actual and necessary expenses in connection with these

 services. As of the date hereof, in respect of the Interim Period, KTB&S has been paid all

 amounts other than $239,686.98, which unpaid amount represents 10% of KTB&S’s fees that

 have been “held back” (the “Holdback”) for the period October 1, 2017 through December 31,

 2017, and 100% of fees and 100% of expenses requested for January 1-31, 2018 (the payment

 deadline for which period has not yet expired as of the filing of this Application).

                         PRIOR INTERIM AWARDS AND REQUESTS

            13.   On December 18, 2017, KTB&S filed its First Interim Application of Klee,

 Tuchin, Bogdanoff & Stern LLP, in its Capacity as Special Municipal Bankruptcy Counsel to

 Bettina M. Whyte, as the COFINA Agent, for Interim Allowance of Compensation for Services

 Rendered and Reimbursement of Expenses Incurred From July 31, 2017 Through September 30,

 2017 [Dkt. No. 2099] (the “First Interim Application”), by which KTB&S sought allowance of

 fees in the amount of $592,705.00 and expenses in the amount of $11,133.88 in respect of

 services rendered between July 31, 2017 through September 30, 2017 (the “First Interim

 Period”).


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            14.    On March 1, 2018, the Fee Examiner filed the Fee Examiner’s Initial Report

 [Dkt. No. 2645] with respect to interim fee applications filed by professionals retained in the

 Title III Cases. KTB&S and the Fee Examiner consensually agreed to a reduction of KTB&S’s

 fees in the amount of $40,509.85 and expenses in the amount of $935.22.6

            15.    The First Interim Application was approved by order of this Court on March 7,

 2018 [Dkt. No. 2685]. KTB&S was paid previously $544,568.38, representing 90% of its

 allowed fees and 100% of its allowed expenses. After applying the $41,445.07 fees and

 expenses reductions, the unpaid balance owed to KTB&S is $17,825.43.

                  KTB&S’S FEES AND EXPENSES FOR THE INTERIM PERIOD

            16.    KTB&S’s services in the Title III Cases have been substantial, necessary and

 beneficial to the COFINA Agent. Throughout the Interim Period, the variety and complexity of

 the issues involved and the need to address those issues on an expedited basis required KTB&S,

 in the discharge of its professional responsibilities, to devote substantial time on a daily basis.

            17.    Specifically, and as further reflected in the subject matter narratives below,

 KTB&S’s requested compensation reflects the requisite time, skill and effort KTB&S expended

 during the Interim Period towards, among other things: (a) continuing to advance these cases to a

 resolution on a dual track of litigation and mediation; (b) negotiating with parties regarding

 numerous discovery requests; (c) contributing to various pleadings on behalf of the COFINA

 Agent in connection with, among other things, the scope of the Commonwealth-COFINA

 Dispute; (d) participating in the advancement of the mediation process; and (e) conducting

 significant research regarding bankruptcy law and other related topics in connection with the

 Commonwealth-COFINA Dispute.

 6
     The Fee Examiner has reserved rights with respect to an additional $66,578.50. KTB&S similarly reserves its
     rights with respect to the same.
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            18.   KTB&S respectfully submits that its efforts on behalf of the COFINA Agent

 during the Interim Period have been both (i) at the request of the COFINA Agent, and (ii) not

 duplicative of work performed by the COFINA Agent’s other professionals.

                                MONTHLY FEE STATEMENTS

            19.   The Interim Compensation Order provides, among other things, that professionals

 are required to serve monthly itemized billing statements (the “Monthly Fee Statements”) on

 counsel to the Oversight Board, counsel to AAFAF, the U.S. Trustee, counsel to the Official

 Committee of Unsecured Creditors, counsel to the Official Committee of Retired Employees,

 and the Fee Examiner (collectively, the “Notice Parties”). Upon passage of the objection

 period, if no objections were received, the Debtors were authorized to pay to the professionals

 90% of the fees and 100% of the expenses requested. In addition to the Interim Compensation

 Order authorizing payment, the COFINA Agent received further confirmation of the Debtors’

 obligation to pay pursuant to the Order Approving COFINA Agent’s Motion Pursuant to 48

 U.S.C. § 2161 and 11 U.S.C. § 105(a) for Order: (I) Confirming that 48 U.S.C. § 2125 Applies to

 COFINA Agent; (II) Confirming Retention of Local Counsel; and (III) Clarifying Payment of

 Fees and Expenses of COFINA Agent and Her Professionals [Dkt. No. 1612] (the “COFINA

 Protections Order”). The COFINA Protections Order directs payment to the COFINA Agent’s

 professionals out of the collateral “purportedly pledged to COFINA bondholders because the

 services of the COFINA Agent (i) serve as adequate protection for the collateral and/or (ii) are

 “reasonable” and “necessary” to protect the collateral pursuant to section 506(c) of the

 Bankruptcy Code, the Agent/Professional Fees shall be paid pursuant to the Interim

 Compensation Order or any other order of the Court. . . .” COFINA Protections Order ¶ 5.



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            20.   In compliance with the Interim Compensation Order, KTB&S has submitted

 four (4) Monthly Fee Statements relating to the Interim Period. Payment on account of these

 Monthly Fee Statements was requested as follows:

                  (a)    Pursuant to the Monthly Fee Statement for the period October 1,
                         2017 through October 31, 2017 (the “October Fee Statement”),
                         KTB&S requested payment of $139,303.66, representing the total
                         of (i) $132,196.95, which is 90% of the fees requested for services
                         rendered, plus (ii) $7,106.71, representing 100% of the expenses
                         incurred during the period.

                  (b)    Pursuant to the Monthly Fee Statement for the period November 1,
                         2017 through November 30, 2017 (the “November Fee
                         Statement”), KTB&S requested payment of $147,413.31,
                         representing the total of (i) $142,864.65, which is 90% of the fees
                         requested for services rendered, plus (ii) $4,548.66, representing
                         100% of the expenses incurred during the period.

                  (c)    Pursuant to the Monthly Fee Statement for the period December 1,
                         2017 through December 31, 2017 (the “December Fee
                         Statement”), KTB&S requested payment of $73,615.73,
                         representing the total of (i) $72,939.15, which is 90% of the fees
                         requested for services rendered, plus (ii) $676.58, representing
                         100% of the expenses incurred during the period.

                  (d)    Pursuant to the Monthly Fee Statement for the period January 1,
                         2018 through January 31, 2018 (the “January Fee Statement”),
                         KTB&S requested payment of $180,984.43, representing the total
                         of (i) $180,322.20 which is 90% of the fees requested for services
                         rendered, plus (ii) $662.23, representing 100% of the expenses
                         incurred during the period.

            21.   Annexed hereto as Exhibit 1 is the Certification of Jonathan M. Weiss pursuant to

 the Local Rules (the “Certification”).

            22.   Annexed hereto as Exhibit 2 is a summary sheet listing each attorney and

 paralegal who has worked on these cases during the Interim Period, his or her hourly billing rate

 during the Interim Period, and the amount of KTB&S’s fees attributable to each individual.




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            23.   KTB&S also maintains records of all actual and necessary out-of-pocket expenses

 incurred in connection with the rendition of professional services. A schedule setting forth the

 categories of expenses and amounts for which reimbursement is requested for the Interim Period

 is annexed hereto as Exhibit 3.

            24.   KTB&S maintains written records of the time expended by its attorneys and its

 paralegal carrying out professional services to the COFINA Agent. Such time records are made

 contemporaneously with the rendition of services by the person rendering such services.

 Annexed hereto as Exhibit 4 is a list of all of the matters for which services were rendered by

 KTB&S during the Interim Period and the aggregate amount of hours and fees expended for each

 of those matters. In addition, in accordance with the UST Guidelines, Exhibit 4 also includes the

 budgeted amount for each matter.

            25.   In accordance with the UST Guidelines, KTB&S recorded its services rendered

 and disbursements incurred in different project matters that reasonably could have been expected

 to constitute a substantial portion of the fees sought during any given Interim Period.

            26.   No agreement or understanding exists between KTB&S and any other entity for

 the sharing of compensation to be received for services rendered in or in connection with these

 cases.

            27.   The fees charged by KTB&S in these Title III cases are billed in accordance with

 its existing billing rates and procedures.

            28.   The rates KTB&S charged in these cases are consistent with the rates charged by

 KTB&S to its non-bankruptcy clients. KTB&S’s standard hourly rates are similar to the

 customary compensation charged by comparably-skilled practitioners in comparable non-

 bankruptcy and bankruptcy cases in a competitive national legal market. Consistent with the

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 UST Guidelines, Exhibit 5 discloses the blended hourly rate for timekeepers who billed to the

 COFINA Agent during the Interim Period.

                          SUMMARY OF SERVICES RENDERED

        29.    Recitation of each and every item of professional services that KTB&S performed

 during the Interim Period would unduly burden the Court. Hence, the following summary

 highlights the major areas to which KTB&S devoted substantial time and attention during the

 Interim Period. The full breadth of KTB&S’s services are reflected in KTB&S’s time records,

 copies of which are annexed hereto as Exhibits 4(A)-(D).

 A.     Litigation/Adversary Proceedings – Billing Code 0001 (Total Hours: 244.30; Total
        Fees: $248,995.50)

        30.    This Subject Matter included substantial services during the Interim Period and

 encompasses the litigation of the Commonwealth-COFINA Dispute (as defined in the

 Stipulation), including the litigation of the scope of the Commonwealth-COFINA Dispute as part

 of the COFINA Agent’s Motion Pursuant to 48 U.S.C. § 2161 and 11 U.S.C. § 105(a) for Order:

 (I) Confirming that 48 U.S.C. § 2125 Applies to COFINA Agent; (II) Confirming Retention of

 Local Counsel; and (III) Clarifying Payment of Fees and Expenses of COFINA Agent and Her

 Professionals [Docket No. 1121] (the “Immunity Motion”). At the COFINA Agent’s request,

 KTB&S partner Kenneth N. Klee personally attended the hearing on the Immunity Motion, held

 in New York on October 25. KTB&S also billed time in this Subject Matter to reviewing

 extensive briefing relating to the Immunity Motion and participating in communications with the

 COFINA Agent and the Willkie firm regarding the Immunity Motion. Also in this Subject

 Matter are all matters relating to the scheduling of the litigation of the Commonwealth-COFINA

 Dispute, which schedule was amended in light of Hurricane Maria. Toward the end of October

 2017, time in this Subject Matter included work regarding the Commonwealth Agent’s Amended
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 Complaint [Adv. Docket No. 73] and the drafting of the COFINA Agent’s Amended Answer,

 Defenses, and Counterclaims [Adv. Docket No. 75].

            31.   In the beginning of November 2017, KTB&S analyzed multiple answers and

 counterclaims-in-intervention filed by several parties, including by (without limitation) the

 COFINA Senior Bondholders' Coalition, Ambac Assurance Corporation, the Ad Hoc Group of

 General Obligation Bondholders, National Public Finance Guarantee Corporation, and the Puerto

 Rico Fiscal Agency and Financial Advisory Authority. KTB&S assessed the claims and

 defenses asserted in those pleadings and communicated with the COFINA Agent and co-counsel

 regarding the same.

            32.   On November 13, 2017, several motions regarding the scope of the

 Commonwealth-COFINA Dispute ("Scope Motions") were filed. KTB&S spent time analyzing

 the Scope Motions and working on preparation of a response to those Scope Motions, including

 performing legal research regarding bankruptcy and appellate issues implicated by those

 motions. KTB&S also spent time in this category on various issues concerning the schedule for

 the litigation of the Commonwealth-COFINA Dispute.

            33.   During December 2017, KTB&S continued its analysis of the Scope Motions

 filed by multiple parties in the litigation of the Commonwealth-COFINA Dispute and assisted in

 the preparation of the COFINA Agent’s response to those motions, which was filed on

 December 4, 2017. KTB&S also analyzed other responses to the Scope Motions and

 communicated with the COFINA Agent and co-counsel regarding strategy in respect of that

 dispute. KTB&S also assessed the Court’s order on the Scope Motions on December 21, 2017

 and analyzed the effect of that order on the litigation of the Commonwealth-COFINA Dispute.

 In January 2017, the Commonwealth Agent twice moved to re-visit the scope of the

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 Commonwealth-COFINA Dispute after the Court’s initial Scope Order was entered on

 December 21, 2017. KTB&S advised the COFINA Agent regarding her strategy in responding

 to this matter.

            34.    Services in this Subject Matter also included numerous communications with the

 COFINA Agent and the Willkie firm regarding the COFINA Agent’s strategy in the litigation of

 the Commonwealth-COFINA Dispute, analysis and correspondence with the COFINA Agent

 and co-counsel regarding potential expert witnesses for summary judgment and trial, and

 substantial analysis regarding the subject matter for such experts, including municipal finance

 and principles of accounting for municipal finance. In addition, KTB&S analyzed and revised

 drafts of the COFINA Agent’s brief in support of summary judgment. Furthermore, KTB&S

 assisted in the preparation of the COFINA Agent's answer and counterclaims in respect of the

 Commonwealth Agent's Second Amended Complaint, and analyzed the answers and

 counterclaims filed by several third-party intervenors.

            35.    Finally, toward the end of the Interim Period, KTB&S advised the COFINA

 Agent regarding motions seeking to extend deadlines for fact discovery and briefing on summary

 judgment.

 B.         Case Administration – Billing Code 0002 (Total Hours: 31.20; Total Fees:
            $28,407.00)

            36.    This Subject Matter includes services that do not fall into any of the other

 categories. During the Interim Period, KTB&S billed time in the Case Administration Subject

 Matter in respect of, among other things (i) communications and analysis of pleadings regarding

 scheduling in general in the cases, including in light of Hurricane Irma and Hurricane Maria,

 (ii) analysis of communications and memoranda regarding hearings and other proceedings


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 concerning the Debtors’ financial position, and (iii) analysis of informative motions, orders, and

 other relevant pleadings filed in the Debtors’ cases and related adversary proceedings.

 C.         Meetings/Creditor Communications – Billing Code 0003 (Total Hours: 46.10; Total
            Fees: $51,874.00)

            37.    This Subject Matter includes meetings and creditor communications. Time billed

 to this Subject Matter during the Interim Period involves numerous teleconferences with the

 COFINA Agent and the other advisors to the COFINA Agent regarding all aspects of the

 Commonwealth-COFINA Dispute, including, but not limited to, litigation and mediation issues

 and strategy. It also includes telephonic meetings with outside parties, including advisors for

 groups of COFINA bondholders, a designated creditor group, certain insurers, and other

 stakeholders regarding all aspects of the Commonwealth-COFINA Dispute, including, but not

 limited to, litigation and mediation issues and strategy.

 D.         Mediation/Negotiations – Billing Code 0004 (Total Hours: 79.20; Total Fees:
            $83,820.50)

            38.    This Subject Matter includes all time spent on issues involving mediation and

 negotiation of the Commonwealth-COFINA Dispute. In particular, during the beginning of the

 Interim Period, KTB&S, at the request of the COFINA Agent, spent substantial time analyzing a

 multitude of legal questions in preparation for mediation—a task that culminated in a telephonic

 meeting with the COFINA Agent. Thereafter, KTB&S billed time in this Subject Matter to

 communications (with numerous parties, including the COFINA Agent, the Willkie firm, the

 mediators, and outside stakeholders) and analysis of memoranda regarding the schedule for

 mediating the Commonwealth-COFINA Dispute. In addition, the COFINA Agent was required

 to submit a mediation statement, and KTB&S assisted the COFINA Agent in the preparation of

 that statement.

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            39.   During November 2017, KTB&S assisted the COFINA Agent, through numerous

 telephonic conferences and analysis of documents, in preparation for a negotiation meeting with

 the Commonwealth Agent. At the express request of the COFINA Agent, KTB&S partner

 Kenneth N. Klee personally attended that meeting, held in New York on November 29, 2017.

            40.   Toward the end of the Interim period, KTB&S prepared, at the COFINA Agent’s

 request, a revised presentation regarding risk assessment in preparation for mediation. In

 addition, KTB&S analyzed and revised the COFINA Agent’s initial mediation memorandum as

 requested by the mediators. Finally, KTB&S conferred with the COFINA Agent and the

 COFINA Agent’s other counsel regarding mediation strategy, including an expansion of the

 COFINA Agent’s mediation scope and immunity.

 E.         Fee Applications and Retention – Billing Code 0005 (Total Hours: 61.30; Total Fees:
            $37,030.50)

            41.   This Subject Matter includes all matters related to the compensation of KTB&S,

 and includes time spent on preparation of fee applications, as well as time spent on matters not

 relating to preparation of fee applications.

            42.   Time in this Subject Matter relating to preparation of fee applications includes

 preparation and service of KTBS’s Second Monthly Fee Statement, covering the period from

 September 1, 2017 through September 30, 2017, Third Monthly Fee Statement, covering the

 period from October 1, 2017 through October 31, 2017, Fourth Monthly Fee Statement, covering

 the period from November 1, 2017 through November 30, 2017, and Fifth Monthly Fee

 Statement, covering the period from December 1, 2017 through December 31, 2017. Time in

 this Subject Matter relating to preparation of KTB&S’s First Interim Fee Application, covering

 the period from July 31, 2017 through September 30, 2017.


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        43.     Time in this Subject Matter was also incurred on tasks not relating to preparation

 of fee applications. Such time include preparation of numerous notices of no objection (and of

 non-payment) regarding KTB&S’s fees in accordance with the Interim Compensation Order and

 the Court’s Order Approving COFINA Agent’s Motion Pursuant to 48 U.S.C. § 48 U.S.C. § 2161

 and 11 U.S.C. § 105(a) for Order (I) Confirming That 48 U.S.C. § 2125 Applies to COFINA

 Agent; (II) Confirming Retention of Local Counsel; and (III) Clarifying Payment of Fees and

 Expenses of COFINA Agent and Her Professionals [Docket No. 1612], communications with the

 Commonwealth and AAFAF regarding compliance with the COFINA Protections Order, and

 analyzing and corresponding with co-counsel regarding the Urgent Motion of the Fee Examiner

 to Amend the Interim Compensation Order, Etc. [Docket No. 1594].

        44.     Finally, time in this category not relating to preparation of fee applications

 included analysis and correspondence regarding the fee examiner’s memorandum (received in

 mid-December 2017) regarding fee application review processes, as well as the fee examiner’s

 January 3, 2018 further memorandum regarding fee review processes, and the fee examiner’s

 late-January correspondence regarding confidentiality and a protective order.

 F.     Fee Application and Retention Objections – Billing Code 0006 (Total Hours: 1.40;
        Total Fees: $1,618.50)

        45.     Time billed to this Subject Matter during the Compensation Period was not

 substantial and included fees incurred in connection with objections to the COFINA Agent’s

 decision to retain a financial advisor.

 G.     Budget – Billing Code 0007 (Total Hours: 7.10; Total Fees: $5,923.50)

        46.     Time billed to this Subject Matter during the Interim Period included fees

 incurred in connection with preparation of budgets for KTB&S’s fees and expenses as special

 municipal bankruptcy counsel to the COFINA Agent (including as requested in the Fee
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 Examiner’s December 2017 memorandum), as well as communication with counsel to AAFAF

 regarding AAFAF’s request to the COFINA Agent to provide additional budgets.

 H.         Discovery/Fact Analysis – Billing Code 0008 (Total Hours: 117.50; Total Fees:
            $102,988.50)

            47.   This Subject Matter includes analysis and development of facts relevant to the

 COFINA Agent’s pursuit of both litigation and mediation, including the structure, history and

 background of COFINA, and the Fiscal Plan. To that end, KTB&S spent time in this Subject

 Matter in the first half of the Interim Period preparing and serving subpoenas for the production

 of documents on numerous parties in order to obtain documents relevant to the Commonwealth-

 COFINA Dispute. Notably, in light of the Willkie Farr firm’s conflict on this matter, KTB&S, at

 the request of the COFINA Agent, took primary responsibility for noticing and negotiating

 multiple subpoenas on the COFINA Agent’s behalf, including subpoenas to underwriters, banks,

 and law firms. KTB&S also prepared written correspondence to certain of those recipients. Time

 in this Subject Matter also involved discussions with AAFAF regarding discovery propounded

 by the Commonwealth Agent and the COFINA Agent on AAFAF, as well as analysis and other

 correspondence regarding issues relevant to Puerto Rico sales taxes, the formulation of a new

 Fiscal Plan, the dedicated sales tax fund, and Puerto Rico’s debt.

            48.   During December 2017, KTB&S spent time in this Subject Matter meeting

 (telephonically) and conferring with recipients of subpoenas for the production of documents, in

 order to obtain documents relevant to the Commonwealth-COFINA Dispute. KTB&S also

 prepared written correspondence to certain of those recipients. Time in this Subject Matter in

 December also involved continued discussions with AAFAF regarding discovery propounded by

 the Commonwealth Agent and the COFINA Agent on AAFAF. KTB&S also spent time in this


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 category preparing and serving discovery requests on certain intervenors in the

 Commonwealth—COFINA Dispute.

        49.     During the latter portion of the Interim Period, the Commonwealth Agent noticed

 multiple depositions to take place in the two-week period preceding the (since-extended) close of

 fact discovery, January 26, 2018. KTB&S analyzed those deposition notices and conferred with

 the COFINA Agent and the COFINA Agent’s other counsel regarding those depositions. In

 particular, in light of the Willkie Farr firm’s conflict on the matter, the COFINA Agent expressly

 requested KTB&S to take primary responsibility for the depositions of the three auditor

 depositions noticed by the Commonwealth; namely, Deloitte, KPMG, and RSM. To that end, in

 preparation for such depositions, KTB&S spent substantial time analyzing the unique issues

 relating to municipal finance accounting and reviewing the voluminous document production by

 the foregoing auditors. In addition, KTB&S analyzed numerous written discovery requests and

 responses, including, but not limited to, objections and responses to discovery by the COFINA

 Agent and by certain COFINA and General Obligation bondholders.

 I.     Non-Working Travel – Billing Code 0009 (Total Hours: 21.10; Total Fees:
        $26,367.50)

        50.     This Subject Matter includes all non-working travel time, only 50% of which is

 billed in accordance with the Local Rules and the Guidelines. During the Interim Period, at the

 request of the COFINA Agent, KTB&S partner Kenneth N. Klee incurred non-working travel

 time while traveling to and from New York City for mediation talks and the hearing on the

 Immunity Motion (in October) and for a meeting between the COFINA Agent and the

 Commonwealth Agent (in November). In addition, during January 2018, at the request of the

 COFINA Agent, KTB&S partner Jonathan M. Weiss incurred non-working travel time while

 traveling to New York City for scheduled COFINA and Commonwealth 30(b)(6) depositions.
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 Because these depositions did not proceed as noticed while Mr. Weiss was in New York City, in

 the exercise of billing discretion, KTB&S has not billed the COFINA Agent at all for Mr.

 Weiss’s return travel to Los Angeles.

                               EVALUATING KTB&S’S SERVICES

            51.   Section 317 of PROMESA authorizes interim compensation of professionals and

 incorporates the substantive standards of section 316 of PROMESA to govern the Court’s award

 of interim compensation. Section 316 of PROMESA provides that a court may award a

 professional employed by the debtor “reasonable compensation for actual, necessary services

 rendered,” and “reimbursement for actual, necessary expenses.” 48 U.S.C. § 2176(a)(1) and (2).

 Section 316(c) sets forth the criteria for such an award:

                  In determining the amount of reasonable compensation to be
                  awarded to a professional person, the court shall consider the
                  nature, the extent, and the value of such services, taking into
                  account all relevant factors including—

                  (1) the time spent on such services;

                  (2) the rates charged for such services;

                  (3) whether the services were necessary to the administration of, or
                      beneficial at the time at which the service was rendered to the
                      completion of, a case under this chapter;

                  (4) whether the services were performed within a reasonable
                      amount of time commensurate with the complexity,
                      importance, and nature of the problem, issue, or task addressed;

                  (5) with respect to a professional person, whether the person is
                      board certified or otherwise has demonstrated skill and
                      experience in the restructuring field; and

                  (6) whether the compensation is reasonable based on the
                      customary compensation charged by comparably skilled
                      practitioners in cases other than cases under this title or title 11
                      of the United States Code.


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 48 U.S.C. § 2176(c).

            52.   KTB&S respectfully submits that the services for which it seeks compensation in

 this Application were necessary for and beneficial to the COFINA Agent. KTB&S further

 submits that the services rendered to the COFINA Agent were performed efficiently and

 effectively. Finally, KTB&S submits that the compensation requested herein is reasonable in

 light of the nature, extent and value of such services to the COFINA Agent and those parties

 impacted by her actions and that the compensation requested is based on the customary

 compensation charged by comparably skilled practitioners in cases other than cases under title

 11.

            53.   Courts typically employ the “lodestar” approach to calculate awards of attorneys’

 fees. See New York State Ass’n for Retarded Children, Inc. v. Casey, 711 F.2d 1136, 1140 (2d

 Cir. 1983); In re West End Fin. Advisors, LLC, No. 11-11152, 2012 Bankr. LEXIS 3045, at *11

 (Bankr. S.D.N.Y. July 2, 2012); In re Drexel Burnham Lambert Group, Inc., 133 B.R. 13, 21-22

 (Bankr. S.D.N.Y. 1991) (“In determining the reasonableness of the requested compensation

 under § 330, Bankruptcy Courts now utilize the lodestar method”). “The lodestar amount is

 calculated by multiplying the number of hours reasonably expended by the hourly rate, with the

 ‘strong presumption’ that the lodestar product is reasonable under § 330.” Drexel, 133 B.R. at

 22 (citations omitted).

            54.   In determining the reasonableness of the services for which compensation is

 sought, the court should note that:

                     the appropriate perspective for determining the necessity of the
                     activity should be prospective: hours for an activity or project
                     should be disallowed only where a Court is convinced it is
                     readily apparent that no reasonable attorney should have
                     undertaken that activity or project or where the time devoted
                     was excessive.
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 Id. at 23; see also In re Cenargo Int’l PLC, 294 B.R. 571, 595-96 (Bankr. S.D.N.Y. 2003) (“The

 Court’s benefit of ‘20/20 hindsight’ should not penalize professionals.”).

            55.   Moreover, courts should be mindful that professionals “must make practical

 judgments, often with severe time constraints, on matters of staffing, assignments, coverage of

 hearings and meetings, and a wide variety of similar matters.” Drexel, 133 B.R. at 23. These

 judgments are presumed to be made in good faith. Id.

                    KTB&S’S REQUEST FOR INTERIM COMPENSATION

            56.   KTB&S submits that its request for interim allowance of compensation is

 reasonable. The services rendered by KTB&S, as highlighted above, required substantial time

 and effort, resulting in substantial progress and success in these cases. The services rendered by

 KTB&S during the Interim Period were performed diligently and efficiently. When possible,

 KTB&S delegated tasks to lower cost attorneys or, to attorneys with specialized expertise in the

 particular task at issue. Although that approach may have required intra-office conferences, the

 net result was enhanced cost efficiency.

            57.   During the Interim Period, KTB&S encountered a variety of challenging legal

 issues, often requiring substantial research and the ability to effectively negotiate with both the

 COFINA Agent’s constituents and adversaries. KTB&S brought to bear legal expertise in many

 areas, including bankruptcy law, and, in particular, municipal bankruptcy law. KTB&S

 attorneys have rendered advice with skill and efficiency.

            58.   The professional services performed by KTB&S on behalf of the COFINA Agent

 during the Interim Period required an aggregate expenditure of 609.20 hours by KTB&S’s

 attorneys and its paralegal. Of the aggregate time expended by KTB&S during the Interim



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 Period: 575.40 hours were expended by partners and 33.80 hours were expended by its

 paralegal.

            59.   KTB&S’s hourly billing rates for attorneys working on these cases ranged from

 $650.00 to $1,475.00. For the Interim Period, allowance of compensation in the amount

 requested will result in a blended hourly billing rate for attorneys of $999.70 and a total blended

 hourly billing rate (including KTB&S’s paralegal) of approximately $964.00.

            60.   KTB&S’s hourly rates and fees charged are consistent with the market rate for

 comparable services. As set forth in the Certification, the hourly rates and fees charged by

 KTB&S are the same as those generally charged to, and paid by, KTB&S’s other clients.

 Indeed, unlike fees paid by most KTB&S clients, due to the “holdback” of fees from prior

 Monthly Fee Statements and the delays inherent in the fee review process, the present value of

 the fees paid to KTB&S by the Debtors generally is less than fees paid monthly by other KTB&S

 clients.

                      DISCUSSION OF BUDGET AND STAFFING PLAN

            61.   In accordance with the UST Guidelines, KTB&S prepared monthly budgets and

 staffing plans covering the Interim Period, copies of which are annexed hereto as part of Exhibit

 6. In compliance with section 6(c) of the UST Guidelines, Exhibit 4 of the Application provides

 a summary of the hours and gross compensation billed by KTB&S during the Interim Period

 compared to the aggregate hours and compensation budgeted for each task code. The budgets

 were provided to and approved by the COFINA Agent.

            62.   The estimated amount of fees KTB&S expected to incur during the Interim Period

 was approximately $873,400.00. KTB&S’s fees incurred during the Interim Period were



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 $286,674.50 less than budgeted by KTB&S from the actual fees incurred by KTB&S during the

 Interim Period, after all voluntary deductions taken by KTB&S.

            63.   KTB&S provided necessary and beneficial services to the COFINA Agent during

 the course of the Interim Period and took all required actions as and when the need arose.

 KTB&S communicated and worked closely with the COFINA Agent and similarly situated

 constituents throughout the Interim Period related to the complex, myriad issues that arose.

            64.   KTB&S respectfully submits that it has successfully endeavored to avoid

 duplication of effort between KTB&S and the COFINA Agent’s other counsel. In general,

 KTB&S undertook tasks with the consent and direction of the COFINA Agent, and with the

 knowledge of the Willkie firm. Merely by way of example, among other things, (i) the research

 conducted by KTB&S and related memoranda prepared by KTB&S concerned different subject

 matter than the research conducted by, and memoranda prepared by, the COFINA Agent’s other

 counsel; (ii) although KTB&S revised and edited pleadings and mediation memoranda prepared

 by the COFINA Agent’s other counsel, KTB&S only initially drafted certain portions of those

 documents as agreed between KTB&S and the COFINA Agent’s other counsel—the firms

 ensured that in no event were both firms initially drafting different versions of any document;

 (iii) the third party subpoenas prepared and served by KTB&S are in respect of different

 recipients than those served by the COFINA Agent’s other counsel—KTB&S and the COFINA

 Agent’s other counsel divided the discovery tasks at the COFINA Agent’s other counsel’s

 request and with the approval of the COFINA Agent; (iv) work undertaken in connection with

 depositions noticed by the Commonwealth Agent of certain auditors (Deloitte, KPMG, and

 RSM) was performed by KTB&S (at the express request of the COFINA Agent) in light of the

 Willkie Farr firm’s conflict on that matter.

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            65.   There were, of course, certain tasks necessarily requiring time by both KTB&S

 and Willkie Farr. For example, the COFINA Agent specifically requested that KTB&S partner

 Kenneth Klee attend certain Court hearings and in-person meetings, despite the Willkie firm’s

 presence at those events; however, KTB&S submits that its presence at those events was as a

 substantive participant (not as an observer), and that it staffed those matters exceedingly leanly,

 by sending only one attorney to any out-of-office meeting or hearing. Similarly, KTB&S, as

 well as Willkie, participated in weekly calls with the COFINA Agent, and in teleconferences

 with other participants. This participation was at the request of the COFINA Agent, was

 substantive (not as an observer) and, in light of KTB&S’s expertise in municipal bankruptcy and

 finance matters, was not duplicative of the participation of any other firm.

            66.   KTB&S further respectfully submits that the COFINA Agent was provided with

 KTB&S’s monthly invoices for her review and has expressed no objection to those invoices.

                                        DISBURSEMENTS

            67.   KTB&S incurred actual and necessary out-of-pocket expenses during the Interim

 Period, in the amounts set forth in Exhibit 3. By this Application, KTB&S respectfully requests

 allowance of such reimbursement in full.

            68.   The disbursements for which KTB&S seeks reimbursement include the following:

                  (a)    Telephone – KTB&S does not charge for long distance telephone
                         calls, but does bill for the use of teleconferencing services;

                  (b)    Online Research – KTB&S’s practice is to bill clients for LEXIS
                         and Westlaw research at actual cost, which does not include
                         amortization for maintenance and equipment. During the Interim
                         Period, KTB&S incurred legal research costs in relation to its
                         research of numerous municipal bankruptcy issues in preparation
                         of mediation memoranda and risk charts to (and as requested by)
                         the COFINA Agent, in connection with researching bankruptcy
                         issues relating to the COFINA Agent’s amended answers to the
                         Commonwealth Agent’s complaints, bankruptcy appellate rights
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                           available to the COFINA Agent, and in connection with legal
                           strategy regarding prosecution of third party subpoenas.

                  (c)      Parking – KTB&S’s practice is to charge for airport parking fees at
                           actual cost.

                  (d)      Delivery Services/Messengers – KTB&S’s practice is to charge
                           overnight delivery and courier services at actual cost. During the
                           Interim Period, delivery charges include, but are not be limited to,
                           (i) monthly delivery services for KTB&S’s fee applications, as
                           required by the Interim Compensation Order, and (ii) during
                           October 2017, charges from an attorney delivery service for the
                           service of subpoenas on numerous third parties from the
                           production of documents.

                  (e)      Travel – KTB&S’s practice is to charge lodging, airfare, and
                           transportation at actual cost to the client. Events requiring travel
                           that have led to travel expenses for the Interim Period include
                           travel for scheduled meetings, Court hearings, and depositions, as
                           more fully described in the “Non-Working Travel” section herein.

                                                 PROCEDURE

            69.   In accordance with the Interim Compensation Order, KTB&S has provided:

 (a) notice and copies of the Application to the Notice Parties and (b) notice of this Application to

 all parties that have requested notice pursuant to Bankruptcy Rule 2002.7 KTB&S submits that

 no other or further notice is required.

            70.   No previous application for the relief sought herein has been made to this or any

 other court.

                                                 CONCLUSION

            WHEREFORE, KTB&S respectfully requests that this Court enter an order:

                  (a)      allowing interim approval of compensation to KTB&S for services
                           rendered from October 1, 2017 through January 31, 2018, inclusive, in the
                           amount of $587,025.50;



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     Copies of the Application, including exhibits, are available on the Debtors’ claims and noticing agents’ website:
     https://cases.primeclerk.com/puertorico.
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             (b)   allowing interim approval of reimbursement to KTB&S of actual,
                   necessary expenses incurred in connection with the rendition of such
                   services from October 1, 2017 through January 31, 2018, inclusive, in the
                   amount of $12,994.18;

             (c)   approving and directing the payment of all fees and expenses incurred by
                   KTB&S that remain unpaid, including all Holdbacks; and

             (d)   such other relief as may be just or proper.




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 Dated: March 19, 2018
        Los Angeles, California

 Respectfully submitted,                 Respectfully submitted,

 By: /s/ Nilda M. Navarro-Cabrer         By: /s/ _______________________
    Nilda M. Navarro-Cabrer                 Kenneth N. Klee (pro hac vice)
    (USDC – PR No. 201212)                  Daniel J. Bussel (pro hac vice)
    NAVARRO-CABRER LAW                      Jonathan M. Weiss (pro hac vice)
    OFFICES                                 KLEE, TUCHIN, BOGDANOFF & STERN LLP
    El Centro I, Suite 206                  1999 Avenue of the Stars, 39th Floor
    500 Muñoz Rivera Avenue                 Los Angeles, California 90067
    San Juan, Puerto Rico 00918             Telephone: (310) 407-4000
    Telephone: (787) 764-9595               Facsimile: (310) 407-9090
    Facsimile: (787) 765-7575               Email: kklee@ktbslaw.com
    Email: navarro@navarrolawpr.com         dbussel@ktbslaw.com
                                            jweiss@ktbslaw.com
     Local Counsel to the COFINA Agent
                                            Special Municipal Bankruptcy Counsel to the
                                            COFINA Agent


 Dated: March 19, 2018
        New York, New York

  Respectfully submitted,

  By: /s/ Matthew A. Feldman
     Matthew A. Feldman (pro hac vice)
     Joseph G. Minias (pro hac vice)
     Antonio Yanez, Jr. (pro hac vice)
     Martin L. Seidel (pro hac vice)
     WILLKIE FARR & GALLAGHER LLP
     787 Seventh Avenue
     New York, New York 10019
     Telephone: (212) 728-8000
     Facsimile: (212) 728-8111
     Email: mfeldman@willkie.com
             jminias@willkie.com
             ayanez@willkie.com
             mseidel@willkie.com

       Counsel to the COFINA Agent


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                                  EXHIBIT 1




                CERTIFICATION OF JONATHAN M. WEISS
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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


 In re:

 THE FINANCIAL OVERSIGHT AND                                                  PROMESA
 MANAGEMENT BOARD FOR PUERTO RICO,                                            Title III

                        as representative of                                  Case No. 17-BK-3283 (LTS)

 THE COMMONWEALTH OF PUERTO RICO, et al.,                                     (Jointly Administered)
           Debtors.1


             CERTIFICATION OF JONATHAN M. WEISS PURSUANT TO
      LOCAL BANKRUPTCY RULE 2016-1(a)(4) REGARDING CERTIFICATION OF
     APPLICATIONS FOR COMPENSATION IN PUERTO RICO BANKRUPTCY CASES

 I, Jonathan M. Weiss, Esq., certify as follows:

          1.       I am a partner of the firm of Klee, Tuchin, Bogdanoff & Stern LLP (“KTB&S”).

 KTB&S is special municipal bankruptcy counsel to Bettina M. Whyte, the COFINA Agent (the

 “COFINA Agent”) in the above-captioned cases.

          2.       I submit this certification in conjunction with KTB&S’s second interim

 application (the “Application”)2 for allowance of fees and reimbursement of expenses for the

 period October 1, 2017 through January 31, 2018 (the “Interim Period”) in accordance with

 Rule 2016-1(a)(4) of the Local Bankruptcy Rules for the District of Puerto Rico, the Bankruptcy

 Rules, the Bankruptcy Code, the Guidelines for Reviewing Applications for Compensation and
 1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
      (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
      Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
      Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of
      Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
      No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
      Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last
      Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
      Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747).
 2
      Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Application.
                                                           1
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 Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

 Cases (the “UST Guidelines”) and the Interim Compensation Order (collectively, the

 “Guidelines”).

        3.      I am the professional designated by KTB&S with the responsibility for KTB&S’s

 compliance in these cases with the Guidelines. This certification is made in connection with the

 Application for interim allowance of compensation for professional services and reimbursement

 of expenses for the Interim Period in accordance with the Guidelines.

        4.      Pursuant to Local Rule 2016-1(a)(4) of the Local Rules: (a) I have read

 KTB&S’s Application; (b) to the best of my knowledge, information, and belief, formed after

 reasonable inquiry (except as stated herein or in the Application), the fees and disbursements

 sought in the Application conform to the Bankruptcy Code, the Federal Rules of Bankruptcy

 Procedure, the Guidelines and the Local Rules; (c) the fees and disbursements sought in this

 Application are billed at or below the rates and in accordance with practices customarily

 employed by KTB&S and generally accepted by its clients; and (d) the compensation and

 reimbursement of expenses sought in this Application are billed at rates no less favorable to the

 COFINA Agent than those customarily employed by KTB&S.

        5.      The COFINA Agent has been provided copies of KTB&S’s monthly invoices that

 form the basis for the Application and has not objected to the amounts requested therein. In

 addition, Monthly Fee Statements were provided to the Notice Parties as required by the Interim

 Compensation Order and no objections were received.

        6.      A copy of the daily time records for each of the Monthly Fee Statements, broken

 down by matter and listing the name of the attorney and paralegal, the date on which the services

 were performed, and the amount of time spent in performing the services has previously been

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 provided to the Notice Parties. The time records set forth in reasonable detail the services

 rendered by KTB&S in these cases.

        7.      Included in Exhibit 4 of the Application is a list of the different matter headings

 under which time was recorded during the Interim Period. The list includes all discrete matters

 within these cases during the Interim Period that reasonably could have been expected to

 constitute a substantial portion of the fees sought during any given Interim Period.

        8.      No agreement or understanding exists between KTB&S and any person for a

 division of compensation or reimbursement received or to be received herein or in connection

 with these cases.

        9.      KTB&S has sought to keep its fees and expenses at a reasonable level and to

 utilize professional services and incur expenses only as necessary to competently represent the

 COFINA Agent. In addition, KTB&S only traveled in these cases at the express direction of the

 COFINA Agent.

        10.     KTB&S respectfully submits that it has endeavored to avoid duplication of effort

 between KTB&S and the COFINA Agent’s other counsel. In general, KTB&S undertook tasks

 with the consent and direction of the COFINA Agent and with the knowledge of the Willkie

 firm. Merely by way of example, among other things, (i) the research conducted by KTB&S and

 related memoranda prepared by KTB&S concerned different subject matter than the research

 conducted by, and memoranda prepared by, the COFINA Agent’s other counsel; (ii) although

 KTB&S revised and edited pleadings and mediation memoranda prepared by the COFINA

 Agent’s other counsel, KTB&S only initially drafted certain portions of those documents as

 agreed between KTB&S and the COFINA Agent’s other counsel—the firms ensured that in no

 event were both firms initially drafting different versions of any document; (iii) the third party

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 subpoenas prepared and served by KTB&S are in respect of different recipients than those served

 by the COFINA Agent’s other counsel—KTB&S and the COFINA Agent’s other counsel

 divided the discovery tasks at the COFINA Agent’s other counsel’s request and with the

 approval of the COFINA Agent; (iv) work undertaken in connection with depositions noticed by

 the Commonwealth Agent of certain auditors (Deloitte, KPMG, and RSM) was performed by

 KTB&S (at the express request of the COFINA Agent) in light of the Willkie Farr firm’s conflict

 on that matter.

        11.        There were, of course, certain tasks necessarily requiring time by both KTB&S

 and Willkie Farr. For example, the COFINA Agent specifically requested that KTB&S partner

 Kenneth Klee attend certain Court hearings and in-person meetings, despite the Willkie firm’s

 presence at those events; however, KTB&S submits that its presence at those events was as a

 substantive participant (not as an observer), and that it endeavored to staff those matters

 exceedingly leanly, by sending only one attorney to any out-of-office meeting or hearing. By

 way of another example, KTB&S, as well as Willkie, participated in weekly calls with the

 COFINA Agent, and in teleconferences with other participants. This participation was at the

 request of the COFINA Agent, was substantive (not as an observer) and, in light of KTB&S’s

 expertise in municipal bankruptcy and finance matters, was not duplicative of the participation of

 any other firm.

        12.        The following is provided in response to the request for additional information set

 forth in Section C.5 of the UST Guidelines.

                   Question: Did you agree to any variations from, or alternatives to, your standard
                   or customary billing rates, fees or terms for services pertaining to this engagement
                   that were provided during the Interim Period?



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             Response: No, KTB&S did not vary its standard or customary billing rates, fees
             or terms for services pertaining to this engagement.

             Question: If the fees sought in this fee application as compared to the fees
             budgeted for the time period covered by this fee application are higher by 10% or
             more, did you discuss the reasons for the variation with the client?

             Response: KTB&S did not exceed its budget during the Interim Period.

             Question: Have any of the professionals included in this fee application varied
             their hourly rate based on the geographic location of the bankruptcy case?

             Response: No, KTB&S did not vary its hourly rates based on the geographic
             location of the bankruptcy cases.

             Question: Does the fee application include time or fees related to reviewing or
             revising time records or preparing, reviewing, or revising invoices? (This is
             limited to work involved in preparing and editing billed records that would not be
             compensable outside of bankruptcy and does not include reasonable fees for
             preparing a fee application.) If so, please quantify by hours and fees.

             Response: No time has been independently billed to preparing, reviewing, or
             revising invoices. Of KTB&S’s time billed in preparing fee applications, only 2.1
             hours ($1,365.00) included time spent analyzing invoices in connection with
             preparing those fee statements (i.e., to prepare the substance of the narrative
             section of such statements), during which time certain revisions were identified.

             Question: Does this fee application include time or fees for reviewing time
             records to redact any privileged or other confidential information?

             Response: No.




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                Question: Does this fee application include rate increases since retention?

                Response: The Application includes step increases in rates since retention. The
                client was notified at the outset of the engagement that, like most of its peer law
                firms, KTB&S adjusts its hourly rates periodically, typically on January 1 of each
                year, in the form of step increases in the ordinary course on the basis of advancing
                experience, seniority, and promotion of KTB&S’s professionals. These step
                increases do not constitute “rate increases” as that term is used in the U.S. Trustee
                Guidelines.

 I declare under penalty of perjury that the foregoing is true and correct. Executed this 19th day of
 March 2018 at Los Angeles, California.




                                                        __________________________
                                                        Jonathan M. Weiss




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                                  EXHIBIT 2



    COMPENSATION BY PROFESSIONAL FOR THE INTERIM PERIOD




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                                COMPENSATION BY PROFESSIONAL


Name                        Department       Bar       Position    Hourly      Hours      No         Fees
                                            Admin                   Rate       Billed    Charge      Billed
                                             Date                                        Hours

                                                PARTNERS
                             Corporate
Klee, Kenneth N. (2017)     Restructuring   01/07/75   Partner     $1,400.00    105.70     16.80   $147,980.00
                             Corporate
Klee, Kenneth N. (2018)     Restructuring   01/07/75   Partner     $1,475.00     45.30      0.20    $66,817.50

                             Corporate
Bussel, Daniel J. (2017)    Restructuring   12/11/85   Partner     $1,195.00     42.80      4.10    $53,286.00
                             Corporate
Bussel, Daniel J. (2018)    Restructuring   12/11/85   Partner     $1,245.00     81.20              $97,034.00
                             Corporate
Fidler, David A. (2017)     Restructuring   06/02/98   Partner      $980.00       0.50      0.20      $490.00

Pfister, Robert J. (2017)    Litigation     01/10/06   Partner      $925.00       8.80               $8,140.00

Pfister, Robert J. (2018)    Litigation     01/10/06   Partner      $995.00      17.10              $17,014.50
                             Corporate
Weiss, Jonathan M. (2017)   Restructuring   12/14/11   Partner      $650.00     189.10      1.10   $122,915.00
                             Corporate
Weiss, Jonathan M. (2018)   Restructuring   12/14/11   Partner      $725.00      84.90     13.20    $61,552.50

                                               PARALEGAL
                             Corporate
Pearson, Shanda D. (2017)   Restructuring     N/A      Paralegal    $345.00      29.30      3.40    $10,108.50
                             Corporate
Pearson, Shanda D. (2018)   Restructuring     N/A      Paralegal    $375.00       4.50      0.70     $1,687.50

TOTAL:                                                                          609.20     39.70   $587,025.50




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                                  EXHIBIT 3




            SUMMARY OF EXPENSES FOR THE INTERIM PERIOD




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                                SUMMARY OF EXPENSES



                        Disbursement                  Amount

            Delivery Services/Messengers                        $4,693.25
            Online Research                                      $299.97
            Parking                                              $155.11
            Telephone                                             $48.03
            Travel                                              $7,797.82
            TOTAL:                                             $12,994.18




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                                  EXHIBIT 4




              SUMMARY OF TIME BY BILLING CATEGORY
                    FOR THE INTERIM PERIOD




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                          SUMMARY OF TIME BY BILLING CATEGORY


                 Service Category                 Hours        Fees         Hours       Fees
                                                  Billed       Billed      Budgeted   Budgeted
0001 – Litigation/Adversary Proceedings             244.30   $248,995.50     305.00   $320,000.00
0002 – Case Administration                           31.20    $28,407.00      55.00    $53,000.00
0003 – Meetings/Creditor Communications              46.10    $51,874.00      55.00    $52,000.00
0004 – Mediation/Negotiations                        79.20    $83,820.50     163.00   $178,000.00
0005 – Fee Application and Retention                 61.30    $37,030.50      48.00    $33,000.00
0006 – Fee Application and Retention Objections       1.40     $1,618.50       5.00     $6,000.00
0007 – Budget                                         7.10     $5,923.50      10.00     $7,000.00
0008 – Discovery/Fact Analysis                      117.50   $102,988.50     180.00   $165,000.00
0009 – Non-Working Travel                            21.10    $26,367.50      91.00    $59,400.00
TOTAL:                                              609.20   $587,025.50     912.00   $873,400.00




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                                 EXHIBIT 4-A




            TIME AND EXPENSE DETAIL FOR OCTOBER 2017
                         FEE STATEMENT




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                      KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                        1999 Avenue of the Stars
                                           Thirty-Ninth Floor
                                      Los Angeles, California 90067
                                       Telephone: (310) 407-4000
                                       Facsimile: (310) 407-9090
                                        Taxpayer I.D. No. XX-XXXXXXX



                                                                                    November 07, 2017
Bettina Whyte, as Agent for Corporacion                                                 Bill No. 16102
del Fondo de Interes Apremiante (COFINA)




For Services Rendered Through 10/31/2017


In Reference To:
File No.:        2291-0000




Costs and Disbursements

       Telephone
             Telephone Conference Service                                                           $27.02
                                                                                                    $27.02

       Delivery services/messengers
             Attorney Service Delivery to Areluis Capital Management on                            $309.25
             09/20/17
             Attorney Service Delivery to Barclays Capital on 09/20/17                             $309.25
             Attorney Service Delivery to Bank of America on 09/20/17                               $55.25
             Attorney Service Delivery to CitiGroup Global Markets Inc. on                         $309.25
             09/20/17
             Attorney Service Delivery to Goldman Sachs & Co on 09/20/17                           $309.25
             Attorney Service Delivery to Hawkins Delafield & Woods LLP on                         $309.25
             09/20/17
             Attorney Service Delivery to J.P. Morgan Securities Inc. on 09/20/17                  $309.25
             Attorney Service Delivery to Monarch Alternative Capital LP on                        $309.25
             09/20/17
             Attorney Service Delivery to Senator Investment Group on 09/20/17                     $309.25
             Attorney Service Delivery to Wells Fargo Securities on 09/20/17                       $309.25
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                  Attorney Service Delivery to USPO on 09/20/17                           $86.50
                  FedEx to Bettina Whyte on 09/11/17                                      $16.36
                  FedEx to M. Bienenstock and E. Barak at Proskauer Rose LLP on           $19.97
                  09/15/17
                  FedEx to Paul V. Possinger at Proskauer Rose LLP on 09/15/17            $19.25
                  FedEx to J. Rapisardi, S. Uhland at O'Melveny & Myers LLP on            $16.36
                  09/15/17
                  FedEx to Luc A. Despins at Paul Hastings LLP on 09/15/17                $19.97
                  FedEx to R. Gordon R. Levin at Jenner & Block LLP on 09/15/17           $19.97
                  Fedex to C. Steege, M. Root at Jenner & Block LLP on 09/15/17           $15.74
                  FedEx to Bettina Whyte on 09/15/17                                      $21.17
                  FedEx to Bettina Whyte at Bettina Whyte Consultants LLC on              $21.17
                  09/29/17
                  FedEx to Bettina Whyte on 10/04/17                                      $21.12
                  FedEx to Matthew Feldman at Willkie Farr & Gallagher LLP on             $16.32
                  10/04/17
                  FedEx to Joseph Minias at Willkie Farr & Gallagher LLP on               $16.32
                  10/04/17
                  FedEx to Antonio Yanez at Willkie Farr & Gallagher LLP on               $16.32
                  10/04/17
                  Federal Express 10/18/2017 A.J. Bennarzar-Zequeira from KTBS            $88.20
                  Federal Express 10/18/2017 H. Bauer from KTBS                           $88.20
                  Federal Express 10/18/2017 E. Ochoa, Trustee from KTBS                  $88.20
                  Federal Express 10/18/2017 J. Casillas Ayala from KTBS                  $88.20
                                                                                       $3,517.84

         Travel
                  Transportation from airport on 09/11/17 for K. Klee                   $124.00
                  Transportation to airport on 09/14/17 for K. Klee                     $106.00
                  Airfare LAX to JFK 10/25/2017 for Hearing - K. Klee                  $1,587.00
                  Airfare JFK to LAX 10/27/2017 for hearing - K. Klee                  $1,587.00
                  10/27/2017 K. Klee Car to Airport re: NY Hearing                        $50.00
                                                                                       $3,454.00

         Parking
                  Parking on 10/27/17 for K. Klee                                       $107.85
                                                                                         $107.85
Total Costs and Disbursements                                                          $7,106.71
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For Services Rendered Through 10/31/2017


In Reference To: Litigation/Adversary Proceedings
File No.:        2291-0001


Professional Services
Date            Init      Description                                                    Hours       Amount

10/2/2017       KNK       Analyze correspondence from D. Bussel and D. Forman re         0.20     $280.00
                          revisions to COFINA agent reply to objections re immunity
                DJB       Review UCC supplemental brief re participation                 0.10     $119.50

                JMW       Analyze Committee pleadings re right to intervene              0.10       $65.00

10/4/2017       KNK       Analyze pleadings re draft reply re immunity motion            0.10     $140.00

                KNK       Analyze pleadings re AFAFF motion to extend stay               0.10     $140.00

10/5/2017       DJB       Analyze BNYM interpleader informative motion (scheduling)      0.10     $119.50

10/6/2017       KNK       Analyze pleadings re AAFAF objeciton re immunity               0.20     $280.00

                KNK       Prepare correspondence to B. Whyte re AAFAF objection          0.10     $140.00

10/9/2017       KNK       Revise revised draft reply re immunity motion; emails          0.60     $840.00

                KNK       Analyze correspondence from D. Bussel re immunity reply;       0.20     $280.00
                          confer with J. Weiss; reply
                KNK       Analyze correspondence from J. Dugan re additional revisions   0.10     $140.00
                          to reply; respond
                DJB       Confer with J. Dugan re revisions to draft 105 reply           0.30     $358.50

                DJB       Review K. Klee comments on 105 reply                           0.20     $239.00

                DJB       Email correspondence with J. Dugan re 105 reply                0.20     $239.00

                JMW       Telephone conference with D. Bussel re immunity issues         0.30     $195.00

                RJP       Review correspondence re litigation schedule                   0.10       $92.50

10/10/2017      KNK       Analyze pleadings re Commonwealth agent reply to AAFAF         0.10     $140.00
                          objection re 105 motion
                KNK       Analyze pleadings re BNYM reply to AAFAF re payment of         0.10     $140.00
                          COFINA agent
                KNK       Confer with D. Bussel and J. Weiss re litigation strategy      0.20     $280.00
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Date            Init      Description                                                     Hours       Amount

                KNK       Telephone conference with B. Whyte re litigation strategy       0.20     $280.00

                KNK       Conference call with B. Whyte and M. Feldman re litigation      0.30     $420.00
                          strategy
                KNK       Prepare correspondence to M. Feldman re immunity motion         0.10     $140.00

                DJB       Confer with J. Weiss and K. Klee re litigation strategy         0.20     $239.00

                JMW       Confer with D. Bussel and K. Klee re litigation strategy        0.20     $130.00

10/11/2017      KNK       Analyze pleadings re National joinder re immunity               0.10     $140.00

                KNK       Conference call with T. Yanez et al re litigation compromise    0.60     $840.00

                KNK       Analyze pleadings re informative motion Sr. Bonds re            0.20     $280.00
                          immunity motion
                DJB       Confer with Willkie re bifurcation proposal                     0.60     $717.00

                DJB       Review Quinn Emmanuel informative motion in support             0.30     $358.50

                DJB       Review National joinder and related email correspondence re     0.20     $239.00
                          105 motion
10/13/2017      KNK       Analyze pleadings re draft informative motion; confer with B.   0.40     $560.00
                          Whyte, D. Bussel, reply
                DJB       Review draft informative motion re ongoing negotiations re      0.30     $358.50
                          105 motion
                DJB       Email correspondence with working group re draft                0.30     $358.50
                          informative motion
                DJB       Draft and transmit comments to K. Klee re draft informative     0.20     $239.00
                          motion
                DJB       Confer with K. Klee re informative motion                       0.10     $119.50

                DJB       Review revised informative motion re 105 negotiations           0.20     $239.00

                DJB       Review court order re COFINA scheduling and directing           0.10     $119.50
                          parties to confer
10/15/2017      KNK       Analyze pleadings re draft litigation bifurcation stipulation   0.10     $140.00

                KNK       Analyze correspondence from B. Whyte re litigation              0.20     $280.00
                          bifurcation stipulation; emails from Willkie; reply
                DJB       Review draft stipulation re birfurcation                        0.60     $717.00
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Date            Init      Description                                                       Hours        Amount

                DJB       Prepare comments for KTBS working group re bifurcation            0.50      $597.50
                          stipulation
                DJB       Review email correspondence with B. Whyte, K. Klee re             0.40      $478.00
                          bifurcation stipulation and K. Klee comments
                JMW       Analyze stipulation re immunity and revisions and exchange        0.80      $520.00
                          e-mail correspondence with D. Bussel and K. Klee re same
                RJP       Review D. Bussel correspondence and accompanying markup           0.20      $185.00
                          of draft stipulation
10/16/2017      KNK       Analyze pleadings re revised bifurcation stipulation; emails re   0.30      $420.00
                          same; reply
                DJB       Email correspondence with working group re KTBS                   0.40      $478.00
                          comments to bifurcation proposal
                DJB       Draft and furnish KTBS comments re bifurcation proposal to        0.90    $1,075.50
                          Willkie
                DJB       Email correspondence with Willkie re bifurcation proposal         0.20      $239.00

                DJB       Email correspondence with B. Whyte re bifurcation proposal        0.10      $119.50

                JMW       Analyze proposed litigation stipulation (two versions) and        1.10      $715.00
                          edit and confer with K. Klee and D. Bussel re same
                JMW       Telephone conference with D. Bussel re stipulation for            0.20      $130.00
                          litigation
                RJP       Analyze correspondence re draft stipulation to bifurcate          0.20      $185.00
                          Commonwealth/COFINA adversary proceeding and strategy
                          with respect to same
10/17/2017      KNK       Analyze pleadings re order setting hearing on section 105         0.10      $140.00
                          motion
                KNK       Analyze correspondence from T. Yanez et al re hearing on          0.10      $140.00
                          section 105 motion
                KNK       Prepare correspondence to B. Whyte re section 105 hearing         0.10      $140.00

                KNK       Telephone conference with B. Whyte re section 105 hearing         0.20      $280.00

                KNK       Prepare correspondence to T. Yanez re 10/25 hearing section       0.10      $140.00
                          105
                KNK       Revise section 105 stipulation; emails                            0.30      $420.00

                DJB       Email correspondence with N. Navarro, T. Yanez re local           0.10    No Charge
                          counsel role at 105 hearing
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Date            Init      Description                                                      Hours        Amount

                DJB       Email correspondence with working group re order                 0.50      $597.50
                          scheduling hearing on 105
                DJB       Review revised bifurcation stipulation                           0.40      $478.00

                DJB       Review draft scheduling order                                    0.20      $239.00

                DJB       Email correspondence with working group re bifurcation           0.20      $239.00
                          stipulation
                JMW       Telephone conference with C. Koenig re stipulation               0.10        $65.00

                JMW       Analyze and comment on drafts (several) of informative           1.00      $650.00
                          scheduling motion and of immunity stipulation and confer re
                          same
10/18/2017      KNK       Analyze pleadings re revised stipulation re Section 105;         0.20      $280.00
                          comments
                DJB       Review and comment on informative motion re scheduling           0.20      $239.00

                DJB       Review scheduling stipulation                                    0.10      $119.50

                JMW       Analyze revised schedule for litigation                          0.10        $65.00

10/19/2017      KNK       Analyze correspondence from R. Holm and S. Kirpalani re          0.10      $140.00
                          AAFAF sur-reply to COFINA 105 motion
                KNK       Analyze pleadings re informative motion of Commonwealth          0.10      $140.00
                          agent re 10/25 hearing
                KNK       Analyze correspondence from C. Koenig re revised litigation      0.10      $140.00
                          schedule
                KNK       Analyze revised joint informative motion re trial schedule for   0.20      $280.00
                          Commonwealth-COFINA dispute; emails
                KNK       Telephone conference with S. Pearson re trial notebook for       0.10    No Charge
                          10/25 hearing on Section 105
                DJB       Review Commonwealth Agent Informative Motion re 105              0.20      $239.00
                          motion
                DJB       Review revised schedule re COFINA-Commonweatlh                   0.30      $358.50
                          Adversary
                JMW       Work on revised versions of joint informative motion re          0.30      $195.00
                          scheduling of litigation
10/20/2017      KNK       Analyze trial book for 10/25 hearing                             0.20      $280.00

                KNK       Analyze pleadings re revised joint informative motion of         0.10      $140.00
                          agents re 10/25 hearing
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Date            Init      Description                                                   Hours        Amount

                KNK       Analyze pleadings re informative motions of various parties   0.20      $280.00
                          re 10/25 hearing
                KNK       Analyze pleadings re informative motion of COFINA agent;      0.20      $280.00
                          emails re same; reply to add KTB&S
                KNK       Analyze summary of Commonwealth-COFINA dispute; email         0.30      $420.00
                          from B. Whyte re same; reply
                KNK       Analyze correspondence from T. Yanez and B. Whyte re K.       0.10      $140.00
                          Klee appearance at 10/25 hearing
                DJB       Email correspondence with S. Pearson re telephonic            0.10    No Charge
                          appearance
                DJB       Review summary of 105 motion (Reorg Research Alert)           0.10    No Charge

                DJB       Review various pleadings re October 25 hearing calendar       0.30      $358.50

                DJB       Review COFINA Agent Informative Motion re October 25          0.10      $119.50
                          appearances
                SDP       Analyze correspondence from K. Klee re proposed               0.20        $69.00
                          modifications to dispute schedule; analyze schedule
                RJP       Review email correspondence from K. Klee re litigation        0.10        $92.50
                          strategy
10/22/2017      KNK       Prepare for 10/25 Section 105 hearing                         0.40      $560.00

10/23/2017      KNK       Analyze pleadings re AAFAF motion for sur-reply               0.10      $140.00

                KNK       Analyze correspondence from M. Feldman re AAFAF               0.20      $280.00
                          sur-reply; emails; reply
                KNK       Analyze pleadings re AAFAF response to BNYM                   0.10      $140.00

                DJB       Review October 25 Agenda for U.S. Distrcit Court, Puerto      0.10    No Charge
                          Rico
                DJB       Review AAFAF surreply motion                                  0.30      $358.50

                DJB       Email correspondence with working group re possible           0.30      $358.50
                          response to AAFAF surreply
                DJB       Review AAFAF response to senior COFINA informative            0.10      $119.50
                          motion
10/24/2017      KNK       Analyze pleadings re urgent motions of Committee to           0.20      $280.00
                          intervene
                KNK       Analyze pleadings re motion of FGIC to stay all litigation;   0.20      $280.00
                          emails
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Date            Init      Description                                                       Hours        Amount

                KNK       Analyze pleadings re AAFAF's sur-reply to BNYM and                0.10      $140.00
                          response to COFINA agent
                DJB       Prepare for 105 hearing                                           1.30    No Charge

                DJB       Review press reports re Whitefish                                 0.50    No Charge

                DJB       Review urgent motion for stay of litigation (FGIC)                0.20      $239.00

                DJB       Email correspondence with working group re FGIC motion            0.20      $239.00

                JMW       Analyze FGIC motion to stay all litigation, exchange e-mail       0.50      $325.00
                          correspondence with K. Klee and M. Feldman re same
10/25/2017      KNK       Prepare for Section 105(a) hearing                                0.40      $560.00

                KNK       Appear at hearing re Section 105 immunity motion and              4.00    $5,600.00
                          FEMA emergency funds
                KNK       Telephone conference with B. Whyte re Section 105 hearing         0.10      $140.00
                          result
                KNK       Telephone conference with J. Weiss re Section 105 hearing         0.10      $140.00
                          result
                KNK       Revise revised immunity order and litigation schedule; reply      0.20      $280.00

                DJB       Attend October 25 hearings telephonically (105 motion,            3.20    $3,824.00
                          scheduling)
                DJB       Review draft order and related email correspondence               0.40      $478.00

                JMW       Participate (telephonically) in contested hearing re litigation   3.40    $2,210.00
                          schedule, scope, immunity, etc.
                JMW       Analyze and comment on orders resulting from hearing              0.40      $260.00

                JMW       Telephone conference with K. Klee re hearing results              0.10        $65.00

                JMW       Analyze amended complaint                                         1.00      $650.00

10/26/2017      KNK       Analyze correspondence from B. Whyte re immunity order;           0.10      $140.00
                          reply
                KNK       Analyze correspondence from A. Ambeault re immunity order         0.10      $140.00
                          (articles)
10/27/2017      DJB       Review revised schedule for litigation (stipulation)              0.30      $358.50

                JMW       Analyze draft revised litigation schedule                         0.20      $130.00

10/29/2017      KNK       Revise amended COFINA agent answer; emails                        0.90    $1,260.00
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Date            Init      Description                                                     Hours         Amount

                KNK       Analyze pleadings re amended Commonwealth complaint             0.80     $1,120.00

                DJB       Email correspondence with working group re amended              0.80       $956.00
                          answer and counterclaim
                JMW       Analyze draft amended counterclaims and redline and             2.50     $1,625.00
                          research and comment re same
10/30/2017      KNK       Analyze pleadings re revised answer to amended complaint        0.30       $420.00

                KNK       Analyze correspondence from C. Keonig re revised immunity       0.10       $140.00
                          order
                JMW       Analyze and research re revised amended answers and             1.60     $1,040.00
                          counterclaims
10/31/2017      KNK       Analyze pleadings re joint informative motion re                0.10       $140.00
                          Commonwealth-COFINA dispute
                KNK       Analyze pleadings re AAFAF objection to FGIC motion to          0.10       $140.00
                          stay all litigation
                KNK       Analyze pleadings re oversight board objection to FGIC          0.10       $140.00
                          motion to stay litigation
                JMW       Analyze several responses to FGIC motion re stay                0.30       $195.00

                JMW       Analyze scheduling order re litigation and correspondence re    0.20       $130.00
                          same
Professional Services Rendered                                                           48.20    $49,930.00

For Services Rendered Through 10/31/2017


In Reference To: Case Administration
File No.:        2291-0002


Professional Services
Date            Init      Description                                                     Hours         Amount

10/2/2017       DJB       Review information motion re scheduling (Auerelius)             0.10       $119.50

                DJB       Review draft replies re 105(a) and Centerbridge and provide     0.60       $717.00
                          email comments to Willkie
                JMW       Analyze briefing re schedule on Aurelius motion                 0.30       $195.00

10/4/2017       KNK       Analyze pleadings re draft reply re Centerview                  0.10       $140.00
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Date            Init      Description                                                     Hours        Amount

                DJB       Review final draft replies and confirm no objection             0.30      $358.50

                DJB       Email correspondence with working group re update call          0.10    No Charge
                          (rescheduled)
                JMW       Analyze debtors urgent motion re extension of deadlines         0.10        $65.00

                JMW       Analyze revised replies re Centerview, fees, and immunity       0.50      $325.00
                          issues
                JMW       Exchange e-mail correspondence with K. Chopra re COFINA         0.10        $65.00
                          bonds trading
10/5/2017       DJB       Email correspondence with N. Navarro re court reopening         0.10      $119.50
                          date
                DJB       Confer with N. Navarro re case status                           0.30      $358.50

10/6/2017       KNK       Analyze pleadings re AAFAF objection re Centerview              0.20      $280.00

                DJB       Review AAFAF objections to 105/Centerview motions               0.60      $717.00

                DJB       Email correspondence with Willkie working group re              0.30      $358.50
                          responses to AAFAF objections
                DJB       Review court order re Maria, court closures and email           0.20      $239.00
                          correspondence with N. Navarro re same
10/7/2017       JMW       Analyze AAFAF objection to immunity and related                 0.40      $260.00
                          correspondence
10/9/2017       KNK       Analyze correspondence from Judge Delgado-Colon re              0.10      $140.00
                          reopening of Court
                KNK       Analyze revised draft reply re Centerview retention             0.20      $280.00

                DJB       Review draft replies re 105/Centerview                          0.80      $956.00

                DJB       Furnish comments on draft replies                               0.60      $717.00

                DJB       Email correspondence with working group re D. Bussel            0.10    No Charge
                          comments to 105 reply
                DJB       Email correspondence with N. Navarro re court                   0.10      $119.50
                          opening/deadlines
                JMW       Analyze latest drafts and edit replies in support of immunity   1.20      $780.00
                          and other case administration issues
                JMW       In connection with revisions to replies, review objections re   1.30      $845.00
                          same, review stipulation, complaints, and other pleadings
                          related to revisions
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Date            Init      Description                                                   Hours        Amount

                JMW       Analyze press release re court re-opening                     0.10        $65.00

10/10/2017      JMW       Analyze FEMA document from AAFAF                              0.10        $65.00

                JMW       Analyze numerous replies in support of and against motion     1.00      $650.00
                          for immunity, including from BNYM and Commonwealth
                          Agent
                JMW       Analyze as-filed versions of replies re immunity and          0.20      $130.00
                          Centerview
10/11/2017      JMW       Analyze senior COFINA coalition statement in support of       0.20      $130.00
                          immunity motion
10/15/2017      DJB       Review urgent motion re Federal Disaster Relief Funds         0.30      $358.50

                JMW       Analyze motion re proposed revised schedule                   0.20      $130.00

                JMW       Analyze court order re scheduling                             0.10        $65.00

                JMW       Analyze National joinder to statement in support              0.10        $65.00

                JMW       Analyze motion re disaster relief funds and proposed order    0.30      $195.00

10/16/2017      JMW       Exchange e-mail correspondence with A. Ambreault and C.       0.20      $130.00
                          Koenig re deadlines in light of hurricanes
                JMW       Exchange e-mail correspondence with B. Whyte re immunity      0.20      $130.00
                          motion
10/17/2017      SDP       Exchange e-mail correspondence with J. Weiss re 10/25         0.20    No Charge
                          hearing
                SDP       Set up telephonic appearances for D. Bussel and J. Weiss re   0.20    No Charge
                          10/25 hearing
                JMW       Analyze order re immunity motion hearing                      0.10        $65.00

10/18/2017      KNK       Analyze pleadings re Order Denying Centerview Retention       0.30      $420.00
                          without Prejudice; reply
                DJB       Review court order denying Centerview retention without       0.30      $358.50
                          prejudice
                DJB       Email correspondence with working group re Centerview         0.30      $358.50
                          retention denial
                JMW       Analyze Centerview retention order and analyze/communicate    0.40      $260.00
                          with K. Klee
10/19/2017      DJB       Review informative motions re appearances at 10/25 hearing    0.20      $239.00
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Date            Init      Description                                                    Hours         Amount

                DJB       Review filings re urgent motion re FEMA funds                  0.70       $836.50

                JMW       Analyze informative motions re 10.25 hearing (several)         0.20       $130.00

10/20/2017      DJB       Review various parties' informative motions re October 25      0.10       $119.50
                          calendar
                DJB       Review informative motions of COFINA Agent re October 25       0.10       $119.50
                          calendar
                JMW       Work on informative motion re 10/25 hearing                    0.20       $130.00

10/23/2017      JMW       Analyze various AAFAF replies re immunity and related          0.50       $325.00
                          issues
                JMW       Analyze omnibus reply re disaster relief funds                 0.10         $65.00

10/26/2017      DJB       Revise senior COFINA 2019 statement                            0.20       $239.00

                JMW       Analyze senior COFINA holders 2019 statement                   0.10         $65.00

10/30/2017      KNK       Analyze pleadings re informative motion re scheduling          0.10       $140.00

                DJB       Review and comment on informative motion/revised schedule      0.50       $597.50

                DJB       Email correspondence with J. Weiss re comments to              0.10       $119.50
                          informative motion (scheduling order)
                DJB       Email correspondence with working group re revisions to        0.10       $119.50
                          amended answer/counterclaim
                DJB       Confer with J. Weiss re case status/fee examiner motion        0.30       $358.50

                JMW       Analyze and comment on draft orders from 10/25 hearing and     1.10       $715.00
                          resulting informative motion, including correspondence with
                          D. Bussel and K. Klee re same
10/31/2017      SDP       Update master service list                                     0.10    No Charge
Professional Services Rendered                                                          18.20    $16,049.00

For Services Rendered Through 10/31/2017


In Reference To: Meetings/Creditor Communications
File No.:        2291-0003


Professional Services
Date            Init      Description                                                    Hours         Amount
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Date            Init      Description                                                     Hours        Amount

10/4/2017       JMW       Exchange e-mail correspondence with working group re            0.20      $130.00
                          moratorium and weekly call
10/9/2017       DAF       Call with Silver Rock re senior bonds                           0.20    No Charge

                DJB       Email correspondence with working group re bondholder           0.10      $119.50
                          support re 105
                JMW       Call with Silver Rock re case and COFINA bonds                  0.20      $130.00

10/11/2017      KNK       Telephone conference with K. John Shaffer re litigation         0.10      $140.00

                KNK       Analyze correspondence from T. Yanez re meeting; email          0.10    No Charge

                KNK       Telephone conference with M. Goldstein re immunity motion       0.20      $280.00

                KNK       Conference call with B. Whyte, M. Feldman et al re COFINA       0.60      $840.00
                          litigation strategy
                KNK       Analyze correspondence from C. Koenig re update from            0.10      $140.00
                          working group
                KNK       Analyze correspondence from M. Feldman re AAFAF                 0.10      $140.00
                          position
                KNK       Conference call with creditor working group                     0.60      $840.00

                DJB       Review creditor working group update report                     0.20      $239.00

                DJB       Weekly coordination call, bifurcation issues                    0.50      $597.50

                JMW       Telephone conference with T. Yanez and Willkie team re          0.60      $390.00
                          proposed stipulation
                JMW       Telephone conference with creditor group re case status         0.60      $390.00

                JMW       Telephone conference with weekly call                           0.50      $325.00

                JMW       Analyze correspondence from C. Koenig re creditor group         0.10        $65.00
                          call
10/13/2017      KNK       Conference call with B. Whyte, M. Feldman et al re 105          0.40      $560.00
                          motion and scheduling
                KNK       Telephone conference with B. Whyte re litigation strategy and   0.10      $140.00
                          immunity
                KNK       Analyze correspondence from J. Gana re creditor group           0.10      $140.00
                          meetings
10/16/2017      KNK       Conference call with B. Whyte, T. Yanez et al re revised        0.70      $980.00
                          bifurcation stipulation
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Date            Init      Description                                                  Hours         Amount

                KNK       Telephone conference with B. Whyte re bifurcation            0.10       $140.00
                          stipulation
                DJB       Telephone conference with B. Whyte and Willkie re            0.70       $836.50
                          bifurcation proposal
                JMW       Call with B. Whyte and Willkie re proposed litigation        0.70       $455.00
                          stipulation
10/17/2017      KNK       Analyze correspondence from C. Koenig re summary of CR       0.10       $140.00
                          group call
                DJB       Creditor working group update (review)                       0.10       $119.50

10/18/2017      KNK       Conference call with B. Whyte, T. Yanez, et al. re Section   0.20       $280.00
                          105 stipulation and October 25 hearing
                JMW       Weekly call with B. Whyte and Willkie                        0.20       $130.00

10/19/2017      KNK       Telephone conference with B. Whyte re 10/25 hearing          0.10       $140.00

                KNK       Analyze correspondence from S. Kirpalani re approach to      0.10       $140.00
                          AAFAF
10/23/2017      KNK       Analyze correspondence from C. Song re DIP financing         0.10       $140.00
                          proposal of COFINA senior bond contributions
                KNK       Telephone conference with B. Whyte re DIP financing          0.30       $420.00
                          proposal of COFINA senior bond contributions
10/25/2017      KNK       Conference call with T. Yanez, B. Whyte et al re immunity    0.20       $280.00
                          order and litigation schedule
                DJB       Confer with working group re results of hearing              0.50       $597.50

                JMW       Weekly call with client, Willkie re case issues              0.20       $130.00

Professional Services Rendered                                                         9.90    $10,534.50

For Services Rendered Through 10/31/2017


In Reference To: Mediation/Negotiations
File No.:        2291-0004


Professional Services
Date            Init      Description                                                  Hours         Amount

10/2/2017       KNK       Confer with J. Weiss re risk assessment meeting              0.10       $140.00
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Date            Init      Description                                                      Hours       Amount

                DJB       Email correspondence with N. Navarro re mediation risk           0.10     $119.50
                          analysis
                DJB       Confer with J. Weiss re mediation risk analysis                  0.50     $597.50

                DJB       Review media reports re tax collection / government              0.20     $239.00
                          operations status and related email correspondence with
                          working group
                JMW       Telephone conference with D. Bussel re risk assessment chart     0.30     $195.00

                JMW       Prepare for risk assessment call with B. Whyte                   0.60     $390.00

                JMW       Exchange e-mail correspondence with I. Rivera re risk            0.10       $65.00
                          assessment call
10/3/2017       KNK       Prepare for risk assessment meeting with D. Bussel and J.        0.30     $420.00
                          Weiss
                KNK       Confer with D. Bussel and J. Weiss re risk assessment            0.80    $1,120.00

                KNK       Telephone conference with B. Whyte re risk assessment and        0.10     $140.00
                          settlement
                KNK       Analyze revised risk assessment charts and summary               0.20     $280.00

                KNK       Prepare for meeting with B. Whyte et al re risk assessment       0.60     $840.00
                          and settlement
                DJB       Confer with N. Navarro re mediation risk analysis                0.50     $597.50

                DJB       Confer with K. Klee and J. Weiss re mediation risk               0.70     $836.50
                          assessment
                DJB       Review revised charts re mediation                               0.40     $478.00

                DJB       Email correspondence with KTBS working group re charts           0.30     $358.50

                SDP       Revise flow chart analyses re Commonwealth theories for          0.20       $69.00
                          mediation preparation
                SDP       Analyze correspondence from J. Weiss re revised risk             0.10       $34.50
                          assessment analysis
                JMW       Confer with K. Klee and D. Bussel re risk probability analysis   0.80     $520.00

                JMW       Prepare for presentation to B. Whyte re risk probability and     6.50    $4,225.00
                          legal analysis on bankruptcy / commercial / constitutional
                          causes of action asserted by L. Despins
                JMW       Telephone conference with D. Bussel and N. Navarro re            0.40     $260.00
                          Puerto Rico law issues
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Date            Init      Description                                                     Hours       Amount

10/4/2017       KNK       Prepare for risk assessment meeting with B. Whyte               0.30     $420.00

                KNK       Conference call with B. Whyte, J. Weiss and D. Bussel re risk   1.50    $2,100.00
                          assessment/settlement
                KNK       Telephone conference with T. Yanez, J. Minias, J. Weiss re      0.10     $140.00
                          charts
                KNK       Telephone conference with B. Whyte re risk charts               0.10     $140.00

                DJB       Confer with B. Whyte and KTBS working group re chart            1.00    $1,195.00
                          analysis
                DJB       Prepare for meeting with B. Whyte (review charts)               0.80     $956.00

                DJB       Email correspondence with working group re market reactions     0.20     $239.00
                          to Maria
                DJB       Email correspondence with N. Navarro re contracts clause        0.30     $358.50

                SDP       Serve risk assessment charts and summary                        0.50     $172.50

                SDP       Revise flow chart analyses re Commonwealth theories for         0.50     $172.50
                          mediation preparation
                JMW       Telephone conference with B. Whyte and K. Klee and D.           1.50     $975.00
                          Bussel re risk probability analysis
                JMW       Telephone conference with T. Yanez and J. Minias and K.         0.10       $65.00
                          Klee re risk probability analysis
                JMW       Prepare for call with B. Whyte re risk analysis and legal       2.80    $1,820.00
                          issues
                JMW       Revise risk slides                                              0.70     $455.00

10/5/2017       KNK       Confer with D. Bussel re mediation strategy                     0.20     $280.00

                KNK       Conference call with B. Whyte and M. Feldman re mediation       0.30     $420.00
                          and settlement
                DJB       Confer with Willkie and B. Whyte re mediation and litigation    0.30     $358.50
                          update
                DJB       Confer with C. Koenig re charts                                 0.10     $119.50

                DJB       Confer with K. Klee re mediation strategy                       0.20     $239.00

                DJB       Confer with S. Pearson re charts                                0.10     $119.50

10/6/2017       KNK       Conference call with M. Feldman, D. Bussel et al re risk        0.60     $840.00
                          assessment charts
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Date            Init      Description                                                   Hours       Amount

                KNK       Prepare correspondence to M. Feldman et al re charts          0.10     $140.00

                KNK       Analyze correspondence from M. Feldman re stay of             0.10     $140.00
                          mediation
                DJB       Telephone conference with working group re mediation          1.10    $1,314.50
                          analysis
                DJB       Prepare revised mediation charts                              0.60     $717.00

                DJB       Email correspondence with working group re revised charts     0.30     $358.50
                          (mediation analysis)
                DJB       Email correspondence with working group re SUT/Excise Tax     0.20     $239.00
                          proposals
10/8/2017       KNK       Analyze correspondence from M. Feldman re conversation        0.20     $280.00
                          with B. Houser; emails; reply
                DJB       Email correspondence with working group re mediation,         0.30     $358.50
                          possible emergency hearing on immunity
10/9/2017       KNK       Analyze correspondence from B. Houser re mediation; emails    0.20     $280.00
                          from M. Feldman; B. Whyte; reply
                DJB       Review mediation memorandum and related email                 0.40     $478.00
                          correspondence with working group
                JMW       Analyze mediation memo update                                 0.10       $65.00

10/10/2017      KNK       Analyze memo re mediation from B. Houser                      0.10     $140.00

                KNK       Conference call with B. Houser et al re mediation             0.90    $1,260.00

10/11/2017      SDP       Exchange e-mail correspondence with J. Weiss re interim fee   0.20       $69.00
                          applications
10/17/2017      KNK       Revise mediation issues statement                             0.20     $280.00

                KNK       Analyze correspondence from B. Whyte re mediation             0.10     $140.00

                DJB       Review draft mediation statement                              0.20     $239.00

                DJB       Review revised draft mediation statement/scheduling order     0.20     $239.00

                JMW       Analyze and comment on drafts (several) of mediation          0.60     $390.00
                          statement
10/19/2017      DJB       Review revised informative motion and statement re            0.30     $358.50
                          mediation
                JMW       Analyze revised mediation statement                           0.20     $130.00
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Date            Init      Description                                                 Hours         Amount

10/20/2017      KNK       Analyze correspondence from B. Whyte, J. Minias, M.         0.20       $280.00
                          Feldman re mediation statement
                DJB       Email correspondence with working group re mediation        0.10       $119.50
                          schedule
10/21/2017      KNK       Analyze correspondence from S. Kirpalani, M. Feldman, B.    0.20       $280.00
                          Whyte re mediation; reply
10/22/2017      KNK       Analyze correspondence from B. Whyte, S. Kirpalani re       0.10       $140.00
                          mediation
                KNK       Telephone conference with B. Whyte re mediation strategy    0.20       $280.00
                          and issues
                KNK       Analyze correspondence from B. Whyte and M. Feldman re      0.10       $140.00
                          Section 105 settlement
10/23/2017      SDP       Analyze correspondence from K. Klee re 10/31 and 11/1       0.10         $34.50
                          mediations
                JMW       Analyze correspondence from B. Whyte and S. Kirpalani re    0.20       $130.00
                          mediation
10/24/2017      KNK       Analyze correspondence from B. Houser re mediation          0.20       $280.00
                          schedule; email B. Whyte; reply
                DJB       Review Hurricane Maria recovery data (SUT) and related      0.60       $717.00
                          email correspondence from K. Klee
                JMW       Analyze correspondence and data re SUT and excise taxes     0.30       $195.00

10/26/2017      JMW       Telephone conference with D. Bussel re mediation            0.10         $65.00

10/27/2017      KNK       Analyze correspondence from B. Houser re mediation          0.10       $140.00
                          schedule
                DJB       Email correspondence with working group re revised          0.10       $119.50
                          mediation schedule
                SDP       Analyze memorandum re November 7-9 mediation                0.10         $34.50

                SDP       Confer with K. Klee re 7-November 7-9 mediation             0.10         $34.50

                JMW       Analyze mediation memorandum                                0.10         $65.00

10/30/2017      DJB       Review updates re fiscal plan/recovery                      0.30       $358.50
Professional Services Rendered                                                       35.80    $34,539.00
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For Services Rendered Through 10/31/2017


In Reference To: Fee Applications and Retention
File No.:        2291-0005


Professional Services
Date            Init      Description                                                  Hours        Amount

10/2/2017       DJB       Email correspondence with working group re D. Bussel         0.10    No Charge
                          comments to draft replies
10/4/2017       JMW       Work on monthly fee statement                                1.00      $650.00

10/5/2017       DJB       Email correspondence with Willkie and U.S. Trustee re        0.20      $239.00
                          LEDES billing
10/6/2017       DJB       Email correspondence with N. Navarro re LEDES billing        0.10      $119.50
                          issues
                SDP       Analyze correspondence from J. Weiss re billing format for   0.10        $34.50
                          monthly fee statements
                SDP       Analyze correspondence from N. Navarro-Cabrer re billing     0.10        $34.50
                          format
10/9/2017       DJB       Email correspondence with working group re fee application   0.10    No Charge
                          issues
                SDP       Analyze email from J. Weiss to N. Eitel re KTB&S's billing   0.10        $34.50
                          invoices
                JMW       Work on monthly fee statement                                0.50      $325.00

10/10/2017      SDP       Analyze correspondence from N. Navarro-Cabrer re invoices    0.10        $34.50

                SDP       Prepare second monthly fee application and exhibits          0.80      $276.00

                SDP       Exchange e-mail correspondence with N. Eitel re billing      0.20        $69.00
                          format
10/11/2017      DJB       Email correspondence with working group re fee and           0.20    No Charge
                          employment issues
                SDP       Analyze correspondence from N. Navarro-Cabrer re monthly     0.10        $34.50
                          fee applications
                SDP       Analyze correspondence from N. Eitel re billing format       0.10        $34.50

                JMW       Analyze correspondence from N. Cabrer and N. Eitel re        0.10        $65.00
                          billing data
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Date            Init      Description                                                     Hours        Amount

10/12/2017      SDP       Analyze correspondence from N. Navarro-Cabrer re second         0.10        $34.50
                          monthly fee statement
10/16/2017      KNK       Analyze correspondence from B. Whyte re fee payment; reply      0.10      $140.00

                DJB       Email correspondence with B. Whyte and J. Weiss re fee          0.10    No Charge
                          application process
                SDP       Analyze correspondence from N. Navarro-Cabrer re billing        0.10        $34.50
                          information for the US Trustee
                SDP       Analyze correspondence from J. Weiss re exhibit to second       0.10        $34.50
                          monthly fee application
                JMW       Prepare monthly fee statement                                   2.50    $1,625.00

10/17/2017      KNK       Revise September fee application                                0.20      $280.00

                DJB       Email correspondence with working group re fee issues (J.       0.20    No Charge
                          Weiss comments)
                SDP       Revise exhibit to second monthly fee statement                  0.10        $34.50

                SDP       Finalize KTB&S's second monthly fee application                 0.20        $69.00

                SDP       Prepare correspondence to N. Navarro-Cabrer re monthly fee      0.10        $34.50
                          statement
                SDP       Serve KTB&S's and N. Navarro-Cabrer's second monthly fee        0.70    No Charge
                          applications
                SDP       Exchange e-mail correspondence with J. Weiss re service of      0.20    No Charge
                          monthly statements
                JMW       Finalize September fee statement                                0.80      $520.00

10/18/2017      SDP       Analyze correspondence from G. Gebhardt re monthly fee          0.10        $34.50
                          application of KTB&S and N. Navarro-Cabrer
                SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re        0.20        $69.00
                          second monthly fee application
                SDP       Analyze correspondence from R. Rivera re billing data for fee   0.10        $34.50
                          statements
10/26/2017      SDP       Analyze correspondence from N. Navarro-Cabrer re                0.10        $34.50
                          statements of no objection
                SDP       Analyze correspondence from J. Weiss re local counsel's         0.10        $34.50
                          statements of no objection
                SDP       Prepare correspondence to N. Navarro-Cabrer re statements of    0.10        $34.50
                          no objection
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Date            Init      Description                                                    Hours        Amount

10/27/2017      SDP       Analyze correspondence from N. Navarro-Cabrer re               0.10        $34.50
                          statements of no objection and first interim fee application
10/30/2017      KNK       Confer with J. Weiss re fee examiner's request and motion      0.20      $280.00

                KNK       Analyze correspondence from K. Stadler re fee examiner         0.30      $420.00
                          motion to amend interim comp.; revised order; emails re same
                KNK       Analyze correspondence from J. Weiss re response to fee        0.10      $140.00
                          examiner motion
                DJB       Email correspondence with working group re fee examiner        0.50      $597.50
                          motion
                SDP       Exchange e-mail correspondence with J. Weiss re statements     0.20        $69.00
                          of no objection
                SDP       Revise statement of no objection re first fee statement        0.10        $34.50

                SDP       Prepare statement of no objection re second fee statement      0.20        $69.00

                JMW       Telephone conference with B. Whyte and C. Koenig re fee        0.20      $130.00
                          examiner motion
                JMW       Confer with K. Klee re fee examiner's motion                   0.20      $130.00

                JMW       Analyze fee examiner's motion and proposed revisions to        0.30      $195.00
                          compensation order
                JMW       Telephone conference with C. Koenig re fee examiner motion     0.20      $130.00

10/31/2017      KNK       Telephone conference with J. Weiss re fee examiner motion;     0.10      $140.00
                          email
                SDP       Revise N. Navarro-Cabrer's statements of no objection          0.10        $34.50

                SDP       Finalize KTB&S's statements of no objection                    0.20        $69.00

                SDP       Analyze correspondence from J. Weiss re N. Navarro-Cabrer      0.10        $34.50
                          statements of no objection
                SDP       Finalize N. Navarro-Cabrer statements of no objection          0.20        $69.00

                SDP       Exchange e-mail correspondence with J. Weiss re service of     0.30    No Charge
                          statements of no objection (several)
                SDP       Serve KTB&S's and N. Navarro-Cabrer statements of no           0.50    No Charge
                          objection
                SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re       0.30    No Charge
                          statements of no objection (multiple)
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Date            Init      Description                                                 Hours        Amount

                JMW       Telephone conference with C. Koening and follow up          0.40      $260.00
                          discussions with K. Klee, D. Bussel and B. Whyte re fee
                          examiner motion
                JMW       Review statement of no objection re August and September    0.10        $65.00
                          fees
Professional Services Rendered                                                       15.00    $7,900.00

For Services Rendered Through 10/31/2017


In Reference To: Fee Application and Retention Objections
File No.:        2291-0006


Professional Services
Date            Init      Description                                                 Hours        Amount

10/10/2017      DJB       Review replies to AAFAF/oversight Board/BNYM objections     1.00    $1,195.00
                          to 105(a)/Centerview
10/31/2017      DJB       Review Willkie fee objection and related email              0.30      $358.50
                          correspondence with working group re fee examiner motion
                JMW       Analyze AAFAF objection to Willkie fees                     0.10        $65.00

Professional Services Rendered                                                        1.40    $1,618.50

For Services Rendered Through 10/31/2017


In Reference To: Budget
File No.:        2291-0007


Professional Services
Date            Init      Description                                                 Hours        Amount

10/3/2017       SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re    0.20    No Charge
                          statement of no objection
                SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re    0.20        $69.00
                          budget and staffing plan
10/11/2017      KNK       Analyze October budget                                      0.10      $140.00

                KNK       Confer with J. Weiss re October budget                      0.10      $140.00
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Date            Init      Description                                                       Hours       Amount

                SDP       Analyze correspondence from J. Weiss to B. Whyte re budget        0.10       $34.50
                          and staffing plan
                JMW       Confer with K. Klee re budget                                     0.10       $65.00

                JMW       Revise and finalize October budget                                0.60     $390.00
Professional Services Rendered                                                              1.40    $838.50

For Services Rendered Through 10/31/2017


In Reference To: Discovery/Fact Analysis
File No.:        2291-0008


Professional Services
Date            Init      Description                                                       Hours       Amount

10/2/2017       KNK       Analyze article re financing for PR and litigation stay; emails   0.20     $280.00

                JMW       Telephone conference with J. Sorkin re Barclays subpoena          0.20     $130.00

                JMW       Telephone conference with M. Spillane re Citi subpoena            0.10       $65.00

10/3/2017       KNK       Analyze correspondence from S. Hussein and J. Weiss re            0.10     $140.00
                          subpoenas and meet and confer
                DJB       Email correspondence with Willkie working group re third          0.10     $119.50
                          party subpoena
                JMW       Exchange e-mail correspondence with S. Hussein re meet and        0.10       $65.00
                          confer
                RJP       Review correspondence with Willkie team re third-party            0.10       $92.50
                          subpoenas
10/4/2017       KNK       Analyze article from B. Whyte re COFINA bondholders               0.10     $140.00

                KNK       Analyze correspondence from K. Chopra re COFINA bonds             0.10     $140.00

                JMW       Telephone conference with S. Hussein re subpoenas                 0.10       $65.00

                JMW       Update subpoena tracker re KTBS subpoenas                         0.20     $130.00

                JMW       Exchange e-mail correspondence with M. Cohen re Hawkins           0.10       $65.00
                          subpoena
                RJP       Review email correspondence re third-party subpoenas and          0.10       $92.50
                          document production
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Date            Init      Description                                                    Hours       Amount

10/5/2017       KNK       Analyze articles re Puerto Rico debt                           0.20     $280.00

                DJB       Email correspondence and review re protective order            0.10     $119.50

                RJP       Review correspondence re protective order and materials        0.10       $92.50
                          produced in discovery
10/6/2017       KNK       Analyze article re AAFAF suggestion to repeal sales tax;       0.20     $280.00
                          emails
                DJB       Review protective order (lodged)                               0.30     $358.50

10/10/2017      DJB       Email correspondence with working group re discovery / third   0.50     $597.50
                          party subpoenas (objections)
                DJB       Review correspondence from Paul Hastings re                    0.20     $239.00
                          Commonwealth failure to produce documents
                JMW       Analyze discovery responses and objections and consider next   2.20    $1,430.00
                          steps from Barclays, Goldman, JPM, Citi, Hawkins, Merrill,
                          and Wells Fargo
                JMW       Analyze Paul Hastings letter to OMM re discovery               0.10       $65.00

                RJP       Preliminary review of financial institutions’ objections and   0.40     $370.00
                          responses to third-party subpoenas; correspondence re same
10/11/2017      KNK       Analyze weekly update re litigation                            0.10     $140.00

                KNK       Analyze correspondence from S. Cooper re discovery             0.10     $140.00

                KNK       Analyze pleadings re Barclays and JPM objections re            0.50     $700.00
                          subpoenas served by KTBS
10/12/2017      KNK       Analyze report re PR sales tax; email B. Whyte re same         0.10     $140.00

                DJB       Review stipulation in adversary re facts, discovery            0.40     $478.00

10/13/2017      KNK       Analyze pleadings re order directing parties to confer re      0.10     $140.00
                          briefing and discovery in Commonwealth-COFINA dispute
10/16/2017      KNK       Analyze article re BNYM COFINA debt service accounts           0.10     $140.00

                DJB       Email correspondence with working group re SUT to VAT          0.10     $119.50
                          issues (bifurcation)
10/17/2017      DJB       Email correspondence with working group re third party         0.20     $239.00
                          subpoenas (Banco Popular)
                JMW       Analyze correspondence from M. Neiburg re Popular              0.10       $65.00
                          Securities subpoena
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Date            Init      Description                                                       Hours       Amount

10/18/2017      DJB       Review O'Melveny correspondence re discovery (J. Daniels)         0.20     $239.00

                JMW       Analyze discovery letter from AAFAF                               0.10       $65.00

                RJP       Review correspondence re Commonwealth/COFINA dispute              0.20     $185.00
                          and discovery matters with respect to same
10/19/2017      KNK       Analyze correspondence from J. Daniels re AAFAF document          0.20     $280.00
                          production; emails
                JMW       Work on third party discovery matters                             0.30     $195.00

                RJP       Analyze stipulation re revised discovery and trial schedule for   0.30     $277.50
                          Commonwealth/COFINA dispute; exchange email
                          correspondence with K. Klee re same
10/20/2017      DJB       Email correspondence with working group re third party            0.10     $119.50
                          subpeonas
                JMW       Meet and confer with Popular Bank re discovery                    0.30     $195.00

                JMW       Telephone conference with J. Dugan re third party discovery       0.10       $65.00

                JMW       Analyze numerous responses and objections to third party          1.40     $910.00
                          discovery and strategize re go-forward requests and actions
10/23/2017      DJB       Review senior COFINA DIP proposal and related email               0.40     $478.00
                          correspondence with K. Klee
                DJB       Review party dismissals in BNYM adversary (selling                0.10     $119.50
                          bondholders)
                JMW       Analyze DIP proposal                                              0.10       $65.00

10/24/2017      KNK       Analyze correspondence from S. Cooper re discovery issues         0.10     $140.00

                KNK       Analyze correspondence from M. Rodrigue re post-hurricane         0.10     $140.00
                          sales tax collection
                DJB       Review Paul Hastings response to AAFAF discovery position         0.30     $358.50
                          (meet and confer process)
                JMW       Analyze S. Cooper letter to J. Daniels re AAFAF discovery         0.10       $65.00

                RJP       Review correspondence from S. Cooper (on behalf of                0.10       $92.50
                          Commonwealth agent) re discovery in
                          Commonwealth/COFINA matter
10/27/2017      JMW       Analyze M. Neiburg letter re popular securities third party       0.20     $130.00
                          discovery
                JMW       Analyze Santander responses and objections                        0.20     $130.00
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Date            Init      Description                                                     Hours           Amount

10/31/2017      KNK       Analyze correspondence from B. Whyte re revised fiscal plan     0.30         $420.00
                          and COFINA implications (several articles)
                KNK       Analyze correspondence from H. Honig re oversight board         0.10         $140.00
                          hearing
                DJB       Review updates re FOMB meeting and related email                0.30         $358.50
                          correspondence with working group
                JMW       Analyze third party discovery responses and research re next    1.30         $845.00
                          steps
                JMW       Analyze summary of oversight board public meeting,              0.50         $325.00
                          including related documents (independent investigator’s
                          report, meeting agenda)
Professional Services Rendered                                                           15.10      $13,996.00

For Services Rendered Through 10/31/2017


In Reference To: Non-Working Travel
File No.:        2291-0009


Professional Services
Date            Init      Description                                                     Hours           Amount

10/22/2017      KNK       Travel to New York for mediation talks and Section 105          4.00        $5,600.00
                          hearing
                KNK       Travel to New York for mediation talks and Section 105          4.00       No Charge
                          hearing
10/27/2017      KNK       Travel from NY to LA (non-working)                              4.20        $5,880.00

                KNK       Travel from NY to LA (non-working)                              4.20       No Charge
Professional Services Rendered                                                           16.40      $11,480.00




                                             Timekeeper Summary
 Name                                                             Hours         Rate               Amount

  Bussel, Daniel J.                                                3.10          0.00             No Charge
  Bussel, Daniel J.                                               39.90       1195.00             $47,680.50
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                        Itemized Expenses for the Period October 1, 2017 Through October 31, 2017
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                                                                                                                                      Invoice
   Date             Expense Category                    Total                                 Description                               No.
10/11/2017   Telephone                              $     27.02 Telephone Conference Service                                           16102
10/11/2017   Travel                                 $    106.00 Transportation to airport on 09/14/17 for K. Klee                      16102
10/11/2017   Travel                                 $    124.00 Transportation from airport on 09/11/17 for K. Klee                    16102
10/18/2017   Delivery Services/Messengers           $     15.74 Fedex to C. Steege, M. Root at Jenner & Block LLP on 09/15/17          16102
                                                                FedEx to Matthew Feldman at Willkie Farr & Gallagher LLP on
10/18/2017 Delivery Services/Messengers             $     16.32 10/04/17                                                              16102

10/18/2017 Delivery Services/Messengers             $     16.32 FedEx to Joseph Minias at Willkie Farr & Gallagher LLP on 10/04/17    16102

10/18/2017 Delivery Services/Messengers             $     16.32 FedEx to Antonio Yanez at Willkie Farr & Gallagher LLP on 10/04/17    16102
10/18/2017 Delivery Services/Messengers             $     16.36 FedEx to Bettina Whyte on 09/11/17                                    16102
                                                                FedEx to J. Rapisardi, S. Uhland at O'Melveny & Myers LLP on
10/18/2017 Delivery Services/Messengers             $     16.36 09/15/17                                                              16102
10/18/2017 Delivery Services/Messengers             $     19.25 FedEx to Paul V. Possinger at Proskauer Rose LLP on 09/15/17          16102
                                                                FedEx to M. Bienenstock and E. Barak at Proskauer Rose LLP on
10/18/2017   Delivery Services/Messengers           $     19.97 09/15/17                                                              16102
10/18/2017   Delivery Services/Messengers           $     19.97 FedEx to Luc A. Despins at Paul Hastings LLP on 09/15/17              16102
10/18/2017   Delivery Services/Messengers           $     19.97 FedEx to R. Gordon R. Levin at Jenner & Block LLP on 09/15/17         16102
10/18/2017   Delivery Services/Messengers           $     21.12 FedEx to Bettina Whyte on 10/04/17                                    16102
10/18/2017   Delivery Services/Messengers           $     21.17 FedEx to Bettina Whyte on 09/15/17                                    16102

10/18/2017 Delivery Services/Messengers             $     21.17 FedEx to Bettina Whyte at Bettina Whyte Consultants LLC on 09/29/17   16102
10/18/2017 Delivery Services/Messengers             $     55.25 Attorney Service Delivery to Bank of America on 09/20/17              16102
10/18/2017 Delivery Services/Messengers             $     86.50 Attorney Service Delivery to USPO on 09/20/17                         16102

10/18/2017 Delivery Services/Messengers             $   309.25 Attorney Service Delivery to Areluis Capital Management on 09/20/17    16102
10/18/2017 Delivery Services/Messengers             $   309.25 Attorney Service Delivery to Barclays Capital on 09/20/17              16102
                                                               Attorney Service Delivery to CitiGroup Global Markets Inc. on
10/18/2017 Delivery Services/Messengers             $ 309.25 09/20/17                                                                 16102
10/18/2017 Delivery Services/Messengers             $ 309.25 Attorney Service Delivery to Goldman Sachs & Co on 09/20/17              16102
                                                               Attorney Service Delivery to Hawkins Delafield & Woods LLP on
10/18/2017 Delivery Services/Messengers             $ 309.25 09/20/17                                                                 16102
10/18/2017 Delivery Services/Messengers             $ 309.25 Attorney Service Delivery to J.P. Morgan Securities Inc. on 09/20/17     16102
                                                               Attorney Service Delivery to Monarch Alternative Capital LP on
10/18/2017   Delivery Services/Messengers           $ 309.25 09/20/17                                                                 16102
10/18/2017   Delivery Services/Messengers           $ 309.25 Attorney Service Delivery to Senator Investment Group on 09/20/17        16102
10/18/2017   Delivery Services/Messengers           $ 309.25 Attorney Service Delivery to Wells Fargo Securities on 09/20/17          16102
10/30/2017   Delivery Services/Messengers           $    88.20 Federal Express 10/18/2017 A.J. Bennarzar-Zequeira from KTBS           16102
10/31/2017   Travel                                 $    50.00 10/27/2017 K. Klee Car to Airport re: NY Hearing                       16102
10/31/2017   Delivery Services/Messengers           $    88.20 Federal Express 10/18/2017 H. Bauer from KTBS                          16102
10/31/2017   Delivery Services/Messengers           $    88.20 Federal Express 10/18/2017 E. Ochoa, Trustee from KTBS                 16102
10/31/2017   Delivery Services/Messengers           $    88.20 Federal Express 10/18/2017 J. Casillas Ayala from KTBS                 16102
10/31/2017   Parking                                $ 107.85 Parking on 10/27/17 for K. Klee                                          16102
10/31/2017   Travel                                 $ 1,587.00 Airfare LAX to JFK 10/22/2017 for Hearing - K. Klee*                   16102
10/31/2017   Travel                                 $ 1,587.00 Airfare JFK to LAX 10/27/2017 for hearing - K. Klee                    16102
Total                                              $ 7,106.71

* In the October 2017 Monthly Fee Statement, KTB&S inadvertently listed this travel date as 10/25/2017.




                                                                          1 of 1
             Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                                       Desc: Main
                                       Document Page 76 of 197                                                          INVOICE
                                                                                                                  Invoice No.        Customer No.
                                                                                                                  10109942                81768
                                                                                                                  Invoice Date       Total Due
                                                                                                                      9/30/17           3,304.00
             TAX ID# XX-XXXXXXX




             KLEE TUCHIN BOGDANOFF & STERN LLP
             1999 AVENUE OF THE STARS                                                                  BILLING/PAYMENT QUESTIONS
             39TH FLOOR                                                                                CLIENT CARE (877)350-8698
             LOS ANGELES, CA 90067




                                           Customer No.   Invoice No.    Period Ending    Amount Due    Pg

                                                 81768     10109942           9/30/17       3,304.00    1
   Date     Ordr No.   Svc                                     Service Detail                                               Charges           Total

  9/20/17    3438637   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        ARELUIS CAPITAL MANAGEMENT, LP C/O   Base Chg   :     309.25         309.25
                               1999 AVENUE OF THE STARS                 535 MADISON AVE
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10022
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Elizabeth Ryvkin                 Ref: COMMONWEALTH V. PUERTO


  9/20/17    3438638   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        BARCLAYS CAPITAL C/O COR             Base Chg   :     309.25         309.25
                               1999 AVENUE OF THE STARS                 745 SEVENTH AVENUE
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10019
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Benjamin Peacock                 Ref: COMMONWEALTH V. PUERTO


  9/20/17    3438639   ML      KLEE TUCHIN BOGDANOFF & STERN LLP        BANK OF AMERICA MERRILL LYNCH, C/O   Base Chg :          38.75
                               1999 AVENUE OF THE STARS                 100 NORTH TRYON ST                   Adv/Wit Ck:         15.00
MAIL                           LOS ANGELES       CA 90067               CHARLOTTE        NC                  Check Chg :          1.50        55.25
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               ONLY DO CERTIFIED
                               Signed: cert mail                        Ref: COMMONWEALTH V. PUERTO


  9/20/17    3438641   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        CITIGROUP GLOBAL MARKETS INC, C/O C Base Chg    :     309.25         309.25
                               1999 AVENUE OF THE STARS                 390-399 GREENWICH ST
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10013-2396
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Rodd Corner/Authrozd             Ref: COMMONWEALTH V. PUERTO


  9/20/17    3438642   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        GOLDMAN SACHS & CO C/O COR           Base Chg   :     309.25         309.25
                               1999 AVENUE OF THE STARS                 200 WEST ST
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10282
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: JOanne Cook                      Ref: COMMONWEALTH V. PUERTO




                                                                                                                                          Continued




                                  INVOICE PAYMENT DUE UPON RECEIPT
             Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                                         Desc: Main
                                       Document Page 77 of 197                                                            INVOICE
                                                                                                                    Invoice No.      Customer No.
                                                                                                                    10109942              81768
                                                                                                                    Invoice Date     Total Due
                                                                                                                        9/30/17         3,304.00
             TAX ID# XX-XXXXXXX




             KLEE TUCHIN BOGDANOFF & STERN LLP
             1999 AVENUE OF THE STARS                                                                    BILLING/PAYMENT QUESTIONS
             39TH FLOOR                                                                                  CLIENT CARE (877)350-8698
             LOS ANGELES, CA 90067




                                           Customer No.   Invoice No.    Period Ending    Amount Due      Pg

                                                 81768     10109942           9/30/17       3,304.00     2
  Date     Ordr No.    Svc                                     Service Detail                                                 Charges         Total

 9/20/17     3438643   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        HAWKINS DELAFIELD & WOODS LLP C/O C Base Chg      :     309.25       309.25
                               1999 AVENUE OF THE STARS                 7 WORLD TRADE CENTER
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10007
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Jane Doe                         Ref: COMMONWEALTH V. PUERTO


 9/20/17     3438645   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        J.P. MORGAN SECURITIES INC, C/O COR Base Chg      :     309.25       309.25
                               1999 AVENUE OF THE STARS                 277 PARK AVENUE
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10172
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Rachelle Reznikova               Ref: COMMONWEALTH V. PUERTO


 9/20/17     3438646   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        MONARCH ALTERNATIVE CAPITAL LP C/O     Base Chg   :     309.25       309.25
                               1999 AVENUE OF THE STARS                 535 MADISON AVE
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10022
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Charles Corzo                    Ref: COMMONWEALTH V. PUERTO


 9/20/17     3438647   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        SENATOR INVESTMENT GROUP LP C/O COR Base Chg      :     309.25       309.25
                               1999 AVENUE OF THE STARS                 510 MADISON AVE
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                NEW YORK         NY 10022
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: Edward Larmann/Authrzd           Ref: COMMONWEALTH V. PUERTO


 9/20/17     3438648   FSP     KLEE TUCHIN BOGDANOFF & STERN LLP        WELLS FARGO SECURITIES C/O COR         Base Chg   :     309.25       309.25
                               1999 AVENUE OF THE STARS                 550 SOUTH TRYON ST D1086-060
PROCESS-FORWARD SAME DAY       LOS ANGELES      CA 90067                CHARLOTTE        NC 28202
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               Signed: JORDAN BROOME/AUTHORZD           Ref: COMMONWEALTH V. PUERTO




                                                                                                                                          Continued




                                  INVOICE PAYMENT DUE UPON RECEIPT
             Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                                            Desc: Main
                                       Document Page 78 of 197                                                               INVOICE
                                                                                                                       Invoice No.            Customer No.
                                                                                                                       10109942                    81768
                                                                                                                       Invoice Date           Total Due
                                                                                                                           9/30/17               3,304.00
             TAX ID# XX-XXXXXXX




             KLEE TUCHIN BOGDANOFF & STERN LLP
             1999 AVENUE OF THE STARS                                                                       BILLING/PAYMENT QUESTIONS
             39TH FLOOR                                                                                     CLIENT CARE (877)350-8698
             LOS ANGELES, CA 90067




                                           Customer No.    Invoice No.    Period Ending      Amount Due      Pg

                                                 81768      10109942           9/30/17           3,304.00   3
  Date      Ordr No.    Svc                                     Service Detail                                                   Charges               Total

  9/20/17    3439097    ASP    FIRST LEGAL SUPPORT-LA                    USPO                                     Base Chg   :        41.75
                        ASP    1517 W BEVERLY BOULEVARD                                                           Return     :        41.75
DELIVERY-ASAP VEHICLE          LOS ANGELES       CA 90026                LOS ANGELES        CA 90026              Fuel Chg   :         3.00            86.50
                               Caller: SHANDA D. PEARSO
                               17BK3283(LTS)
                               COMMONWEALTH V. PUERTO RICO
                               SUBPOENA TO PRODUCE
                               DELIVER CERTIFIED
                               Signed: MARIO                             Ref: COMMONWEALTH V. PUERTO


  9/21/17    3440137    SPC    BASKIN ROBINS                             KLEE TUCHIN BOGDANOFF & STERN LLP        Base Chg   :        16.75
                               1800 S ROBERTSON BLVD                     1999 AVENUE OF THE STARS                 Fuel Chg   :         3.00            19.75
DELIVERY-SPECIAL VEHICLE       LOS ANGELES      CA 90035                 LOS ANGELES      CA 90067
                               Caller: MARISELA ATRIAN
                               PU 11AM 9/22
                               Signed: hernan                            Ref: 99999


  9/21/17    3440172    FSM    KLEE TUCHIN BOGDANOFF & STERN LLP         USDC                                     Base Chg   :     249.25             249.25
                               1999 AVENUE OF THE STARS                  One Bowling Green
DELIVERY-FORWARD SAME DAY      LOS ANGELES       CA 90067                NEW YORK          NY
                               Caller: SHANDA D. PEARSO
                               Deliver by 3:pm
                               Signed: Delivered                         Ref: TABERNA PREFERRED FUND


  9/27/17    3444996  SPC      KLEE TUCHIN BOGDANOFF & STERN LLP         RESIDENCE OF ETHAN GOLDSTEIN             Base Chg   :        35.25
                      SPC      1999 AVENUE OF THE STARS                  259 20th ST                              Return     :        35.25
DELIVERY-SPECIAL VEHICLE       LOS ANGELES      CA 90067                 SANTA MONICA     CA 90402                Fuel Chg   :         3.00            73.50
                               Caller: APRYL BOND
                               P/U DOCUMENTS IN
                               Signed: courtney                          Ref: 0076


  9/27/17    3445252    ASP    KLEE TUCHIN BOGDANOFF & STERN LLP         US POST OFFICE                           Base Chg   :        16.75
                        ASP    1999 AVENUE OF THE STARS                  312 S BEVERLY DR.                        Return     :        16.75
DELIVERY-ASAP VEHICLE          LOS ANGELES      CA 90067                 BEVERLY HILLS     CA 90212               Fuel Chg   :         3.00            36.50
                               Caller: APRYL BOND
                               P/U ENV W/ CASH
                               Signed: courtney                          Ref: 0076


                                                                 Invoice Amount:      3,289.00
                                                                  Fees Advanced:         15.00
                                                               Total Amount Due :     3,304.00




                                                                                                                                      Total         3,304.00




                                  INVOICE PAYMENT DUE UPON RECEIPT
Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41   Desc: Main
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Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41   Desc: Main
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Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41   Desc: Main
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                                 EXHIBIT 4-B




            TIME AND EXPENSE DETAIL FOR NOVEMBER 2017
                         FEE STATEMENT




 169263.1
    Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                         Desc: Main
                              Document Page 83 of 197
                       KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                         1999 Avenue of the Stars
                                            Thirty-Ninth Floor
                                       Los Angeles, California 90067
                                        Telephone: (310) 407-4000
                                        Facsimile: (310) 407-9090
                                         Taxpayer I.D. No. XX-XXXXXXX



                                                                                          December 01, 2017
Bettina Whyte, as Agent for Corporacion                                                       Bill No. 16159
del Fondo de Interes Apremiante (COFINA)




 Matter Code Matter Name                            Fees Billed         Expenses Billed             Total Billed
 0000        COFINA Expenses                              $0.00              $4,548.66                $4,548.66


 0001        Litigation/Adversary                   $73,271.00                   $0.00               $73,271.00
             Proceedin


 0002        Case Administration                      $5,454.00                  $0.00                $5,454.00


 0003        Meetings/Creditor                      $13,785.50                   $0.00               $13,785.50
             Communicatio


 0004        Mediation/Negotiations                 $19,057.50                   $0.00               $19,057.50


 0005        Fee Applications and                     $7,463.00                  $0.00                $7,463.00
             Retention

 0007        Budget                                  $1,823.00                   $0.00                $1,823.00


 0008        Discovery/Fact Analysis                $26,404.50                   $0.00               $26,404.50


 0009        Non-Working Travel                     $11,480.00                   $0.00               $11,480.00


                                                   $158,738.50               $4,548.66              $163,287.16
    Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                 Desc: Main
                              Document Page 84 of 197
                         KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                        1999 Avenue of the Stars
                                           Thirty-Ninth Floor
                                      Los Angeles, California 90067
                                       Telephone: (310) 407-4000
                                       Facsimile: (310) 407-9090
                                        Taxpayer I.D. No. XX-XXXXXXX



                                                                                  December 01, 2017
Bettina Whyte, as Agent for Corporacion                                               Bill No. 16159
del Fondo de Interes Apremiante (COFINA)




For Services Rendered Through 11/30/2017

Label27
In Reference To:
File No.:        2291-0000

Label27


Costs and Disbursements

       Online Research
             Westlaw - November 2017                                                             $294.67
                                                                                                 $294.67

       Delivery services/messengers
             FedEx to Hermann D. Bauer, Esq at Oneill & Borges LLC on                             $88.20
             10/31/17
             FedEx to Andres W. Lopez, Esq. at Law Offices of Andres W. Lopez                     $88.20
             on 10/31/17
             FedEx to M. Bienenstock & E. Barak at Proskauer Rose LLP on                          $16.24
             10/17/17
             FedEx to Paul V. Possinger, Esq. at Proskauer Rose LLP on 10/17/17                   $15.63
             FedEx to Guy G. Gebhardt at Acting U.S. Trustee - Region 2 on                        $16.24
             10/17/17
             FedEx to Catherine Steege & Melissa Ro at Jenner & Block LLP on                      $15.63
             10/17/17
             FedEx to Robert Gordon & Richard Levin at Jenner & Block LLP on                      $16.24
             10/17/17
             FedEx to J. Rapisardi, S. Uhland at OMelveny & Myers LLP on                          $16.24
             10/17/17
           Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41               Desc: Main
                                     Document Page 85 of 197
2291          COFINA - Bettina Whyte as Agent                                                              Page 2
0000                                                                                                 Bill # 16159
.
                      FedEx to Luc. A Despins, Esq. at Paul Hastings LLP on 10/17/17                   $16.24
                      FedEx to Brady C. Williamson at Godfrey & Kahn on 10/17/17                       $15.63
                      FedEx to Bettina Whyte on 10/17/17                                               $21.02
                      FedEx to M. Bienenstock & E. Barak at Proskauer Rose LLP on                      $16.24
                      10/31/17
                      FedEx to Paul V. Possinger, Esq. at Proskauer Rose LLP on 10/31/17               $15.63
                      FedEx to J. Rapisardi, S. Uhland, D. at OMelveny & Myers LLP on                  $16.24
                      10/31/17
                      FedEx to Hermann D. Bauer, Esq. at Oneill & Borges LLC on                        $27.90
                      11/17/17
                      FedEx to Edificio Ochoa at Office of US Trustee on 11/17/17                      $27.90
                      FedEx to A.J. Bennazar-Zequeira, Esq. at Bennazar, Garcia & Milian               $27.90
                      on 11/17/17
                      FedEx to Juan Casillas Ayala, Alberto Negro at Casillas, Santiago &              $27.90
                      Torres LLC on 11/17/17
                                                                                                      $485.22

             Travel
                      Hotel K. Klee 11/28/2017 New York                                             $1,122.31
                      Aifare from JFK to LAX on 11/29/17 for K. Klee                                $1,587.00
                      Airfare from LAX to JFK on 11/28/17 for K. Klee                               $1,012.20
                                                                                                    $3,721.51



             Parking
                      Parking at LAX airport on 11/28/17 for K. Klee                                   $47.26
                                                                                                       $47.26
Total Costs and Disbursements                                                                       $4,548.66

 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Litigation/Adversary Proceedings
 File No.:        2291-0001

 Label27
 Professional Services
    Date              Init     Description                                                  Hours        Amount

    11/1/2017         KNK      Analyze pleadings re Commonwealth-COFINA scheduling          0.10      $140.00
                               order
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                Desc: Main
                                  Document Page 86 of 197
2291        COFINA - Bettina Whyte as Agent                                                             Page 3
0000                                                                                              Bill # 16159
.

 Date             Init      Description                                                   Hours       Amount

                  KNK       Analyze pleadings re National draft answer and counter        0.90    $1,260.00
                            claims in Commonwealth-COFINA dispute
                  DJB       Review amended scheduling order                               0.10     $119.50

                  DJB       Review draft intervention complaint (National/Weil)           0.20     $239.00

                  JMW       Analyze scheduling order and exchange e-mail                  0.20     $130.00
                            correspondence with K. Klee and D. Bussel re same
                  JMW       Analyze informative motion re revised proposed order          0.10       $65.00

                  JMW       Analyze National counterclaims and answer                     1.20     $780.00

                  RJP       Review entered scheduling order and email correspondence re   0.20     $185.00
                            same
    11/3/2017     KNK       Analyze pleadings re order granting COFINA agent's            0.10     $140.00
                            immunity motion
                  KNK       Analyze pleadings re AFSCME oppositions to Aurelius           0.20     $280.00
                            motion to dismiss Title III cases
                  KNK       Analyze pleadings re draft answer and counter-claim for       1.70    $2,380.00
                            COFINA Sr. Bondholders
                  DJB       Review Senior COFINA draft answer and counterclaim            0.40     $478.00

                  DJB       Review order granting COFINA Agent immunity                   0.20     $239.00

                  DJB       Email correspondence with B. Whyte and KTBS working           0.10     $119.50
                            group re immunity order
    11/4/2017     KNK       Analyze pleadings re answer and defenses of Commonwealth      0.40     $560.00
                            agent to COFINA agent counterclaims
                  KNK       Analyze correspondence from D. Bussel and B. Whyte re         0.10     $140.00
                            Commonwealth agent's answer to counter claims; reply
                  DJB       Email correspondence with B. Whyte re Quinn answer and        0.20     $239.00
                            counterclaim
    11/6/2017     KNK       Analyze pleadings re COFINA Jr. Bonds draft answer to         1.40    $1,960.00
                            complaint
                  DJB       Review Comonwealth Agent response to COFINA Agent             0.70     $836.50
                            answer and counterclaim
                  DJB       Review subordinate COFINA intervenor's answer and             0.30     $358.50
                            counterclaim
                  DJB       Review motions to intervene (several)                         0.50     $597.50
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                 Desc: Main
                                  Document Page 87 of 197
2291        COFINA - Bettina Whyte as Agent                                                               Page 4
0000                                                                                                Bill # 16159
.

 Date             Init      Description                                                    Hours        Amount

                  JMW       Analyze Senior COFINA Parties draft answer and                 1.30      $845.00
                            counterclaims
                  JMW       Analyze Commonwealth answer                                    1.20      $780.00

                  JMW       Analyze memo and correspondence re natural resources           0.40      $260.00
                            hearing re oversight board
                  JMW       Analyze draft mutual fund group and PR group answer and        1.00      $650.00
                            counterclaims
                  JMW       Analyze Aurelius request for reply brief                       0.10        $65.00

    11/7/2017     KNK       Analyze charts summarizing defenses and counter claims         0.20      $280.00

                  KNK       Analyze pleadings re intervenor claims and defenses            7.20    $10,080.00

                  DJB       Review Willkie charts re intervenors                           0.20      $239.00

    11/8/2017     DJB       Confer with T. Yanez re scope motion                           0.20      $239.00

                  JMW       Analyze (partial) notices and answers and complaints in        1.70     $1,105.00
                            intervention and summaries of same
    11/9/2017     KNK       Telephone conference with T. Mayer re Jr. Bonds response re    0.10      $140.00
                            SUT taking
                  JMW       Finish analysis of multiple complaints, answers,               3.40     $2,210.00
                            counterclaims in intervention
    11/10/2017    KNK       Telephone conference with J. Minias re litigation settlement   0.20      $280.00

                  KNK       Confer with K. John Shaffer re litigation settlement           0.10      $140.00

    11/13/2017    RJP       Analyze motions to dismiss and motions re scope of             0.60      $555.00
                            Commonwealth/COFINA dispute
    11/14/2017    KNK       Conference call with B. Whyte and J. Minias et al re           0.30      $420.00
                            settlement
                  DJB       Confer with Willkie re scope motions                           0.10      $119.50

                  DJB       Review FOMB scope motion                                       0.60      $717.00

                  DJB       Review AAFAF scope motion                                      0.40      $478.00

    11/15/2017    KNK       Analyze correspondence from B. Whyte re settlement; reply      0.10      $140.00

                  KNK       Analyze pleadings re order denying stay of litigation          0.10      $140.00

                  KNK       Analyze pleadings re order denying discovery requests          0.10      $140.00
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41               Desc: Main
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2291        COFINA - Bettina Whyte as Agent                                                            Page 5
0000                                                                                             Bill # 16159
.

 Date             Init      Description                                                  Hours       Amount

                  DJB       Email correspondence with working group re denial of stay    0.10     $119.50
                            motion by FGIC
                  JMW       Analyze all scope motions and motion to dismiss filed re     2.20    $1,430.00
                            COFINA and Commonwealth Agent litigation
    11/16/2017    KNK       Analyze correspondence from B. Whyte and M. Feldman re       0.20     $280.00
                            settlement meetings and venues; replies
                  JMW       Work on responses to GO and Retiree interventions            1.10     $715.00

                  JMW       Analyze pleadings in interpleader case re summary judgment   0.20     $130.00

                  JMW       Telephone conference with D. Bussel re case update           0.10       $65.00

                  RJP       Review Willkie draft responses to intervention motions       0.20     $185.00

                  RJP       Exchange email correspondence re third-party discovery       0.10       $92.50

    11/17/2017    KNK       Analyze pleadings re scope motions re Commonwealth           2.00    $2,800.00
                            COFINA dispute
                  KNK       Analyze pleadings re joinder of Commonwealth Agent to        0.10     $140.00
                            FOMB scope motion
                  KNK       Conference call with T. Yanez, C. Koenig, D. Bussel and J.   0.20     $280.00
                            Weiss re G.O. answer and defenses and scope motion issues
                  KNK       Analyze pleadings re answer and defenses re Commonwealth     0.30     $420.00
                            agent complaint
                  KNK       Conference call with T. Yanez, C. Koenig, D. Bussel and J.   0.20     $280.00
                            Weiss re answer and defenses re Commonwealth complaint;
                            scope motion answer
                  DJB       Review answer to GO complaint                                0.30     $358.50

                  DJB       Confer with Willkie re scope motion responses                0.20     $239.00

                  JMW       Telephone conference with T. Yanez and C. Koenig re          0.20     $130.00
                            litigation and scope
                  JMW       Analyze scheduling order re interpleader MSJ                 0.10       $65.00

                  JMW       Analyze and comment on and confer with K. Klee and D.        0.80     $520.00
                            Bussel re draft responses to GO and retiree intervention
                  JMW       Research re potential defenses to GO/retiree intervention    0.40     $260.00

    11/19/2017    KNK       Analyze correspondence from B. Whyte re National position;   0.10     $140.00
                            reply
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 Date             Init      Description                                                    Hours       Amount

                  KNK       Prepare correspondence to M. Goldstein re National position    0.10     $140.00

    11/20/2017    KNK       Prepare correspondence to S. Pearson re Omnibus hearing        0.10     $140.00

                  KNK       Prepare correspondence to B. Whyte re appellate strategy       0.10     $140.00

                  KNK       Analyze correspondence from D. Bussel re appellate strategy    0.10     $140.00

                  KNK       Telephone conference with R. Pfister re appellate strategy     0.10     $140.00

                  DJB       Email correspondence with J. Weiss, R. Pfister, and K. Klee    0.20     $239.00
                            re appellate issues
                  DJB       Confer with R. Pfister re appellate issues                     0.10     $119.50

                  JMW       Research regarding bankruptcy appellate rights and options     4.70    $3,055.00

                  JMW       Analyze filed versions of COFINA Agent responses re            0.20     $130.00
                            intervention
                  RJP       Review email correspondence re potential appellate route for   0.10       $92.50
                            adverse decision on scope motions
                  RJP       Telephone conference with K. Klee re potential appellate       0.10       $92.50
                            issues
                  RJP       Telephone conferences (multiple) with J. Weiss re potential    0.20     $185.00
                            appellate issues and preparation of memorandum concerning
                            same
                  RJP       Meet with D. Bussel re potential appellate issues              0.10       $92.50

    11/21/2017    KNK       Analyze pleadings re UCC pleadings in                          1.10    $1,540.00
                            Commonwealth-COFINA dispute re joinder, reservation of
                            rights, and answers and defenses
                  KNK       Analyze articles re answers in Commonwealth-COFINA             0.20     $280.00
                            dispute
                  KNK       Analyze correspondence from B. Whyte re Dec. 20 hearing        0.10     $140.00
                            and scope motions
                  DJB       Review reports re reserved decision on UCC issues (HTA)        0.30     $358.50
                            and argument
                  JMW       Work on memorandum re bankruptcy appellate rights and          7.60    $4,940.00
                            issues
    11/22/2017    DJB       Review and revise memo re interlocutory appeal from order      0.70     $836.50
                            on scope motions
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 Date             Init      Description                                                     Hours       Amount

                  DJB       Email correspondence with working group re interlocutory        0.10     $119.50
                            review memo
                  JMW       Finish draft of memo re bankruptcy appellate jurisdiction and   4.30    $2,795.00
                            related rights and issues
                  JMW       Exchange e-mail correspondence with D. Bussel re strategy       0.10       $65.00
                            on scope motion response
                  RJP       Review correspondence re third-party subpoenas                  0.10       $92.50

                  RJP       Analyze draft memorandum re potential interlocutory appeal;     0.30     $277.50
                            correspondence with D. Bussel and J. Weiss re same
    11/26/2017    DJB       Review scope motions                                            1.50    $1,792.50

    11/27/2017    KNK       Telephone conference with B. Whyte re motion to stay            0.10     $140.00
                            litigation and mediation
                  KNK       Confer with J. Weiss re motion to stay and mediation            0.10     $140.00

                  DJB       Review final interlocutory appeal memo                          0.20     $239.00

                  JMW       Research and finalize draft re interlocutory appeal memo and    1.40     $910.00
                            prepare correspondence to K. Klee
    11/28/2017    KNK       Analyze memo re interlocutory appeals and send to B. Whyte      0.20     $280.00
                            et al.
                  KNK       Prepare correspondence to C. Koenig et al re motion to stay     0.10     $140.00
                            litigation
                  KNK       Analyze pleadings re scope motions and response                 1.20    $1,680.00

                  DJB       Email correspondence with working group re comments to          0.20     $239.00
                            draft scheduling motion
                  DJB       Review and revise J. Weiss draft scheduling motion              0.70     $836.50

                  JMW       Analyze memo re appeal rights                                   0.20     $130.00

                  JMW       Work on motion re scheduling order and potential revisions      6.80    $4,420.00

    11/29/2017    KNK       Confer with B. Whyte re litigation strategy                     0.50     $700.00

                  KNK       Analyze pleadings re COFINA agent response to scope             0.40     $560.00
                            motion objections
                  KNK       Analyze pleadings re amended revised scheduling motion          0.10     $140.00

                  KNK       Prepare correspondence to B. Whyte et al re revisions to        0.10     $140.00
                            scheduling motion
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 Date             Init      Description                                                   Hours         Amount

                  DJB       Review draft answer to scope motions                          0.60       $717.00

                  JMW       Work on motion re litigation scheduling                       1.60     $1,040.00

                  JMW       Analyze draft response to scope motion                        0.80       $520.00

    11/30/2017    KNK       Revise opposition to motions to limit scope of                0.30       $420.00
                            Commonwealth-COFINA dispute; emails
                  KNK       Prepare correspondence to M. Feldmand; B. Whyte et al re      0.10       $140.00
                            Dec. 20 hearing
                  KNK       Analyze pleadings re Commonwealth agent informative           0.10       $140.00
                            motion re Dec. 20 hearing
                  DJB       Review and comment on reply to scope motion                   1.30     $1,553.50

                  DJB       Email correspondence with working group re reply to scope     0.10       $119.50
                            motion
                  JMW       Analyze K. Klee and Willkie correspondence re scope motion    0.10         $65.00
                            response
Professional Services Rendered                                                           77.90    $73,271.00

 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Case Administration
 File No.:        2291-0002

 Label27
 Professional Services
 Date             Init      Description                                                   Hours         Amount

    11/1/2017     KNK       Analyze correspondence from B. Whyte re Sr bondholder DIP     0.20       $280.00
                            proposal; reply
                  KNK       Telephone conference with B. Whyte re DIP proposal            0.10       $140.00

                  DJB       Review DIP update and related email correspondence with N.    0.20       $239.00
                            Navarro and working group
    11/2/2017     DJB       Confer with N. Navarro re expanded local counsel role         0.50       $597.50

                  DJB       Email correspondence with B. Whyte, KTBS working group,       0.30       $358.50
                            and Willkie working group re N. Navarro information flow
                  JMW       Analyze correspondence from N. Navarro and B. Whyte re        0.20       $130.00
                            Puerto Rico meetings
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 Date             Init      Description                                                  Hours        Amount

                  JMW       Analyze committee responses re 90 day stay and 2004 motion   0.40      $260.00

    11/3/2017     DJB       Email correspondence with COFINA working group and N.        0.30      $358.50
                            Navarro re Senior DIP proposal
                  JMW       Analyze entered immunity order                               0.20      $130.00

                  JMW       Analyze (multiple) responses and objections to Aurelius      1.20      $780.00
                            motion
    11/7/2017     KNK       Analyze pleadings re AMBAC request for notice                0.10    No Charge

                  DJB       Review report of HR hearing re Puerto Rico recovery and      0.20      $239.00
                            FOMB
                  DJB       Email correspondence with FOMB and M. Rodriguez re DIP       0.20      $239.00
                            and HR oversight
                  DJB       Review N. Navarro hearing report                             0.20      $239.00

                  JMW       Analyze (multiple) informative motions re November hearing   0.10        $65.00

    11/13/2017    JMW       Analyze correspondence from A. Yanez and N. Navarro re PR    0.10        $65.00
                            hearings
                  JMW       Analyze summary of CTO hearing                               0.10        $65.00

    11/14/2017    DJB       Review press reports re FOMB accountability                  0.10    No Charge

                  JMW       Analyze agenda for 11/15 hearing                             0.10        $65.00

    11/15/2017    DJB       Review summary of omnibus hearing results                    0.10      $119.50

    11/16/2017    JMW       Exchange e-mail correspondence with N. Navarro re notice     0.10        $65.00
                            procedures
                  JMW       Analyze correspondence from B. Whyte and N. Navarro re       0.10        $65.00
                            debt forgiveness and repayment issues
    11/17/2017    JMW       Analyze Committee informative and urgent motions re 12/5     0.10        $65.00
                            hearing
    11/20/2017    JMW       Analyze summary of creditor input to fiscal plan             0.30      $195.00

                  JMW       Analyze Aurelius replies re MTD and lift stay motion         0.40      $260.00

    11/22/2017    JMW       Analyze correspondence from B. Whyte re Puerto Rico          0.10        $65.00
                            treasury liquidity
    11/28/2017    DJB       Review BNYM notice to bondholders                            0.20      $239.00

                  JMW       Analyze letter from Oversight Board re payment of bonuses    0.10        $65.00
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 Date             Init      Description                                                   Hours       Amount

                  JMW       Analyze correspondence from B. Whyte re various case issues   0.10       $65.00

Professional Services Rendered                                                            6.40    $5,454.00

 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Meetings/Creditor Communications
 File No.:        2291-0003

 Label27
 Professional Services
 Date             Init      Description                                                   Hours       Amount

    11/1/2017     KNK       Telephone conference with B. Whyte re Sr. bondholder DIP      0.20     $280.00
                            proposal and settlement
                  KNK       Conference call with B. Whyte, J. Minias et al re weekly      0.50     $700.00
                            update and strategy
                  DJB       Weekly call with COFINA working group                         0.50     $597.50

                  JMW       Weekly call re updates and case strategy                      0.50     $325.00

    11/3/2017     KNK       Analyze correspondence from M. Rodriguez re Sr. Note DIP      0.10     $140.00
                            proposal; emails
    11/7/2017     KNK       Analyze correspondence from B. Whyte and S. Kirpilani re      0.20     $280.00
                            Sr. Noteholders DIP proposal; emails
    11/8/2017     KNK       Conference call with B. Whyte, M. Feldman et al re weekly     0.70     $980.00
                            update re litigation strategy
                  DJB       Weekly COFINA status call                                     0.50     $597.50

                  JMW       Weekly call with B. Whyte and Willkie                         0.70     $455.00

    11/9/2017     KNK       Analyze correspondence from J. Minias re Sr. Bond position    0.10     $140.00
                            and meeting; reply
    11/12/2017    KNK       Analyze correspondence from B. Whyte re strategy              0.10     $140.00
                            conference; reply
                  JMW       Exchange e-mail correspondence with B. Whyte and Willkie      0.10       $65.00
                            re update call
    11/13/2017    KNK       Conference call with S. Kirpalani, B. Whyte et al re          0.70     $980.00
                            settlement structure
                  DJB       Call with Senior COFINA representatives re mediation          0.70     $836.50
                            strategy, SUT issues
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 Date             Init      Description                                                      Hours         Amount

                  JMW       Call with Senior COFINA Coalition re case strategy               0.70       $455.00

    11/14/2017    KNK       Conference call with B. Whyte, E. Kaye, Miller Buckfire re       0.50       $700.00
                            settlement
                  KNK       Conference call with B. Whyte, M. Feldman re settlement          0.20       $280.00

                  DJB       Confer with Senior COFINA bondholder group                       0.50       $597.50
                            representatives re mediation proposal
                  DJB       Email correspondence with working group re Miller Buckfire       0.20       $239.00
                            / Quinn meeting
                  JMW       Call with COFINA seniors re strategy                             0.50       $325.00

                  JMW       Call with Willkie and B. Whyte re follow up from seniors’        0.20       $130.00
                            call
    11/16/2017    KNK       Telephone conference with M. Tennenbaum re COFINA                0.40       $560.00
                            bonds
    11/17/2017    KNK       Conference call with B. Whyte, M. Feldman et al re litigation    0.50       $700.00
                            strategy
                  DJB       Confer with COFINA Agent working group re settlement             0.50       $597.50
                            discussions with Commonwealth Agent (11/29)
                  JMW       Weekly call with B. Whyte and Willkie                            0.50       $325.00

    11/20/2017    KNK       Telephone conference with M. Sonkin and M. Goldstein re          0.20       $280.00
                            litigation and settlement and strategy
                  KNK       Conference call with M. Feldman and B. Whyte re litigation       0.40       $560.00
                            strategy and settlement
                  JMW       Telephone conference with B. Whyte and Willkie re case           0.40       $260.00
                            updates
    11/29/2017    KNK       Conference call with creditor working group                      0.80     $1,120.00

    11/30/2017    KNK       Analyze correspondence from C. Koenig re meeting with            0.10       $140.00
                            COFINA juniors; reply
Professional Services Rendered                                                              12.20    $13,785.50
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 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Mediation/Negotiations
 File No.:        2291-0004

 Label27
 Professional Services
 Date             Init      Description                                                     Hours        Amount

    11/1/2017     KNK       Analyze correspondence from M. Hindman re call with             0.20      $280.00
                            mediation team; confer with client and KTBS; emails
                  DJB       Email correspondence with N. Navarro re monitoring              0.10    No Charge
                            hearings/creditor outreach
                  JMW       Analyze correspondence from K. Klee re mediation update         0.10        $65.00
                            call
    11/2/2017     KNK       Conference call with B. Houser and creditors re mediation       0.60      $840.00
                            update
                  KNK       Confer with D. Bussel re mediation strategy                     0.30      $420.00

                  DJB       Review Willkie memo re mediation conference                     0.10      $119.50

                  DJB       Confer with K. Klee re mediation strategy                       0.30      $358.50

                  DJB       Confer with J. Weiss re mediation strategy                      0.10      $119.50

                  JMW       Participate in call with mediation team re mediation schedule   0.50      $325.00

                  JMW       Analyze correspondence from C. Koenig re mediation              0.10        $65.00
                            schedule
                  JMW       Exchange e-mail correspondence with B. Whyte re November        0.10        $65.00
                            9 fiscal plan meeting
                  JMW       Exchange e-mail correspondence with K. Klee re mediation        0.10        $65.00
                            update
    11/6/2017     DJB       Email correspondence with N. Navarro re DIP issues              0.10      $119.50

    11/7/2017     KNK       Analyze correspondence from B. Houser re mediation issues       0.10      $140.00
                            and new schedule
                  KNK       Telephone conference with B. Whyte re mediation                 0.10      $140.00

                  DJB       Confer with N. Navarro re DIP / monitoring                      0.40      $478.00

                  DJB       Confer with J. Weiss and K. Klee re Navarro monitoring          0.20      $239.00

                  DJB       Confer with N. Navarro re Navarro monitoring                    0.40      $478.00
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 Date             Init      Description                                                  Hours       Amount

                  DJB       Email correspondence with N. Navarro and B. Whyte re         0.20     $239.00
                            Navarro monitoring
                  DJB       Review revised mediation schedule and related email          0.30     $358.50
                            correspondence with working group
                  SDP       Analyze memo re updated mediation schedule; confer with K.   0.30     $103.50
                            Klee re same
                  JMW       Analyze updated mediation memo and correspondence from       0.20     $130.00
                            C. Koenig re same
    11/8/2017     DJB       Email correspondence with B. Whyte and N. Navarro re         0.10     $119.50
                            monitoring
                  DJB       Review reports re bond holdings                              0.10     $119.50

                  DJB       Review reports re SUT issues                                 0.20     $239.00

                  DJB       Email correspondence with N. Navarro re SUT issues           0.10     $119.50

    11/9/2017     DJB       Email correspondence with working group re FOMB/AAFAF        0.10     $119.50
                            disputes
                  DJB       Review report of creditor meeting (fiscal plan)              0.20     $239.00

    11/10/2017    DJB       Email correspondence with KTBS working group and B.          0.10     $119.50
                            Whyte re implications for securitizations nationally
                  DJB       Email correspondence with working group re fiscal plan       0.10     $119.50
                            MNPI
                  JMW       Analyze correspondence from B. Whyte (multiple) re           0.30     $195.00
                            mediation settlement options
    11/14/2017    DJB       Confer with Willkie re mediation proposal                    0.10     $119.50

                  DJB       Review Miller Buckfire deck re SUT                           0.40     $478.00

                  DJB       Email correspondence with working group re structured        0.30     $358.50
                            settlement process
                  JMW       Analyze draft settlement framework and correspondence re     0.30     $195.00
                            same
    11/15/2017    DJB       Review reports on hearing before Natural Resources           0.30     $358.50
                            Commission
                  DJB       Email correspondence with working group re case              0.20     $239.00
                            status/updates
                  DJB       Review report of FOMB FA meeting with creditor               0.20     $239.00
                            constituencies FA
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 Date             Init      Description                                                      Hours        Amount

                  DJB       Review reports re new fiscal plan debt capacity and email        0.30      $358.50
                            correspondence with working group re same
                  DJB       Email correspondence with working group re debt                  0.10      $119.50
                            moratorium proposals
    11/16/2017    DJB       Email correspondence with working group re settlement talks      0.10      $119.50
                            with Commonwealth Agent
    11/20/2017    KNK       Analyze correspondence from B. Whyte re mediation protocol       0.10      $140.00

                  KNK       Telephone conference with B. Whyte re National position          0.10      $140.00

                  DJB       Email correspondence with working group mediation team re        0.20      $239.00
                            confidentiality
                  JMW       Analyze correspondence from B. Whyte re mediation                0.10        $65.00
                            confidentiality
    11/21/2017    KNK       Analyze correspondence from J. Minias and B. Whyte re            0.10      $140.00
                            meeting with LUC and Sr. Bondholders views
                  DJB       Review news reports re mediation posture (Bloomberg)             0.10    No Charge

                  DJB       Review news reports re AAFAF                                     0.10    No Charge

    11/22/2017    KNK       Analyze correspondence from B. Whyte re settlement strategy      0.10      $140.00

                  KNK       Analyze correspondence from C. Koenig re talking points for      0.30      $420.00
                            meeting with L. Despins
                  KNK       Prepare correspondence to C. Koenig et al re revisions to        0.10      $140.00
                            talking points
                  DJB       Review talking points memo for settlement conference with        0.50      $597.50
                            Commonwealth Agent
                  DJB       Email correspondence with working group re talking points        0.30      $358.50
                            memo
                  DJB       Review press reports re tax receipts                             0.10    No Charge

                  JMW       Analyze draft presentation re agents’ meeting and related corr   0.20      $130.00
                            between K. Klee, B. Whyte, and Willkie
    11/27/2017    KNK       Analyze correspondence from B. Whyte re settlement               0.10      $140.00

                  KNK       Prepare correspondence to B. Whyte re settlement                 0.10      $140.00

                  KNK       Conference call with B. Whyte and M. Feldman et al re            0.30      $420.00
                            settlement
                  DJB       Analyze press reports re fiscal plan                             0.10      $119.50
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 Date             Init      Description                                                      Hours         Amount

                  DJB       Email correspondence with J. Weiss re creditor representative    0.20       $239.00
                            veto rights
                  DJB       Confer with working group re case status, scope motion           0.60       $717.00
                            response, and mediation
                  JMW       Call with B. Whyte and Willkie re settlement discussions         0.30       $195.00

                  JMW       Analyze slides in preparation for call re settlement             0.20       $130.00

                  JMW       Analyze Commonwealth-COFINA stipulation re negotiation           0.30       $195.00
                            and mediation issues
    11/28/2017    DJB       Analyze press reports re fiscal plan, legislative action         0.10    No Charge

    11/29/2017    KNK       Confer with B. Whyte re settlement strategy                      0.70       $980.00

                  KNK       Confer with B. Whyte, M. Feldman et al re settlement             0.90     $1,260.00

                  KNK       Prepare for meeting with L. Despins et al re settlement of       0.80     $1,120.00
                            Commonwealth-COFINA dispute
                  KNK       Confer with B. Whyte, L. Despins et al re settlement             1.00     $1,400.00

                  JMW       Telephone conference with K. Klee re update on meeting           0.20       $130.00

    11/30/2017    DJB       Confer with K. Klee re settlement discussions with               0.20       $239.00
                            Commonwealth Agent
Professional Services Rendered                                                              17.00    $19,057.50

 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Fee Applications and Retention
 File No.:        2291-0005

 Label27
 Professional Services
 Date             Init      Description                                                      Hours         Amount

    11/2/2017     SDP       Analyze correspondence from A. Ambeault re N.                    0.10    No Charge
                            Navarro-Cabrer's statement of no objection
                  JMW       Work on monthly fee statement                                    1.10       $715.00

    11/3/2017     SDP       Analyze email exchange between N. Navarro-Cabrer and A.          0.10         $34.50
                            Ambeault re statement of no objection
    11/7/2017     KNK       Analyze pleadings re revised interim fee order                   0.10       $140.00
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 Date             Init      Description                                                    Hours        Amount

    11/8/2017     DJB       Review fee examiner correspondence to court                    0.10      $119.50

                  SDP       Prepare monthly fee application                                1.10      $379.50

    11/9/2017     SDP       Work on monthly fee application and exhibits                   0.50      $172.50

                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re       0.20        $69.00
                            monthly fee statement
                  SDP       Confer with J. Weiss re service of monthly fee statements      0.10    No Charge

    11/13/2017    SDP       Analyze correspondence from N. Navarro-Cabrer re statement     0.10        $34.50
                            of no objection to October fee statement
    11/15/2017    KNK       Analyze correspondence from J. Weiss re notice of              0.20      $280.00
                            nonpayment of fees; confer with J. Weiss; call S. Uhland
                            (voicemail message)
                  JMW       Serve notice of non-payment of fees and draft correspondence   0.30      $195.00
                            to S. Uhland re same
    11/16/2017    KNK       Prepare correspondence to S. Uhland re unpaid fees and         0.30      $420.00
                            expenses; emails re same
                  JMW       Work on third monthly fee statement                            1.40      $910.00

                  JMW       Prepare correspondence (several) to S. Uhland re unpaid fees   0.60      $390.00
                            for KTBS, B. Whyte, and Navarro
    11/17/2017    KNK       Analyze pleadings re October fee application; email J. Weiss   0.20      $280.00

                  SDP       Analyze correspondence from J. Weiss re monthly fee            0.10        $34.50
                            statement
                  JMW       Finalize third monthly fee application                         1.10      $715.00

    11/20/2017    DJB       Email correspondence with working group re AAFAF               0.10      $119.50
                            budgeting request
    11/21/2017    SDP       Analyze correspondence between J. Weiss and N.                 0.30    No Charge
                            Navarro-Cabrer re statement of no objection (multiple)
    11/22/2017    SDP       Analyze correspondence from N. Navarro-Cabrer re finalized     0.10        $34.50
                            statement of no objection
    11/27/2017    KNK       Telephone conference with S. Uhland re payment                 0.10      $140.00

                  DJB       Email correspondence with N. Navarro re interim                0.20    No Charge
                            fees/delinquency
                  SDP       Prepare KTB&S statement of no objection                        0.20        $69.00
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41               Desc: Main
                                 Document Page 100 of 197
2291        COFINA - Bettina Whyte as Agent                                                            Page 17
0000                                                                                              Bill # 16159
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 Date             Init      Description                                                  Hours        Amount

                  SDP       Exchange e-mail correspondence with J. Weiss re KTB&S        0.20        $69.00
                            statement of no objection
                  JMW       Confer with with K. Klee re next steps re payment of fees    0.30      $195.00

    11/28/2017    KNK       Prepare correspondence to S. Uhland re payment               0.10      $140.00

                  KNK       Analyze pleadings re revised non-payment motion              0.10      $140.00

                  DJB       Voicemail message from S. Uhland re interim fees             0.10    No Charge

                  DJB       Email correspondence with K. Klee re interim fees            0.10    No Charge

                  DJB       Email correspondence with working group re AAFAF             0.20      $239.00
                            budgeting request
                  SDP       Finalize KTB&S's statement of no objection to October fee    0.10        $34.50
                            statement
                  SDP       Serve KTB&S's and N. Navarro-Cabrer's statements of no       0.80      $276.00
                            objection to October fee statement
                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re     0.20        $69.00
                            statement of no objection re October fee statement
                  JMW       Analyze correspondence re statement of no objection          0.10        $65.00

    11/29/2017    KNK       Telephone conference with S. Uhland re fee payment           0.10      $140.00

                  KNK       Telephone conference with J. Weiss re fee payment motion     0.10      $140.00
                            resolution
                  DJB       Email correspondence with working group re interim fee       0.20      $239.00
                            payments
                  DJB       Review correspondence with working group and O'Melveny       0.10      $119.50
                            re interim fee payments
                  JMW       Analyze letter from S. Uhland to Banco Popular               0.10        $65.00

    11/30/2017    KNK       Analyze correspondence from S. Uhland re payment of          0.10      $140.00
                            COFINA agent professionals; reply
    11/28/2017    KNK       Analyze correspondence from C. Koenig re Willkie fee         0.10      $140.00
                            dispute; reply
Professional Services Rendered                                                          11.80    $7,463.00
       Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41              Desc: Main
                                Document Page 101 of 197
2291      COFINA - Bettina Whyte as Agent                                                            Page 18
0000                                                                                            Bill # 16159
.



Label27
For Services Rendered Through 11/30/2017


In Reference To: Budget
Label27
File No.:        2291-0007


Professional Services
Label27
Date            Init      Description                                                  Hours       Amount

11/15/2017      KNK       Telephone conference with S. Uhland re budget                0.10      $140.00
Label27
11/16/2017      KNK       Prepare and review budgets and email same to S. Uhland       0.30      $420.00

                JMW       Work on budgets for balance of 2017                          1.00      $650.00

                JMW       Exchange e-mail correspondence with B. Whyte re November     0.10       $65.00
                          budget
11/20/2017      SDP       Conference call with J. Weiss and N. Navarro-Cabrer re       0.20       $69.00
                          budget
                SDP       Analyze email exchange between J. Weiss and N.               0.20       $69.00
                          Navarro-Cabrer re budget (several)
                JMW       Telephone conference with N. Navarro re budgeting            0.10       $65.00

11/28/2017      KNK       Prepare correspondence to S. Uhland re budget                0.10      $140.00

                KNK       Analyze correspondence from S. Uhland re budget              0.10      $140.00

                JMW       Exchange e-mail correspondence with C. Koenig re budgeting   0.10       $65.00

Professional Services Rendered                                                         2.30    $1,823.00
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                Desc: Main
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2291        COFINA - Bettina Whyte as Agent                                                            Page 19
0000                                                                                              Bill # 16159
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 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Discovery/Fact Analysis
 File No.:        2291-0008

 Label27
 Professional Services
 Date             Init      Description                                                   Hours       Amount

    11/1/2017     KNK       Telephone conference with B. Whyte re local counsel data      0.10     $140.00
                            gathering
                  JMW       Analyze documents and responses re scope of third party       1.40     $910.00
                            discovery
    11/2/2017     KNK       Analyze correspondence from B. Whyte and J. Weiss re fiscal   0.20     $280.00
                            plan meetings and issues
                  DJB       Review Banco Popular proposal re third party subpoena         0.20     $239.00
                            compliance
                  DJB       Review motions and email correspondence with working          0.20     $239.00
                            group re 2004 request, UCC objection to FGIC stay
                  JMW       Analyze letter from M. Neiburg re Popular Securities          0.30     $195.00
                            discovery
                  JMW       Prepare responses to various underwriters and law firms re    1.30     $845.00
                            narrowed scope of discovery and responses to date
                  RJP       Review email correspondence re third-party subpoenas on       0.10       $92.50
                            financial institutions
    11/3/2017     KNK       Analyze correspondence from S. Hussein re COFINA              0.10     $140.00
                            discovery
                  DJB       Email correspondence with COFINA Agent working group re       0.50     $597.50
                            third party subpoenas; review Willkie summary chart
                  DJB       Email correspondence with Willkie re client consent to        0.10     $119.50
                            production
                  JMW       Work on third party discovery meet and confers                0.80     $520.00

                  JMW       Analyze correspondence re DIP proposal                        0.20     $130.00

                  RJP       Telephone conference with J. Weiss re third-party Subpoenas   0.10       $92.50
                            and status/progress of litigation generally
                  RJP       Exchange email correspondence with Willkie team re            0.20     $185.00
                            third-party subpoenas on financial institutions and
                            strategy/next steps with respect to same
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2291        COFINA - Bettina Whyte as Agent                                                            Page 20
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.

 Date             Init      Description                                                   Hours       Amount

    11/6/2017     KNK       Analyze correspondence from B. Whyte re fiscl plan meetings   0.10     $140.00

                  JMW       Analyze stipulated facts in BNYM adversary proceeding         0.20     $130.00

                  JMW       Exchange e-mail correspondence with C. Koenig and B.          0.20     $130.00
                            Whyte re November 9 Oversight Board meeting
    11/7/2017     KNK       Analyze correspondence from S. Cooper re discovery; email     0.10     $140.00
                            R. Pfister and J. Weiss
                  KNK       Analyze summary of oversight board review of fiscal plans     0.10     $140.00

                  DJB       Email correspondence with O'Melveny and Willkie re            0.20     $239.00
                            discovery issues
                  JMW       Attend (by video) Oversight Board testimony before House      2.20    $1,430.00
                            Natural Resources Committee (partial)
                  JMW       Analyze N. Cabrer summary of House hearing                    0.10       $65.00

                  JMW       Analyze National reply re 2004 discovery                      0.20     $130.00

                  RJP       Review correspondence re document search terms and            0.10       $92.50
                            outstanding discovery disputes
    11/8/2017     KNK       Analyze article re suspension of SUT; emails                  0.20     $280.00

                  RJP       Review correspondence re discovery disputes and open          0.20     $185.00
                            issues; attention to newly-produced materials
    11/9/2017     KNK       Analyze articles re SUT; emails                               0.20     $280.00

                  JMW       Analyze correspondence and attachments from B. Whyte re       0.30     $195.00
                            fiscal plan and related matters
                  JMW       Analyze summary and slides re fiscal plan creditor session    0.40     $260.00

    11/10/2017    JMW       Review slides re formulation of new fiscal plan               0.20     $130.00

                  RJP       Review newly-produced materials and confer with D. Bussel     0.20     $185.00
                            re discovery timing and trial
    11/12/2017    DJB       Review O'Melveny correspondence re objections to              0.20     $239.00
                            production
                  DJB       Review J. Weiss draft meet and confer letter and furnish      0.20     $239.00
                            comment
                  JMW       Prepare meet and confer letters to multiple discovery         5.20    $3,380.00
                            recipients, including analysis of objections and responses
                            provided by such parties and scope of narrowed requests
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                  Desc: Main
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2291        COFINA - Bettina Whyte as Agent                                                              Page 21
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 Date             Init      Description                                                     Hours       Amount

                  JMW       Analyze letter from J. Daniels re AAFAF discovery               0.10       $65.00

                  RJP       Review correspondence from J. Daniels re open discovery         0.20     $185.00
                            matters
                  RJP       Review correspondence from J. Weiss re draft                    0.10       $92.50
                            meet-and-confer letter
    11/13/2017    KNK       Analyze correspondence from J. Weiss re discovery requests      0.10     $140.00

                  DJB       Confer with J. Weiss re comments to third party subponea        0.10     $119.50
                            compromise proposal
                  DJB       Review J. Weiss correspondence to Willkie re third party        0.10     $119.50
                            discovery
                  JMW       Revise and correspond with D. Bussel re discovery letters and   1.20     $780.00
                            prepare correspondence to S. Hussein re same
                  JMW       Confer with R. Pfister re third party discovery issues          0.20     $130.00

                  RJP       Review correspondence re meet-and-confer process for            0.10       $92.50
                            third-party subpoenas to financial institutions
    11/14/2017    DJB       Email correspondence with Willkie re third party discovery      0.10     $119.50

                  JMW       Attend (by video) House committee natural resources meeting     2.50    $1,625.00
                            re Puerto Rico issues (partial)
                  JMW       Work on third party discovery issues re UBS                     0.20     $130.00

                  JMW       Exchange e-mail correspondence with S. Hussein re meet and      0.10       $65.00
                            confer letters re third party discovery
                  JMW       Analyze correspondence from M. Neiburg (Popular Bank) re        0.10       $65.00
                            third party discovery
                  RJP       Review correspondence re meet-and-confer letters to             0.10       $92.50
                            third-party subpoena recipients
    11/15/2017    KNK       Analyze correspondence from H. Honig re summary of              0.20     $280.00
                            creditors financial advisor's meeting
                  KNK       Analysis re suspension and forgiveness of debt                  0.20     $280.00

                  DJB       Review email correspondence with Willkie re third party         0.10     $119.50
                            discovery
                  JMW       Prepare, finalize and send meet and confer letters for          3.00    $1,950.00
                            underwriters and law firm recipients of third party discovery
                  JMW       Analyze stipulation and order from J. Daniels at AAFAF          0.20     $130.00
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                  Desc: Main
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2291        COFINA - Bettina Whyte as Agent                                                              Page 22
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 Date             Init      Description                                                     Hours       Amount

                  JMW       Analyze letter and production from Popular Securities           0.20     $130.00

    11/16/2017    DJB       Review email correspondence with third parties re subpoenas     0.20     $239.00
                            and compromise production
                  JMW       Prepare for call with UBS counsel                               0.30     $195.00

                  JMW       Meet and confer call with UBS counsel                           0.20     $130.00

    11/17/2017    JMW       Work on letter re UBS discovery dispute                         0.80     $520.00

                  JMW       Exchange e-mail correspondence with counsel for JP Morgan       0.10       $65.00
                            re meet and confer
    11/19/2017    KNK       Analyze creditor issues re budget; emails                       0.20     $280.00

                  DJB       Review draft questions by Creditor FAs re revised fiscal plan   0.20     $239.00

    11/21/2017    KNK       Analyze correspondence from A. Ambeault re AAFAF                0.10     $140.00

                  KNK       Analyze correspondence from J. Weiss and S. Hussein re          0.10     $140.00
                            discovery meet and confers
                  DJB       Email correspondence with working group re third party          0.10     $119.50
                            subpoena (JPM Chase)
                  JMW       Telephone conference with counsel to JP Morgan re meet and      0.40     $260.00
                            confer on third party discovery
                  JMW       Prepare for JP Morgan meet and confer (analyze subpoena,        0.50     $325.00
                            response, and prior correspondence)
                  JMW       Exchange e-mail correspondence with J. Fitts re meet and        0.10       $65.00
                            confer re Barclays discovery
    11/22/2017    KNK       Analyze correspondence from J. Weiss re Barclay's discovery     0.10     $140.00

                  DJB       Email correspondence with working group re third party          0.30     $358.50
                            discovery (Barclays/Citi)
                  JMW       Telephone conference with counsel to Barclays re third party    0.20     $130.00
                            discovery
                  JMW       Prepare for Barclays call re third party discovery              0.30     $195.00

                  JMW       Analyze letter from M. Spillane re certain underwriters third   0.20     $130.00
                            party discovery and exchange e-mail correspondence with M.
                            Spillane re follow up
    11/27/2017    JMW       Exchange e-mail correspondence with M. Spillane re meet         0.10       $65.00
                            and confer
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 Date             Init      Description                                                     Hours         Amount

                  RJP       Review correspondence re negotiations concerning third-party    0.10         $92.50
                            subpoenas to financial institutions
    11/28/2017    DJB       Email correspondence re AMBAC 2004 motion                       0.10       $119.50

    11/29/2017    KNK       Analyze correspondence from J. Weiss and S. Hussein re          0.20       $280.00
                            discovery issues; replies
                  DJB       Review summaries of discovery rulings re SUT and related        0.30       $358.50
                            email correspondence with working group
                  DJB       Email correspondence with working group re accessing            0.20       $239.00
                            document productions
                  DJB       Email correspondence with working group re third party          0.20       $239.00
                            discovery status
                  JMW       Analyze correspondence from B. Whyte re SUT collections         0.10         $65.00

                  JMW       Analyze 2004 motion from AMBAC re Sales and Use tax             0.70       $455.00
                            issues
                  JMW       Meet and confer with M. Spillane re discovery                   0.50       $325.00

                  JMW       Prepare for meet and confer with M. Spillane                    0.20       $130.00

                  JMW       Exchange e-mail correspondence with D. Elbaum re JP             0.10         $65.00
                            Morgan meet and confer
                  RJP       Review correspondence re third-party financial institution      0.20       $185.00
                            subpoenas, document productions, and draft scope motions
    11/30/2017    KNK       Analyze articles pertaining to Commonwealth-COFINA              0.20       $280.00
                            dispute
                  JMW       Analyze letter from S. Cooper to J. Daniels re discovery        0.10         $65.00
                            dispute
                  JMW       Update analysis of KTBS subpoenas and status of meet and        0.50       $325.00
                            confers
Professional Services Rendered                                                             34.00    $26,404.50

 For Services Rendered Through 11/30/2017

 Label27
 In Reference To: Non-Working Travel
 File No.:        2291-0009

 Label27
 Professional Services
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2291         COFINA - Bettina Whyte as Agent                                                        Page 24
0000                                                                                           Bill # 16159
.
 Date              Init      Description                                            Hours          Amount

    11/28/2017     KNK       Non-working travel to New York                         3.70       $5,180.00

                   KNK       Non-working travel to New York                         3.70      No Charge

    11/29/2017     KNK       Travel to Los Angeles                                  4.50       $6,300.00

                   KNK       Travel to Los Angeles                                  4.50      No Charge
Professional Services Rendered                                                    16.40      $11,480.00



    Label6
                                               Timekeeper Summary
    Name                                                        Hours     Rate              Amount
    Label6
    Bussel, Daniel J.                                            1.00      0.00            No Charge
    Bussel, Daniel J.                                           27.40   1195.00            $32,743.00
    Pearson, Shanda D.                                           0.50      0.00            No Charge
    Pearson, Shanda D.                                           4.40    345.00             $1,518.00
    Klee, Kenneth N.                                             8.30      0.00            No Charge
    Klee, Kenneth N.                                            46.40   1400.00            $64,960.00
    Pfister, Robert J.                                           3.70    925.00             $3,422.50
    Weiss, Jonathan M.                                          86.30    650.00            $56,095.00
                                                               178.00                     $158,738.50


                  Total fees and expenses incurred                         $163,287.16
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                    Itemized Expenses for the Period November
                                           Document      Page1,108
                                                                2017of
                                                                     Through
                                                                       197 November 30, 2017

   Date            Expense Category              Total                               Description                      Invoice No.
                                                           FedEx to Hermann D. Bauer, Esq at Oneill & Borges LLC on
11/07/2017 Delivery Services/Messengers      $     88.20   10/31/17                                                      16159
                                                           FedEx to Andres W. Lopez, Esq. at Law Offices of Andres
11/07/2017 Delivery Services/Messengers      $     88.20   W. Lopez on 10/31/17                                          16159
                                                           FedEx to Paul V. Possinger, Esq. at Proskauer Rose LLP on
11/14/2017 Delivery Services/Messengers      $     15.63   10/17/17                                                      16159
                                                           FedEx to Catherine Steege & Melissa Ro at Jenner & Block
11/14/2017 Delivery Services/Messengers      $     15.63   LLP on 10/17/17                                               16159
                                                           FedEx to Brady C. Williamson at Godfrey & Kahn on
11/14/2017 Delivery Services/Messengers      $     15.63   10/17/17                                                      16159
                                                           FedEx to Paul V. Possinger, Esq. at Proskauer Rose LLP on
11/14/2017 Delivery Services/Messengers      $     15.63   10/31/17                                                      16159
                                                           FedEx to M. Bienenstock & E. Barak at Proskauer Rose LLP
11/14/2017 Delivery Services/Messengers      $     16.24   on 10/17/17                                                   16159
                                                           FedEx to Guy G. Gebhardt at Acting U.S. Trustee - Region 2
11/14/2017 Delivery Services/Messengers      $     16.24   on 10/17/17                                                   16159
                                                           FedEx to Robert Gordon & Richard Levin at Jenner & Block
11/14/2017 Delivery Services/Messengers      $     16.24   LLP on 10/17/17                                               16159
                                                           FedEx to J. Rapisardi, S. Uhland at OMelveny & Myers LLP
11/14/2017 Delivery Services/Messengers      $     16.24   on 10/17/17                                                   16159
                                                           FedEx to Luc. A Despins, Esq. at Paul Hastings LLP on
11/14/2017 Delivery Services/Messengers      $     16.24   10/17/17                                                      16159
                                                           FedEx to M. Bienenstock & E. Barak at Proskauer Rose LLP
11/14/2017 Delivery Services/Messengers      $     16.24   on 10/31/17                                                   16159
                                                           FedEx to J. Rapisardi, S. Uhland, D. at OMelveny & Myers
11/14/2017 Delivery Services/Messengers      $    16.24    LLP on 10/31/17                                               16159
11/14/2017 Delivery Services/Messengers      $    21.02    FedEx to Bettina Whyte on 10/17/17                            16159
11/28/2017 Travel                            $ 1,122.31    Hotel K. Klee 11/28/2017 New York                             16159
                                                           FedEx to Hermann D. Bauer, Esq. at Oneill & Borges LLC on
11/30/2017 Delivery Services/Messengers      $     27.90   11/17/17                                                      16159

11/30/2017 Delivery Services/Messengers      $    27.90 FedEx to Edificio Ochoa at Office of US Trustee on 11/17/17     16159
                                                        FedEx to A.J. Bennazar-Zequeira, Esq. at Bennazar, Garcia &
11/30/2017 Delivery Services/Messengers      $    27.90 Milian on 11/17/17                                              16159
                                                        FedEx to Juan Casillas Ayala, Alberto Negro at Casillas,
11/30/2017   Delivery Services/Messengers    $    27.90 Santiago & Torres LLC on 11/17/17                               16159
11/30/2017   Parking                         $    47.26 Parking at LAX airport on 11/28/17 for K. Klee                  16159
11/30/2017   Online Research                 $ 294.67 Westlaw - November 2017                                           16159
11/30/2017   Travel                          $ 1,012.20 Airfare from LAX to JFK on 11/28/17 for K. Klee                 16159
11/30/2017   Travel                          $ 1,587.00 Aifare from JFK to LAX on 11/29/17 for K. Klee                  16159
Total                                       $ 4,548.66




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Kenneth N. KIee

From:                          The Ritz-Canton Reservations <reservations@ ritzcarlton-res.com>
Sent:                          Friday, November 17, 2017 1:47 PM
To:                            Kenneth N. Klee
Subject:                       Reservation Confirmation #84594999 for The Ritz-Canton New York, Central Park


                                        ~   ~




               The Ritz-Ca riton New York, Central Park
                  ~ 50 Central Park South New York New York 10019 USA

                  L3
                   +1-212~308-9100
             Hotel Website Map & Directions
             Plan Your Stay




                  Reservation Confirmation: 84594999
               For MR Kenneth KIee                            SILVER ELITE
                  ~ ~;TE Tuesday, November 28,
                           2017                               Wednesday, November
               CHEJMN T IM 03:00 PM                           29, 2017
                                                                    ‘1..   ME   12:00 PM


               —,
               Dear MR Kenneth KIee,

               A memorable experience is about to begin.

               We welcome you to the The Ritz-Canton New York, Central Park, where legendary
               service, inspiring surroundings and a variety of entertainment and amenities will
               create the kind of stay you will never forget. Below are the details of all that awaits
               you.
               Sincerely,
               The Ladies and Gentlemen of The Ritz-Carlton New York, Central Park



              ENHANCE YOUR STAY




                                                          1
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           Culinary Experiences
           Enjoy tastefully memorable dining at our          a Indulgeices
           hotel
                                                          Escape to a world of comfort and relaxation
                                                          at our spa.
           Li Explore Our Restaurants
                                                          LI Explore Our Spa



          ROOM DETAILS




          ROOM TYPF
          Deluxe, Guest room, 1 KinglZi~,

          t’~L ‘/B~R OF F OUMS      1
          CUE~L     R F OOM         1 Adult


          G~ A~tA~J~ [ED V~ ETHOD

          Credit Card Guarantee, Master Card

          ~P[Cl4L REQUESIS
          Room 1

          Request noted
           Extra Feather Pillows

           High Floor Room




             Hotel Alert
             Complimentary Wi-Fi for members of The Ritz-Carlton Rewards




          SUMMARY OF CHARGES


                                         RATES, TAXES & FEES ARE PER ROOM, PER NIGHT (USD)


          Tuesday, November 28, 2017-Wednesday, November 29,                  1 night     975.00 USD
          2017

          Rewards Member Rate

          ESTH~~Ar[) ~?O~,eR~M T XES ~[                                                    147.31 USD

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          Total for stay (for all rooms)                                                       1,122.31 USD

          Other Charges
           Valet parking, fee: 75 USD daily

           Fee does not include in/out privileges and
           may vary based on make/model of vehicle.
           Day use USD 55 for 4 hours maximum.




          =--.~                                                —
          RATE DETAILS AND CANCELLATION POLICY


           You may cancel your reservation for no charge until Saturday, November 25, 2017 (3 day[s]
           before arrival).
           Please note that we will assess a fee of 1,122.31 USD if you must cancel after this deadline.
           Travel agents: please note that this rate is commissionable.
           Please note that a change in the length or dates of your reservation may result in a rate
           change.

          RATE GUARANTEE LIMITATION(S)
           Changes in taxes or fees implemented after booking will affect the total room price.
          ADDITIONAL INFORMATION
           upon check-in an authorization request will be placed on your credit/debit card in an amount
           equal to the cost of the room, tax and incidental charges for the length of your stay (up to seven
           nights). If your stay exceeds seven nights, an additional authorization may be requested for the
           entire amount of your stay (room, tax and incidentals). Upon check-out, your payment card will
           be charged for the actual amount incurred during your stay.




          YOUR REWARDS INFORMATION


          R ~VA U~’ t’~V~L     ,~Wif~      NUMt~~              REWARDS BENEFITS

          SILVER ELITE         XXXXX7916                       As a Silver Elite member, you can enjoy the
                                                               following benefits during your stay:

                                                                    •     20% Bonus on your Rewards base
                                                                          points
                                                                   •      Priority Late check-out (2-hour
                                                                          extension based on availability)
                                                                   •      Gift Shop Discount (10% discount on
                                                                          Ritz-Canton merchandise purchases)




                                                           3
QuickView+ - Report                                                                                                   Page 1 of 2
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                          Document Page 112 of 197

Account:            KLEE TUCHIN BOGDANOFF & STERN LLP, LOS ANGELES CA (1000442616)
Date Range:         November 01, 2017 - November 30, 2017
Report Format:      Detail-Account by Client
Products:           Westlaw, WestlawNext
Content Families:   All Content Families
                                                                                      Standard Special Pricing
Account by Client          Database Time   Transactions   Docs/Lines   Connect Time                              Tax Amount   Total Charge
                                                                                        Charge         Charge




 Client 2280




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                                               3/13/2018
QuickView+ - Report                                                                          Page 2 of 2
 Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                      Desc: Main
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 Client 2291
 Included
   MULTI-SEARCH KEYCITE                   6                    132.00 USD    29 80 USD    0.00 USD    29 80 USD
   MULTI-SEARCH DOCUMENT DISPLAYS        47                   1,101.00 USD   248 58 USD   0.00 USD   248 58 USD
  MULTI-SEARCH TRANSACTIONAL
                                          2                    120.00 USD    27 09 USD    0.00 USD    27 09 USD
SEARCHES
Totals for Included                      55                   1,353.00 USD   305.47 USD   0.00 USD   305.47 USD
Totals for Client 2291                   55                   1,353.00 USD   305.47 USD   0.00 USD   305.47 USD




https://www.quickview.com/Reports/UsageReportPrintable.aspx                                      3/13/2018
Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41   Desc: Main
                         Document Page 114 of 197
           Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41 Desc: Main
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                                 EXHIBIT 4-C




            TIME AND EXPENSE DETAIL FOR DECEMBER 2017
                         FEE STATEMENT




 169263.1
    Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                       Desc: Main
                             Document Page 118 of 197
                       KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                         1999 Avenue of the Stars
                                            Thirty-Ninth Floor
                                       Los Angeles, California 90067
                                        Telephone: (310) 407-4000
                                        Facsimile: (310) 407-9090
                                         Taxpayer I.D. No. XX-XXXXXXX



                                                                                          January 02, 2018
Bettina Whyte, as Agent for Corporacion                                                     Bill No. 16166
del Fondo de Interes Apremiante (COFINA)




 Matter Code Matter Name                            Fees Billed         Expenses Billed           Total Billed
 0000        COFINA Expenses                              $0.00                $676.58               $676.58


 0001        Litigation/Adversary                   $23,222.50                   $0.00             $23,222.50
             Proceedings


 0002        Case Administration                      $1,968.00                  $0.00              $1,968.00


 0003        Meetings/Creditor                      $12,193.00                   $0.00             $12,193.00
             Communications


 0004        Mediation/Negotiations                   $8,071.00                  $0.00              $8,071.00


 0005        Fee Applications and                   $15,734.50                   $0.00             $15,734.50
             Retention

 0007        Budget                                  $2,019.50                   $0.00              $2,019.50


 0008        Discovery/Fact Analysis                $17,835.00                   $0.00            $17,835.00


                                                    $81,043.50                 $676.58            $81,720.08
    Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41             Desc: Main
                             Document Page 119 of 197
                      KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                        1999 Avenue of the Stars
                                           Thirty-Ninth Floor
                                      Los Angeles, California 90067
                                       Telephone: (310) 407-4000
                                       Facsimile: (310) 407-9090
                                        Taxpayer I.D. No. XX-XXXXXXX



                                                                                January 02, 2018
Bettina Whyte, as Agent for Corporacion                                           Bill No. 16166
del Fondo de Interes Apremiante (COFINA)




For Services Rendered Through 12/31/2017

Label27
In Reference To:
File No.:        2291-0000

Label27


Costs and Disbursements

       Telephone
             Telephone Conference Service                                                     $17.55
                                                                                              $17.55

       Delivery services/messengers
             FedEx to Hermano D. Bauer at Oneill & Borges LLC on 11/28/17                     $88.62
             FedEx to Andres W. Lopez at Law Offices of Andres W. Lopez on                    $88.62
             11/28/17
             FedEx to Guy G. Gebhart at Acting US Trustee (Region 21) on                      $16.28
             11/17/17
             FedEx to Bettina Whyte on 11/17/17                                               $21.07
             FedEx to Brady C. Williamson at Godfrey & Kahn on 11/17/17                       $15.66
             FedEx to Catherine Steege, Melissa Root at Jenner & Block LLP on                 $15.66
             11/17/17
             FedEx to Robert Gordon, Richard Levin at Jenner & Block LLP on                   $16.28
             11/17/17
             FedEx to J. Rapisardi, S. Uhland at Omelveny & Myers LLP on                      $16.28
             11/17/17
             FedEx to Luc. A. Despins at Paul Hastings on 11/17/17                            $16.28
        Case:17-03283-LTS Doc#:2728 Filed:03/19/18 Entered:03/19/18 16:07:41                Desc: Main
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0000                                                                                              Bill # 16166
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                   FedEx to Paul V. Possinger at Proskauer Rose LLP on 11/17/17                     $15.66
                   FedEx to Martin Bienenstock, Ehud Barak at Proskauer Rose LLP on                 $16.28
                   11/17/17
                   FedEx to Paul V. Possinger at Proskauer Rose LLP on 11/28/17                     $15.70
                   FedEx to M. Bienenstock & Barak at Proskauer Rose LLP on                         $16.32
                   11/28/17
                   FedEx to J. Rapisardi, S. Uhland at Omelveny & Myers LLP on                      $16.32
                   11/28/17
                                                                                                   $375.03

          Travel
                   Transportation from JFK on 11/28/17 for K. Klee                                 $142.00
                   Transportation to JFK on 11/29/17 for K. Klee                                   $142.00
                                                                                                   $284.00
Total Costs and Disbursements                                                                      $676.58

 For Services Rendered Through 12/31/2017

 Label27
 In Reference To: Litigation/Adversary Proceedings
 File No.:        2291-0001

 Label27
 Professional Services
 Date              Init     Description                                                   Hours       Amount

    12/1/2017      KNK      Analyze revised opposition to scope motions; emails; reply    0.40     $560.00

                   KNK      Analyze correspondence from D. Bussel and A. Yanez re         0.10     $140.00
                            opposition to scope motions
                   DJB      Prepare comments re scope motion reply                        0.40     $478.00

                   DJB      Confer with J. Weiss re comments to scope motion reply        0.20     $239.00

                   DJB      Email correspondence with working group re D. Bussel          0.10     $119.50
                            comments to scope motion reply
                   DJB      Review J. Weiss comments to scope motion                      0.40     $478.00

                   DJB      Email correspondence with working group re December 20        0.10     $119.50
                            scope hearing
                   SDP      Analyze order moving 12/20 hearing                            0.10       $34.50

                   JMW      Analyze and revise scope opposition and send comments to B.   3.50    $2,275.00
                            Whyte and Willkie
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 Date             Init      Description                                                    Hours       Amount

                  JMW       Telephone conference with D. Bussel re draft scope             0.10       $65.00
                            opposition
                  RJP       Review comments on response to scope motion; email             0.30     $277.50
                            correspondence re same
                  KNK       Analyze pleadings re order moving Dec. 20 hearing; emails      0.20     $280.00
                            re same
    12/4/2017     KNK       Analyze correspondence from J. Weiss and A. Yanez re           0.10     $140.00
                            opposition to scope motions
                  KNK       Analyze pleadings re oppositions to scope motions              1.80    $2,520.00

                  DJB       Review filed version of omnibus opposition to scope motions    0.50     $597.50
                            of COFINA Agent
                  DJB       Email correspondence with working group re constituent         0.10     $119.50
                            comments to opposition to scope motions
                  JMW       Analyze oppositions (multiple) to scope motions                1.80    $1,170.00

    12/5/2017     DJB       Review oppositions to scope motions from Intervenors/UCC       1.00    $1,195.00

    12/6/2017     DJB       Review N. Navarro memo re certification process                0.30     $358.50

                  JMW       Analyze memo from N. Navarro re Puerto Rico Supreme            0.40     $260.00
                            Court
    12/11/2017    KNK       Analyze correspondence from B. Whyte and A. Yanez re           0.20     $280.00
                            interpleader statements
                  KNK       Analyze pleadings re oversight reply brief re scope motions;   0.30     $420.00
                            emails
                  JMW       Analyze scope motion replies                                   1.50     $975.00

    12/12/2017    KNK       Analyze pleadings re Omnibus reply of QTCB noteholder          0.20     $280.00
                            group re COFINA
                  KNK       Analyze pleadings re AAFAF reply in support of scope           0.30     $420.00
                            motion
                  KNK       Analyze pleadings re AMBAC's reply in support of motion to     0.10     $140.00
                            strike
                  KNK       Analyze pleadings re GO group reply in support of scope        0.20     $280.00
                            motions
                  KNK       Analyze pleadings re Commonwealth agent's omnibus reply        0.30     $420.00

                  KNK       Analyze articles re scope motion                               0.10     $140.00
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 Date             Init      Description                                                   Hours       Amount

                  DJB       Email correspondence with working group re teleconference     0.20     $239.00
                            with UCC and case status
                  DJB       Email correspondence with working group re document           0.20     $239.00
                            production objections and responses
                  JMW       Confer with D. Bussel re SUT issues                           0.10       $65.00

    12/14/2017    KNK       Analyze correspondence from B. Whyte re SUT diversion         0.10     $140.00
                            remedies; reply
                  KNK       Analyze correspondence from A. Yanez re SUT remedies          0.10     $140.00

                  KNK       Prepare correspondence to M. Feldman re 12/20 hearing;        0.10     $140.00
                            reply
                  KNK       Analyze pleadings re informative motion re 12/20 hearing;     0.10     $140.00
                            reply
                  DJB       Review informative motion re COFINA Agent appearance          0.10     $119.50
                            12/20/17 (Scope)
                  DJB       Email correspondence with working group re diversion and      0.20     $239.00
                            SUT
                  JMW       Analysis and correspondence with K. Klee and D. Bussel re     0.70     $455.00
                            implications of cash flow analysis and strategy
    12/15/2017    KNK       Analyze pleadings re order re 12/20 hearing; emails re same   0.20     $280.00

                  KNK       Analyze pleadings re Ambac's informative motion               0.10     $140.00

                  KNK       Analyze pleadings re COFINA agents' informative motion        0.10     $140.00

                  DJB       Review order re scope motions and related email               0.20     $239.00
                            correspondence with working group
                  JMW       Analyze order re scope motions hearing                        0.10       $65.00

                  RJP       Review correspondence re newly-produced documents; confer     0.10       $92.50
                            with K. Klee re same and re scope motions
    12/18/2017    JMW       Exchange e-mail correspondence with C. Koenig re scope        0.10       $65.00
                            motion hearing
                  JMW       Analyze deck re bank account balances                         0.20     $130.00

    12/19/2017    JMW       Telephone conference with D. Bussel re scope motions and      0.10       $65.00
                            discovery
                  RJP       Review correspondence re document production and              0.10       $92.50
                            discovery issues
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 Date             Init      Description                                                     Hours       Amount

    12/20/2017    KNK       Analyze correspondence from A. Yanez, J. Minias and J.          0.20     $280.00
                            Weiss re trial issues
                  KNK       Analyze correspondence from A. Yanez re expert witnesses        0.10     $140.00
                            and summary judgment
                  DJB       Review and comment on draft term sheet re COFINA -              0.20     $239.00
                            Commonwealth dispute
                  DJB       Analyze bankruptcy litigation issues for MSJ and trial          0.30     $358.50
                            preparation (experts)
                  JMW       Telephone conference with J. Dugan and T. Yanez re              0.20     $130.00
                            litigation experts and discovery
                  JMW       Exchange e-mail correspondence with K. Klee and D. Bussel       0.10       $65.00
                            re experts and discovery
                  JMW       Analyze correspondence from H. Honig re summary of 12/20        0.10       $65.00
                            hearing
                  JMW       Analyze bankruptcy litigation issues for MSJ and expert         0.80     $520.00
                            testimony preparation
                  DJB       Email correspondence with KTBS working group re experts /       0.20     $239.00
                            discovery
    12/21/2017    KNK       Analyze pleadings re order re scope motion                      0.20     $280.00

                  DJB       Review scope order                                              0.30     $358.50

                  DJB       Teleconference with working group re trial preparation, scope   0.40     $478.00

                  JMW       Telephone conference with B. Whyte and Willkie re scope         0.30     $195.00
                            order
                  JMW       Analyze scope order and complaints/answers and discovery        1.10     $715.00
                            requests in light of same
                  JMW       Analyze charts analyzing remaining and dismissed claims in      0.20     $130.00
                            light of scope motions
    12/22/2017    JMW       Analyze correspondence from Willkie, B. Whyte, K. Klee re       0.30     $195.00
                            case strategy post-scope orders
    12/27/2017    RJP       Review correspondence re newly-produced documents               0.10       $92.50

    12/28/2017    JMW       Confer with K. Klee re municipal finance expert                 0.20     $130.00

                  JMW       Analysis of Powerpoint decks re municipal finance and SUT       0.50     $325.00
                            transfer issues in follow up to conference with K. Klee
                  KNK       Confer with J. Weiss re municipal finance expert                0.20     $280.00
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Professional Services Rendered                                                           24.30    $23,222.50

 For Services Rendered Through 12/31/2017

 Label27
 In Reference To: Case Administration
 File No.:        2291-0002

 Label27
 Professional Services
 Date             Init      Description                                                   Hours         Amount

    12/1/2017     KNK       Prepare correspondence to J. Weiss re Dec. 20 hearing         0.10    No Charge
                            electronics
                  JMW       Analyze scheduling order re December 20 hearing               0.10         $65.00

                  JMW       Analyze correspondence from H. Honig (Willkie) re PREPA       0.10         $65.00
                            Chief Financial Advisor
    12/4/2017     SDP       Exchange e-mail correspondence with I. Rivera re mediation    0.20         $69.00

                  SDP       Analyze correspondence from N. Navarro-Cabrer re budget       0.10         $34.50
                            preparation
    12/6/2017     JMW       Analyze responses re Rule 2004 examination motion             0.20       $130.00

                  JMW       Analyze insurers motion in connection with interpleader       0.10         $65.00
                            adversary
    12/14/2017    SDP       Analyze correspondence from K. Stadler re draft stipulated    0.10         $34.50
                            disclosure agreement and protective order
                  JMW       Analyze informative motion re 12/20 hearing                   0.10         $65.00

                  JMW       Analyze second supplemental statement of mutual fund group    0.10         $65.00

    12/15/2017    SDP       Update service tracking spreadsheet re monthly and interim    0.10         $34.50
                            fee applications
                  JMW       Analyze informative motions re 12/20 hearing                  0.10         $65.00

    12/18/2017    DJB       Review financial reporting re SUT / fiscal plan               0.10       $119.50

                  SDP       Analyze correspondence from R. Rivera re submission of N.     0.10         $34.50
                            Navarro-Cabrer budgets
                  JMW       Telephone conference with C. Koenig re several case issues    0.20       $130.00

    12/20/2017    SDP       Exchange e-mail correspondence with R. Rivera re              0.20         $69.00
                            submission of N. Navarro-Cabrer budgets
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 Date             Init      Description                                                 Hours       Amount

                  JMW       Analyze correspondence from B. Whyte and M. Feldman re      0.10       $65.00
                            payments to retirees
    12/22/2017    JMW       Analyze urgent motion re interim compensation order         0.10       $65.00

    12/27/2017    DJB       Confer with J. Weiss re update call                         0.10     $119.50

                  DJB       Review J. Weiss summary re update call                      0.40     $478.00

                  JMW       Prepare correspondence to K. Klee re weekly call summary    0.10       $65.00

                  JMW       Analyze correspondence from B. Whyte re PR treasury SUT     0.10       $65.00
                            collections
    12/28/2017    JMW       Analyze correspondence from B. Whyte re AMBAC               0.10       $65.00
                            COFINA bond holdings
Professional Services Rendered                                                          3.00    $1,968.00

 For Services Rendered Through 12/31/2017

 Label27
 In Reference To: Meetings/Creditor Communications
 File No.:        2291-0003

 Label27
 Professional Services
 Date             Init      Description                                                 Hours       Amount

    12/2/2017     JMW       Analyze correspondence from B. Whyte and M. Feldman re      0.10       $65.00
                            meetings with insurers
    12/5/2017     KNK       Analyze correspondence from B. Whyte re excise tax          0.10     $140.00

                  KNK       Analyze correspondence from B. Whyte re Oppenheimer         0.10     $140.00
                            meeting and strategy
                  DJB       Email correspondence with working group re Oppenheimer      0.10     $119.50
                            meeting
                  JMW       Analyze correspondence from B. Whyte re meeting with        0.10       $65.00
                            juniors
    12/6/2017     KNK       Telephone conference with M. Tennenbaum re junior bonds     0.30     $420.00

                  KNK       Conference call with B. Whyte and A. Yanez et al re scope   0.20     $280.00
                            motion issues
                  KNK       Conference call with B. Whyte and Kramer Levin re junior    0.20     $280.00
                            bonds
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2291        COFINA - Bettina Whyte as Agent                                                                Page 8
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 Date             Init      Description                                                      Hours       Amount

                  DJB       Confer with K. Klee re creditor calls/status                     0.10     $119.50

                  DJB       Email correspondence with working group re conference            0.10     $119.50
                            calls/status
                  JMW       Weekly call with B. Whyte and Willkie                            0.20     $130.00

    12/8/2017     KNK       Conference call with M. Sonkin, M. Goldstein, B. Whyte et al     0.90    $1,260.00
                            re National
                  KNK       Conference call with B. Whyte re National views                  0.20     $280.00

                  DJB       Email correspondence with working group re Oppenheimer           0.10     $119.50
                            conference
    12/11/2017    JMW       Analyze correspondence from C. Koenig re meeting with            0.10       $65.00
                            junior holders
    12/12/2017    JMW       Exchange e-mail correspondence with J. Minias re meeting         0.10       $65.00
                            with Commonwealth Agent
    12/13/2017    KNK       Conference call with B. Whyte, Franklin, Kramer Levin et al      0.80    $1,120.00
                            re junior bondholders call
                  JMW       Call with B. Whyte, Willkie, Kramer Levin attorneys and          0.80     $520.00
                            client representatives re group re case issues
                  JMW       Call with B. Whyte, L. Despins re SUT issues                     0.30     $195.00

                  JMW       Call with M. Feldman re follow up to call with L. Despins        0.10       $65.00

                  KNK       Conference call with M. Feldman, J. Weiss, D. Bussel re          0.10     $140.00
                            settlement with Commonwealth
    12/20/2017    KNK       Conference call with B. Whyte, A. Yanez, et al re strategy       0.40     $560.00

                  KNK       Conference call with A. Yanez, J. Minias et al re strategy       0.30     $420.00

                  DJB       Telephone conference with B. Whyte and COFINA Agent              0.40     $478.00
                            working group re mediation and litigation strategy
                  DJB       Telephone conference with Willkie team re litigation strategy,   0.30     $358.50
                            expert witness designations
                  JMW       Weekly call with B. Whyte and Willkie                            0.40     $260.00

                  JMW       Call with Willkie team re litigation issues                      0.30     $195.00

    12/21/2017    KNK       Conference call with S. Kirpalani, M. Rodrigue, B. Whyte, J.     0.70     $980.00
                            Minias, et al re settlement negotiations
                  KNK       Conference call with B. Whyte, M. Feldman, et al re              0.40     $560.00
                            settlement strategy
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 Date             Init      Description                                                   Hours         Amount

                  JMW       Exchange e-mail correspondence with C. Koenig re call with    0.10         $65.00
                            seniors
    12/22/2017    KNK       Analyze correspondence from M. Rodrigue re settlement         0.10       $140.00

                  KNK       Analyze correspondence from B. Whyte and J. Minias re         0.20       $280.00
                            settlement issues; reply
    12/23/2017    KNK       Analyze correspondence from M. Feldman and B. Whyte re        0.20       $280.00
                            Sr. Bond position on settlement; reply
    12/26/2017    JMW       Telephone conference with C. Meyer (Silver Rock) re case      0.10         $65.00
                            status
    12/27/2017    DAF       Call with Silver Rock re case update                          0.50       $490.00

                  KNK       Analyze correspondence from M. Feldman and B. Whyte re        0.10       $140.00
                            call re settlement; reply
                  KNK       Analyze correspondence from J. Weiss re summary of            0.10       $140.00
                            settlement call; reply
                  DJB       COFINA Agent weekly update call (with Willkie and B.          0.30       $358.50
                            Whyte)
                  JMW       Weekly call with B. Whyte and Willkie                         0.40       $260.00

                  JMW       Telephone conference with C. Meyer (Silver Rock – COFINA      0.50       $325.00
                            holder) re case status
                  JMW       Prepare for call with C. Meyer                                0.20       $130.00

Professional Services Rendered                                                           11.10    $12,193.00

 For Services Rendered Through 12/31/2017

 Label27
 In Reference To: Mediation/Negotiations
 File No.:        2291-0004

 Label27
 Professional Services
 Date             Init      Description                                                   Hours         Amount

    12/2/2017     DJB       Email correspondence with working grop re Ambac               0.10       $119.50
                            negotiations
    12/3/2017     DJB       Email correspondence with working group re securitization     0.10       $119.50
                            precedents
    12/4/2017     KNK       Analyze correspondence from B. Houser re mediation            0.10       $140.00
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 Date             Init      Description                                                    Hours       Amount

                  DJB       Email correspondence with working group re fiscal issues       0.10     $119.50

                  DJB       Review updated memo from mediators                             0.30     $358.50

                  JMW       Analyze mediation order re scheduling and confer with K.       0.20     $130.00
                            Klee re same
    12/5/2017     DJB       Email correspondence with working group re fiscal plan         0.20     $239.00

                  DJB       Email correspondence with working group re tax reform fiscal   0.10     $119.50
                            implications
    12/6/2017     DJB       Review report of mediation session in New York City            0.40     $478.00

                  DJB       Review SUT and TSA reports                                     0.10     $119.50

                  DJB       Email correspondence with working group re mediation           0.10     $119.50
                            session
                  JMW       Analyze summary of second fiscal plan mediation session        0.20     $130.00

    12/11/2017    KNK       Analyze correspondence from M. Hindman re mediation            0.10     $140.00
                            details and update
                  JMW       Analyze multiple correspondence from M. Hindman                0.70     $455.00
                            (mediation team) re mediation, including attachments
    12/12/2017    KNK       Analyze correspondence from B. Whyte re settlement; reply      0.10     $140.00

                  KNK       Analyze correspondence from B. Whyte et al re meeting with     0.10     $140.00
                            LUC; reply
                  DJB       Confer with J. Weiss re SUT refunds                            0.10     $119.50

                  DJB       Email correspondence with K. Klee and J. Weiss re SUT          0.10     $119.50
                            refunds
    12/13/2017    DJB       Email correspondence with mediation working group              0.10     $119.50

                  KNK       Analyze correspondence from J. Weiss and M. Feldman re         0.10     $140.00
                            settlement meeting with Commonwealth agent
                  KNK       Analyze correspondence from B. Whyte re Commonwealth           0.10     $140.00
                            position
                  KNK       Analyze correspondence from M. Hindman; emails re same;        0.20     $280.00
                            Whyte reply
                  DJB       Email correspondence with KTBS working group re                0.20     $239.00
                            Commonwealth Agent response to settlement talks
                  JMW       Analyze correspondence from mediators and attachment           0.10       $65.00
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 Date             Init      Description                                                   Hours       Amount

                  JMW       Analyze correspondence from mediators re mediation            0.10       $65.00
                            statements
    12/18/2017    DJB       Email correspondence (2) with mediation group                 0.20     $239.00

                  KNK       Analyze correspondence from M. Hindman                        0.10     $140.00

                  JMW       Analyze correspondence (2) from mediators                     0.20     $130.00

    12/20/2017    DJB       Email correspondence with working group re draft term sheet   0.20     $239.00
                            (Commonwealth Agent Authority)
                  KNK       Analyze term sheet; emails re same                            0.20     $280.00

                  KNK       Analyze memo re issues from M. Hindman; emails re same        0.20     $280.00
                            and relation to scope motions
                  KNK       Analyze correspondence from C. Koenig re term sheet           0.10     $140.00

                  DJB       Review modified mediation plan (GO issues)                    0.10     $119.50

                  JMW       Analyze document from Willkie re settlement issues            0.20     $130.00

                  JMW       Analyze correspondence from mediation team re mediation       0.10       $65.00
                            schedule and instructions
                  JMW       Analyze correspondence from mediation team re fiscal plan     0.10       $65.00

    12/21/2017    KNK       Analyze correspondence from M. Hindman re mediation           0.10     $140.00

                  DJB       Review mediation memorandum re creditor issues                0.10     $119.50

                  DJB       Review draft term sheet and email correspondence with         0.30     $358.50
                            working group re same
                  JMW       Analyze two memoranda from mediation team                     0.10       $65.00

    12/22/2017    DJB       Email correspondence with KTBS working group re Senior        0.40     $478.00
                            COFINA working group mediation position post-scope order
                  DJB       Email correspondence with KTBS working group re effect of     0.30     $358.50
                            scope order on mediation scope; immunity
                  JMW       Exchange e-mail correspondence with Willkie team re scope     0.20     $130.00
                            orders and mediation issues
    12/23/2017    DJB       Email correspondence with Willkie and KTBS working            0.20     $239.00
                            groups re Senior COFINA mediator position and stipulation
                            (scope)
Professional Services Rendered                                                            7.50    $8,071.00
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 Label27
 In Reference To: Fee Applications and Retention
 File No.:        2291-0005

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 Professional Services
 Date             Init      Description                                                    Hours        Amount

    12/1/2017     DJB       Email correspondence with O'Melveny and working group re       0.10      $119.50
                            KTBS fee estimates
                  JMW       Work on monthly fee statement                                  1.10    No Charge

    12/6/2017     SDP       Analyze email exchange between J. Weiss and C. Koenig re       0.20        $69.00
                            first interim fee applications
                  SDP       Exchange e-mail correspondence with A. Ambeault re first       0.20    No Charge
                            interim fee applications
                  JMW       Work on monthly fee statement                                  0.50      $325.00

    12/7/2017     SDP       Prepare monthly fee application                                1.20      $414.00

                  SDP       Exchange e-mail correspondence with A. Ambeault re draft       0.20        $69.00
                            interim fee application
                  SDP       Analyze correspondence from N. Navarro-Cabrer re draft         0.10        $34.50
                            interim fee application
    12/8/2017     KNK       Revise November fee applications; and email J. Weiss           0.40      $560.00

                  SDP       Prepare first interim fee application                          1.60      $552.00

                  JMW       Prepare fourth monthly fee statement                           1.40      $910.00

    12/11/2017    SDP       Prepare first interim fee application and exhibits             3.20    $1,104.00

                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re       0.30      $103.50
                            first interim fee application (multiple)
                  SDP       Exchange e-mail correspondence with J. Weiss re revisions to   0.20        $69.00
                            first interim fee application
    12/12/2017    SDP       Work on first interim fee application and exhibits             4.30    $1,483.50

                  SDP       Telephone conference with N. Navarro-Cabrer re first interim   0.50      $172.50
                            fee applications (multiple)
                  SDP       Exchange e-mail correspondence with A. Ambeault re notice      0.20        $69.00
                            of first interim fee applications
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                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re      0.30     $103.50
                            first interim fee applications (multiple)
                  JMW       Prepare correspondence to S. Uhland re October fees           0.20     $130.00

                  JMW       Work on interim fee application                               0.30     $195.00

    12/13/2017    KNK       Prepare correspondence to S. Uhland re October interim fees   0.20     $280.00
                            and confer with J. Weiss re same
                  KNK       Analyze memo re fee examiner process and requirements         0.20     $280.00

                  KNK       Analyze pleadings re stipulated disclosure agreement and      0.10     $140.00
                            protective order
                  KNK       Analyze correspondence from K. Stadler re fee applications    0.10     $140.00
                            cover sheet
                  DJB       Email correspondence with KTBS working group re fee           0.20     $239.00
                            examiner guidelines
                  SDP       Analyze correspondence from N. Navarro-Cabrer re omnibus      0.10       $34.50
                            notice re first interim fee applications
                  SDP       Analyze correspondence from C. Koenig re omnibus notice re    0.20       $69.00
                            first interim fee applications (several)
                  SDP       Analyze email exchange between J. Weiss, C. Koenig and N.     0.30     $103.50
                            Navarro-Cabrer re fee examiner's time and process memo
                            (multiple)
                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re      0.30     $103.50
                            exhibits to first interim fee application (several)
                  JMW       Prepare first interim fee application                         3.40    $2,210.00

                  JMW       Analyze Fee Examiner memorandum re fees and related           0.50     $325.00
                            forms
                  JMW       Confer with C. Koenig re fee examiner memorandum              0.20     $130.00

                  JMW       Prepare correspondence to Commonwealth attorneys re           0.10       $65.00
                            expiration of 14-day period with no payment
    12/14/2017    KNK       Revise interim fee application; email J. Weiss                0.40     $560.00

                  DJB       Email correspondence with N. Navarro re interim fee           0.20     $239.00
                            application
                  DJB       Confer with N. Navarro re interim fee application             0.30     $358.50

                  DJB       Confer with J. Weiss re Navarro interim fee application       0.10     $119.50
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 Date             Init      Description                                                       Hours       Amount

                  SDP       Exchange e-mail correspondence with J. Weiss re first interim     0.30     $103.50
                            fee applications (multiple)
                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re          0.40     $138.00
                            first interim fee application (multiple)
                  SDP       Analyze correspondence from C. Koenig re notice of hearing        0.20       $69.00
                            re first interim fee applications (several)
                  SDP       Analyze notice of hearing re first interim fee applications;      0.20       $69.00
                            email to C. Koenig re same
                  SDP       Analyze correspondence from A. Anbeault re N.                     0.10       $34.50
                            Navarro-Cabrer's November fee statement
                  JMW       Work on first interim fee application                             1.00     $650.00

                  JMW       Analyze notice of hearing re first interim fee applications       0.10       $65.00

                  JMW       Analyze fee examiner draft protective order                       0.30     $195.00

    12/15/2017    KNK       Analyze pleadings re notices re interim fee hearing               0.10     $140.00

                  SDP       Analyze email exchange between J. Weiss, C. Koenig, and N.        0.40     $138.00
                            Navarro-Cabrer re first interim fee applications and monthly
                            fee statements (multiple)
                  SDP       Exchange e-mail correspondence with A. Ambeault re interim        0.20       $69.00
                            fee applications
                  SDP       Serve monthly fee statements and billing records for KTB&S        0.10       $34.50
                            and N. Navarro-Cabrer
                  JMW       Finish interim fee application                                    0.80     $520.00

                  JMW       Analyze notice of hearing (filed) for first interim fee           0.10       $65.00
                            application
    12/18/2017    SDP       Analyze correspondence from A. Ambeault re refiling of first      0.10       $34.50
                            interim fee applications
                  SDP       Analyze email exchange between J. Weiss and C. Koenig re          0.30     $103.50
                            refiling of first interim fee application and notice of hearing
                            thereon (several)
    12/19/2017    KNK       Confer with J. Weiss re Notice of Hearing                         0.20     $280.00

                  SDP       Analyze email exchange between J. Weiss and C. Koenig re          0.20       $69.00
                            amended notice of hearing re first interim fee applications
                  JMW       Confer with K. Klee re amended notice of hearing                  0.20     $130.00
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 Date             Init      Description                                                       Hours         Amount

    12/20/2017    SDP       Analyze correspondence from A. Ambeault re amended                0.20         $69.00
                            notice of hearing re first interim fee applications (multiple)
                  SDP       Analyze correspondence from N. Navarro-Cabrer re amended          0.10         $34.50
                            notice of hearing re first interim fee applications
                  SDP       Analyze correspondence from C. Koenigr re amended notice          0.10         $34.50
                            of hearing re first interim fee applications
                  SDP       Analyze correspondence from J. Weiss re amended notice of         0.10         $34.50
                            hearing re first interim fee applications
                  JMW       Analyze and propose revision to amended notice of fee             0.10         $65.00
                            hearing
    12/22/2017    DJB       Email correspondence with KTBS working group re interim           0.20       $239.00
                            fee payment; retiree motion
    12/26/2017    JMW       Analyze AAFAF objection to retiree committee fees motion          0.10         $65.00

    12/27/2017    SDP       Prepare statement of no objection re KTB&S's November fee         0.20         $69.00
                            application
                  SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re          0.30       $103.50
                            statement of no objection to November fee application
                            (several)
                  SDP       Serve KTB&S's and N. Navarro-Cabrer's statements of no            0.30       $103.50
                            objection
                  JMW       Analyze statement of no objection re November fees                0.10         $65.00

                  JMW       Confer with N. Navarro re October fee payment                     0.10         $65.00

Professional Services Rendered                                                               30.60    $15,734.50




 Label27



 Label27
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 For Services Rendered Through 12/31/2017

 Label27
 In Reference To: Budget
 File No.:        2291-0007

 Label27
 Professional Services
 Date             Init      Description                                                  Hours       Amount

    12/1/2017     DJB       Email correspondence with working group re UCC objections    0.10     $119.50
                            to fee estimate requests
                  KNK       Analyze correspondence from J. Spina re budget; research     0.30     $420.00
                            same; reply
                  KNK       Analyze correspondence from L. Despins re Gov't budget for   0.10     $140.00
                            Commonwealth-COFINA dispute
                  JMW       Analyze email from AAFAF re budgeting through June 2018      0.10       $65.00
                            and confer with K. Klee re same
                  JMW       Exchange e-mail correspondence with N. Navarro re AAFAF      0.10       $65.00
                            budgeting email
                  JMW       Analyze correspondence from L. Despins re AAFAF              0.10       $65.00
                            budgeting email
    12/2/2017     JMW       Analyze correspondence from J. Rapisardi re budgeting        0.10       $65.00
                            request from AAFAF
    12/15/2017    KNK       Confer with J. Weiss re budget; analyze budget               0.10     $140.00

                  KNK       Analyze correspondence from J. Weiss re December budget      0.10     $140.00
                            and staffing plan
                  JMW       Prepare client budget                                        0.40     $260.00

    12/20/2017    KNK       Analyze correspondence from J. Weiss re budget for fee       0.10     $140.00
                            examiner's reply
                  JMW       Prepare and send budget for January 2018 to fee examiner     0.40     $260.00
                            pursuant to fee examiner memorandum
    12/21/2017    KNK       Telephone conference with J. Weiss re revised budget         0.10     $140.00

Professional Services Rendered                                                           2.10    $2,019.50
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 Label27
 In Reference To: Discovery/Fact Analysis
 File No.:        2291-0008

 Label27
 Professional Services
 Date             Init      Description                                                     Hours       Amount

    12/1/2017     JMW       Analyze memo re summary of 11/30 FOMB hearing                   0.20     $130.00

                  JMW       Prepare for M&C call with JPM counsel                           0.40     $260.00

                  JMW       M&C call with JPM Counsel (David Elbaum)                        0.20     $130.00

                  JMW       Follow up email correspondence with D. Elbaum re JP             0.30     $195.00
                            Morgan meet and confer
    12/2/2017     JMW       Analyze joinders (2) of Committee to various discovery          0.20     $130.00
                            motions
    12/4/2017     RJP       Review interrogatories to COFINA Agent and                      0.40     $370.00
                            discovery-related correspondence
                  KNK       Analyze correspondence from H. Honig re                         0.10     $140.00
                            Commonwealth-COFINA dispute
                  KNK       Analyze interrogations to COFINA agent from                     0.10     $140.00
                            Commonwealth agent
                  KNK       Analyze Commonwealth agent's interrogatories to creditors       0.30     $420.00

                  DJB       Email correspondence with working group re AAFAF                0.20     $239.00
                            document production
                  JMW       Analyze Commonwealth discovery to COFINA Agent and              1.00     $650.00
                            certain senior groups
                  JMW       Analyze summary of third fiscal plan public listening session   0.10       $65.00

                  JMW       Exchange e-mail correspondence with J. Fitts re meet and        0.10       $65.00
                            confer re Barclays
    12/5/2017     RJP       Review correspondence re document production and                0.10       $92.50
                            protective order stipulation
                  KNK       Analyze correspondence from J. Daniels re document              0.10     $140.00
                            production
                  KNK       Analyze correspondence from S. Hussein re document              0.10     $140.00
                            production
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 Date             Init      Description                                                     Hours       Amount

                  KNK       Analyze summary of fiscal plan listening session                0.10     $140.00

                  JMW       Exchange e-mail correspondence with N. Navarro re UBS           0.10       $65.00
                            meet and confer
                  JMW       Analyze summary of FOMB 11th public board meeting               0.10       $65.00

                  JMW       Analyze correspondence from S. Hussein re intervenor            0.10       $65.00
                            discovery
    12/6/2017     KNK       Analyze correspondence from B. Whyte re SUT collection          0.10     $140.00
                            date
                  JMW       Prepare for Barclays meet and confer                            0.50     $325.00

                  JMW       Analyze SUT collection tracker deck                             0.20     $130.00

                  JMW       Analyze Intralinks discovery from AAFAF                         0.10       $65.00

                  JMW       Analyze correspondence from M. Neiburg and Willkie re           0.20     $130.00
                            Popular Securities discovery responses
                  JMW       Analyze correspondence from H. Honig (Willkie) re               0.10       $65.00
                            numerous SUT issues
                  JMW       Analyze correspondence from N. Navarro to UBS re                0.10       $65.00
                            production of documents
    12/7/2017     RJP       Exchange email correspondence with K. Klee and J. Weiss re      0.60     $555.00
                            service of additional written discovery requests on Aurelius,
                            Corbin, Monarch, and Prisma, including preliminary review
                            of draft requests
                  RJP       Analyze document requests to GO bondholders                     0.30     $277.50

                  JMW       Analyze documents produced from AAFAF                           0.50     $325.00

                  KNK       Analyze correspondence from S. Hussein re GO discovery          0.20     $280.00
                            requests
                  DJB       Email correspondence with KTBS working group re AAFAF           0.10     $119.50
                            discovery
                  DJB       Email correspondence with KTBS working group and D.             0.30     $358.50
                            Gropper re third party subpoena
                  JMW       Analyze discovery to GO bondholders and exchange e-mail         1.20     $780.00
                            correspondence with K. Klee, D. Bussel re same
                  JMW       Analyze correspondence from M. Neiburg (Popular) re             0.10       $65.00
                            discovery responses
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                  JMW       Exchange e-mail correspondence with J. Fitts (Barclays) re   0.10       $65.00
                            discovery responses
    12/8/2017     RJP       Analyze discovery-related correspondence, document           0.50     $462.50
                            requests, and written discovery (interrogatories)
                  SDP       Revise request for production of documents (Monarch          0.10       $34.50
                            Alternative Solutions Master Fund Ltd)
                  SDP       Revise request for production of documents (Prisma SPC       0.10       $34.50
                            Holdings Ltd-Segregated Portfolio AG)
                  SDP       Revise request for production of documents (Corbin           0.10       $34.50
                            Opportunity Fund L.P.)
                  SDP       Revise request for production of documents (Aurelius         0.20       $69.00
                            Investment, LLC)
                  KNK       Analyze discovery requests                                   0.40     $560.00

                  KNK       Analyze correspondence from D. Bussel and J. Weiss re        0.10     $140.00
                            Aurelius subpoenas
                  DJB       Email correspondence with Aurelius re subpoena               0.10     $119.50
                            (forthcoming)
                  DJB       Email correspondence with working group re third party       0.30     $358.50
                            subpoenas (objections)
                  JMW       Analyze, revise, and serve discovery on certain GO           0.80     $520.00
                            intervenors
                  JMW       Exchange e-mail correspondence with Citi and Goldman re      0.10       $65.00
                            meet and confer follow up
                  JMW       Analyze correspondence from UBS re meet and confer           0.10       $65.00

                  JMW       Prepare for meet and confer call with counsel to Barclays    0.30     $195.00

                  JMW       Meet and confer call with counsel to Barclays                0.20     $130.00

    12/11/2017    KNK       Analyze correspondence from H. Honig re factual record       0.20     $280.00

                  JMW       Prepare correspondence to counsel to Hawkins re discovery    0.10       $65.00
                            progress
                  JMW       Exchange e-mail correspondence with N. Navarro, J. Dugan     0.10       $65.00
                            re certain subpoenas
                  JMW       Analyze correspondence from M. Spillane re status of         0.10       $65.00
                            production from certain lead underwriters
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                  JMW       Analyze correspondence from K. Zecca (GOs) re document        0.10       $65.00
                            requests to GO holders (2)
    12/12/2017    RJP       Analyze meet-and-confer correspondence from S. Cooper to      0.10       $92.50
                            J. Daniels re pending discovery matters
                  JMW       Exchange e-mail correspondence with M. Cohen re meet and      0.10       $65.00
                            confer re Hawkins Delafield
                  JMW       Analyze correspondence from J. Heyworth re responses from     0.10       $65.00
                            Santander Securities
                  JMW       Analyze Ambac reply in support of Rule 2004 motion            0.20     $130.00

                  JMW       Analyze S. Cooper letter to J. Daniels re AAFAF discovery     0.10       $65.00

    12/13/2017    KNK       Analyze correspondence from S. Cooper re Commonwealth         0.10     $140.00
                            discovery requests
    12/14/2017    KNK       Analyze correspondence from B. Whyte re Diversion of SUT;     0.20     $280.00
                            reply
                  KNK       Analyze correspondence from M. Feldman re FITCH security      0.10     $140.00
                            action of SUT; reply
                  JMW       Analyze PR Treasury cash flow analysis                        0.20     $130.00

    12/15/2017    KNK       Analyze correspondence from B. Whyte re treasury cash flow    0.10     $140.00
                            analysis; reply
                  JMW       Analyze correspondence from M. Rohan re UBS discovery         0.10       $65.00
                            responses
                  JMW       Analyze correspondence from M. Spillane re discovery          0.10       $65.00
                            responses
                  JMW       Prepare for meet and confer with Hawkins Delafield counsel    0.30     $195.00

    12/18/2017    KNK       Analyze articles and emails re bank account understatements   0.10     $140.00

                  DJB       Email correspondence with working group re Citigroup          0.10     $119.50
                            document production
                  DJB       Email correspondence with working group re O'Melveny          0.10     $119.50
                            document production (AAFAF)
                  JMW       Meet and confer call with M. Cohen (Hawkins Delafield)        0.30     $195.00

                  JMW       Analyze correspondence from B. Whyte re cash increase         0.10       $65.00

                  JMW       Analyze production and production letter from underwriter     0.30     $195.00
                            and exchange e-mail correspondence with Willkie re same
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0000                                                                                               Bill # 16166
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 Date             Init      Description                                                    Hours       Amount

    12/19/2017    DJB       Email correspondence with working group re withheld            0.20     $239.00
                            Moody's documents (AAFAF production)
                  JMW       Analysis re third party subpoena recipient meet and confer     0.60     $390.00
                            requests and further correspondence
                  JMW       Exchange e-mail correspondence with M. Cohen re Hawkins        0.20     $130.00
                            Delafield discovery
                  JMW       Analyze correspondence from J. Worthington and J. Daniels      0.10       $65.00
                            re AAFAF discovery
    12/20/2017    RJP       Review draft interrogatory responses                           0.30     $277.50

                  JMW       Exchange e-mail correspondence with S. Hussein and M.          0.20     $130.00
                            Cohen re Hawkins subpoena parameters
                  JMW       Analyze draft interrogatory responses from COFINA agent        0.30     $195.00

                  JMW       Analyze correspondence from J. Daniels re AAFAF discovery      0.10       $65.00

                  JMW       Analyze correspondence from M. Neiburg re popular              0.10       $65.00
                            discovery responses
    12/21/2017    RJP       Review third-party objections and responses to subpoenas for   0.30     $277.50
                            production of documents and correspondence re same
                  JMW       Analyze Decagon Holdings LLC, Golden Tree Asset                0.30     $195.00
                            Management LP, and Tilden Park Responses and Objections
                            to the Committee of Unsecured Creditors as the
                            Commonwealth Agent’s RFPs
                  JMW       Analyze Franklin Advisers, Inc. and OppenheimerFunds,          0.20     $130.00
                            Inc.’s Responses and Objections to the Committee of
                            Unsecured Creditors as the Commonwealth Agent’s Requests
                            for Documents
    12/22/2017    DJB       Email correspondence with working group re Goldman             0.10     $119.50
                            discovery
                  JMW       Analyze production from Goldman Sachs                          0.20     $130.00

    12/26/2017    KNK       Analyze pleadings re joint status report re Rule 2004          0.10     $140.00

                  JMW       Analyze AAFAF produced documents                               1.10     $715.00

                  JMW       Analyze documents produced by Goldman re SUT ownership         1.50     $975.00

    12/27/2017    JMW       Analyze COFINA Agent responses to interrogatories              0.20     $130.00

    12/28/2017    KNK       Analyze correspondence from B. Whyte re AMBAC purchase         0.10     $140.00
                            of COFINA bonds
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.

 Date              Init      Description                                                    Hours           Amount

                   KNK       Analyze correspondence from B. Whyte re treasury               0.10         $140.00
                             collections; reply
                   JMW       Analyze correspondence from M. Cohen re discovery from         0.10           $65.00
                             Hawkins Delafield
Professional Services Rendered                                                            22.20       $17,835.00



    Label6
                                               Timekeeper Summary
    Name                                                           Hours          Rate               Amount
    Label6
    Bussel, Daniel J.                                              13.90        1195.00             $16,610.50
    Pearson, Shanda D.                                              0.20           0.00             No Charge
    Pearson, Shanda D.                                             18.40         345.00              $6,348.00
    Fidler, David A.                                                0.50         980.00               $490.00
    Klee, Kenneth N.                                                0.10           0.00             No Charge
    Klee, Kenneth N.                                               17.90        1400.00             $25,060.00
    Pfister, Robert J.                                              3.20         925.00              $2,960.00
    Weiss, Jonathan M.                                              1.10           0.00             No Charge
    Weiss, Jonathan M.                                             45.50         650.00             $29,575.00
                                                                  100.80                            $81,043.50


                  Total fees and expenses incurred                                  $81,720.08
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                   Itemized Expenses forDocument
                                        the Period December
                                                       Page1,141
                                                             2017of
                                                                 Through
                                                                    197 December 31, 2017


   Date          Expense Category             Total                                Description                         Invoice No.
12/13/2017 Delivery Services/Messengers      $ 88.62 FedEx to Hermano D. Bauer at Oneill & Borges LLC on 11/28/17         16166
                                                      FedEx to Andres W. Lopez at Law Offices of Andres W. Lopez on
12/13/2017 Delivery Services/Messengers      $ 88.62 11/28/17                                                             16166
12/14/2017 Delivery Services/Messengers      $ 15.66 FedEx to Brady C. Williamson at Godfrey & Kahn on 11/17/17           16166
                                                      FedEx to Catherine Steege, Melissa Root at Jenner & Block LLP on
12/14/2017 Delivery Services/Messengers      $ 15.66 11/17/17                                                             16166
12/14/2017 Delivery Services/Messengers      $ 15.66 FedEx to Paul V. Possinger at Proskauer Rose LLP on 11/17/17         16166
12/14/2017 Delivery Services/Messengers      $ 15.70 FedEx to Paul V. Possinger at Proskauer Rose LLP on 11/28/17         16166
                                                      FedEx to Guy G. Gebhart at Acting US Trustee (Region 21) on
12/14/2017 Delivery Services/Messengers      $ 16.28 11/17/17                                                             16166
                                                      FedEx to Robert Gordon, Richard Levin at Jenner & Block LLP on
12/14/2017 Delivery Services/Messengers      $ 16.28 11/17/17                                                             16166
                                                      FedEx to J. Rapisardi, S. Uhland at Omelveny & Myers LLP on
12/14/2017 Delivery Services/Messengers      $ 16.28 11/17/17                                                             16166
12/14/2017 Delivery Services/Messengers      $ 16.28 FedEx to Luc. A. Despins at Paul Hastings on 11/17/17                16166
                                                      FedEx to Martin Bienenstock, Ehud Barak at Proskauer Rose LLP on
12/14/2017 Delivery Services/Messengers      $ 16.28 11/17/17                                                             16166
                                                      FedEx to M. Bienenstock & Barak at Proskauer Rose LLP on
12/14/2017 Delivery Services/Messengers      $ 16.32 11/28/17                                                             16166
                                                      FedEx to J. Rapisardi, S. Uhland at Omelveny & Myers LLP on
12/14/2017   Delivery Services/Messengers    $ 16.32 11/28/17                                                             16166
12/14/2017   Delivery Services/Messengers    $ 21.07 FedEx to Bettina Whyte on 11/17/17                                   16166
12/14/2017   Travel                          $ 142.00 Transportation from JFK on 11/28/17 for K. Klee                     16166
12/14/2017   Travel                          $ 142.00 Transportation to JFK on 11/29/17 for K. Klee                       16166
12/26/2017   Telephone                       $ 17.55 Telephone Conference Service                                         16166
Total                                       $ 676.58




                                                               1 of 1
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                                 EXHIBIT 4-D




            TIME AND EXPENSE DETAIL FOR JANUARY 2018
                        FEE STATEMENT




 169263.1
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                       KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                         1999 Avenue of the Stars
                                            Thirty-Ninth Floor
                                       Los Angeles, California 90067
                                        Telephone: (310) 407-4000
                                        Facsimile: (310) 407-9090
                                         Taxpayer I.D. No. XX-XXXXXXX



                                                                                          February 01, 2018
Bettina Whyte, as Agent for Corporacion                                                      Bill No. 16266
del Fondo de Interes Apremiante (COFINA)




 Matter Code Matter Name                            Fees Billed         Expenses Billed            Total Billed
 0000        COFINA Expenses                              $0.00                $662.23                $662.23


 0001        Litigation/Adversary                  $102,572.00                   $0.00             $102,572.00
             Proceedin


 0002        Case Administration                      $4,936.00                  $0.00               $4,936.00


 0003        Meetings/Creditor                      $15,361.00                   $0.00              $15,361.00
             Communicatio


 0004        Mediation/Negotiations                 $22,153.00                   $0.00              $22,153.00


 0005        Fee Applications and                     $5,933.00                  $0.00               $5,933.00
             Retention


 0007        Budget                                   $1,242.50                  $0.00               $1,242.50


 0008        Discovery/Fact Analysis                $44,753.00                   $0.00              $44,753.00


 0009        Non-Working Travel                       $3,407.50                  $0.00               $3,407.50


                                                   $200,358.00                 $662.23             $201,020.23
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                         KLEE, TUCHIN, BOGDANOFF & STERN LLP
                                        1999 Avenue of the Stars
                                           Thirty-Ninth Floor
                                      Los Angeles, California 90067
                                       Telephone: (310) 407-4000
                                       Facsimile: (310) 407-9090
                                        Taxpayer I.D. No. XX-XXXXXXX



                                                                                 February 01, 2018
Bettina Whyte, as Agent for Corporacion                                             Bill No. 16266
del Fondo de Interes Apremiante (COFINA)




For Services Rendered Through 1/31/2018

Label27
In Reference To:
File No.:        2291-0000

Label27


Costs and Disbursements

       Telephone
             Telephone Conference Service                                                        $3.46
                                                                                                 $3.46

       Online Research
             Pacer - January2018                                                                 $5.30
                                                                                                 $5.30

       Delivery services/messengers
             FedEx to Hermann D. Bauer at Oneill & Borges LLC on 12/27/17                       $89.04
             FedEx to Andres W. Lopez at Law Offices of Andres W. Lopez on                      $89.04
             12/27/17
             FedEx to Paul V. Possinger, Esq at Proskauer Rose LLP on 12/27/17                  $15.78
             FedEx to M. Bienenstock & Barak at Proskauer Rose LLP on                           $16.40
             12/27/17
             FedEx to J. Rapisardi, S. Uhland at OMelveny & Myers LLP on                        $16.40
             12/27/17
             FedEx to A.J. Bennazar-Zequeira, Esq. at Bennazar, Garcia &                        $29.50
             Millian CSP on 01/16/18
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.
                    FedEx to Juan Casillas Ayala at Casillas, Santiago & Torres LLC on                $29.50
                    01/16/18
                    FedEx to Edificio Ochoa at Office of the US Trustee on 01/16/18                   $29.50
                                                                                                     $315.16

          Travel
                    Airfare from SFO to JFK on 01/22/18 for J. Weiss                                $338.31
                                                                                                     $338.31
Total Costs and Disbursements                                                                        $662.23

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Litigation/Adversary Proceedings
 File No.:        2291-0001

 Label27
 Professional Services
 Date                Init      Description                                                  Hours       Amount

    1/1/2018         KNK       Analyze correspondence from B. Whyte re motion to expand     0.10     $147.50
                               scope; reply
    1/2/2018         KNK       Analyze correspondence from J. Weiss re municipal finance    0.10     $147.50
                               expert; reply
    1/3/2018         KNK       Analyze correspondence from M. Feldman and B. Whyte re       0.10     $147.50
                               Luc Despins motion to extend scope
                     DJB       Email correspondence with M. Feldman COFINA agent            0.10     $124.50
                               working group re commonwealth agent motion re
                               constitutional issues (scope)
                     JMW       Analyze correspondence from M. Feldman re Luc motion to      0.10       $72.50
                               re-expand scope
    1/4/2018         KNK       Analyze pleadings re order re expedited hearing              0.10     $147.50

                     KNK       Telephone conference with B. Whyte re hearing on             0.10     $147.50
                               Commonwealth agent's motion re constitutionality
                     KNK       Conference call with J. Weiss and D. Bussel re response to   0.40     $590.00
                               Commonwealth agent's urgent motion re constitutionality
                     KNK       Analyze pleadings re Commonwealth agent's urgent motion to   0.10     $147.50
                               expedite considerations
                     KNK       Analyze pleadings re Commonwealth agent's urgent motion      0.60     $885.00
                               for clarification of scope order; second amended complaint
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 Date                Init      Description                                                      Hours       Amount

                     DJB       Confer with K. Klee and J. Weiss re response to UCC              0.40     $498.00
                               clarification motion
                     DJB       Review UCC clarification motion (scope)                          0.50     $622.50

                     JMW       Telephone conference with K. Klee and D. Bussel re response      0.40     $290.00
                               to scope expansion motion
                     JMW       Analyze scope expansion motion and related documents             2.60    $1,885.00
                               (complaint, counterclaims, GO intervention) and
                               research/analyze strategy in response
                     JMW       Telephone conference with J. Dugan re response to scope          0.20     $145.00
                               expansion motion
                     JMW       Exchange e-mail correspondence J. Dugan, K. Klee re FOMB         0.10       $72.50
                               position re scope expansion motion
                     RJP       Analyze Commonwealth Agent’s motion for clarification of         0.30     $298.50
                               December 21 scope order
    1/5/2018         KNK       Analyze pleadings re Ambac's motion re 1/10 hearing              0.10     $147.50

                     KNK       Telephone conference with B. Whyte re urgent motion of           0.10     $147.50
                               constitutionality of COFINA
                     KNK       Telephone conference with B. Whyte re National view on           0.20     $295.00
                               response
                     KNK       Analyze correspondence from M. Bienenstock re response to        0.10     $147.50
                               Commonwealth urgent motion
                     KNK       Analyze correspondence from D. Bussel and J. Weiss re            0.10     $147.50
                               response to Commonwealth Agent's urgent motion
                     DJB       Call with COFINA agent working group re responses to UCC         0.40     $498.00
                               clarification motion on scope
                     DJB       Email correspondence with K. Klee and J. Weiss re response       0.20     $249.00
                               on scope
                     JMW       Exchange e-mail correspondence with M. Feldman and B.            0.10       $72.50
                               Whyte and group re insurers’ response to scope expansion
                               motion
                     JMW       Exchange e-mail correspondence with K. Klee and D. Bussel        0.10       $72.50
                               re response to scope expansion motion
                     JMW       Telephone conference with B. Whyte and Willkie re response       0.40     $290.00
                               to scope expansion motion
                     JMW       Analysis of pleadings and other evidence post-call re drafting   0.80     $580.00
                               of response to scope expansion motion
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 Date                Init      Description                                                   Hours       Amount

    1/7/2018         KNK       Analyze pleadings re objection to Commonwealth agent's        0.30     $442.50
                               reconsideration motion; emails; reply
                     KNK       Analyze pleadings re revised objection; emails                0.30     $442.50

                     DJB       Review draft objection to UCC motion for reconsideration      0.70     $871.50
                               (scope) and revisions thereof
                     DJB       Email correspondence with KTBS working group re               1.00    $1,245.00
                               comments to COFINA objection to UCC motion
                     DJB       Conference call with COFINA Agent working group re draft      0.30     $373.50
                               opposition (scope)
                     JMW       Telephone conference with B. Whyte and Willkie re scope       0.30     $217.50
                               expansion response
                     JMW       Telephone conference with J. Dugan (Willkie) re scope         0.20     $145.00
                               expansion response
                     JMW       Work on and edit draft scope expansion response, including    5.30    $3,842.50
                               analysis of relevant pleadings and arguments
    1/8/2018         KNK       Analyze pleadings re revised opposition to Commonwealth       0.30     $442.50
                               trustee's reconsideration motion; emails; reply
                     DJB       Review oppositions and supporting filings re UCC motion for   0.80     $996.00
                               reconsideration (scope) and related email correspondence
                               with working group
                     JMW       Confer with D. Bussel re responses to scope expansion         0.10       $72.50
                               motion
                     JMW       Analyze correspondence from K. Klee re hearing on scope       0.10       $72.50
                               expansion motion
                     JMW       Work on analysis and comment on final draft of scope          0.50     $362.50
                               expansion response
                     JMW       Analyze numerous responses to scope expansion motion          1.80    $1,305.00

    1/9/2018         KNK       Analyze pleadings re National joinder to COFINA agent's       0.10     $147.50
                               opposition to Commonwealth Agent's motion to reconsider
                     KNK       Analyze pleadings re Senior Bondholders coalition objection   0.20     $295.00
                               to Commonwealth Agent's motion to clarify
                     KNK       Analyze pleadings re GO Bondholders response to               0.10     $147.50
                               Commonwealth Agent's motion to clarify
                     KNK       Analyze pleadings re replies in support of Commonwealth       0.20     $295.00
                               Agent's motion to clarify
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 Date             Init      Description                                                  Hours       Amount

                  KNK       Analyze correspondence from H. Honig re replies              0.10     $147.50

                  KNK       Analyze correspondence from A. Yanez re expert witnesses     0.10     $147.50

                  KNK       Telephone conference with B. Whyte re expert witnesses       0.20     $295.00

                  KNK       Analyze pleadings re FOMB statement in response              0.10     $147.50

                  KNK       Confer with J. Weiss re summary judgment                     0.10     $147.50

                  DJB       Review oppositions to UCC motion for reconsideration         1.10    $1,369.50
                            (scope)
                  JMW       Confer with R. Pfister re scope expansion responses          0.10       $72.50

                  JMW       Analyze scope expansion objections, responses, and           1.50    $1,087.50
                            informative motions
                  JMW       Legal research re SUT legislation and impact on remaining    2.20    $1,595.00
                            causes of action
                  JMW       Analyze correspondence from A. Yanez re experts for trial    0.10       $72.50

                  RJP       Telephone conference with J. Weiss re clarifying order and   0.10       $99.50
                            status/next steps
    1/10/2018     KNK       Prepare for hearing on Commonwealth Agent's motion to        0.30     $442.50
                            reconsider; confer with S. Pearson
                  KNK       Appear at hearing re Commonwealth Agent's motion to          0.90    $1,327.50
                            reconsider scope (telephonic)
                  KNK       Analyze correspondence from H. Honig re hearing summary      0.10     $147.50

                  KNK       Analyze resume of expert on municipal finance; confer with   0.20     $295.00
                            COFINA team re same
                  KNK       Analyze pleadings re order denying Commonwealth Agent's      0.10     $147.50
                            motion
                  KNK       Analyze correspondence from J. Duggan, D. Bussel et al re    0.20     $295.00
                            anticipated response to Commonwealth Agent's forthcoming
                            amendment
                  DJB       Review order denying reconsideration                         0.20     $249.00

                  DJB       Confer with J. Weiss re hearing on scope                     0.10     $124.50

                  DJB       Email correspondence with working group re response to       0.90    $1,120.50
                            order denying reconsideration
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 Date             Init      Description                                                   Hours       Amount

                  JMW       Analyze order re scope expansion denial and strategy re       0.50     $362.50
                            potential motion to amend
                  JMW       Analyze potential expert and exchange e-mail correspondence   0.20     $145.00
                            with A. Yanez, K. Klee, R. Pfister re same
    1/11/2018     KNK       Confer with R. Pfister re Wendt testimony                     0.20     $295.00

                  KNK       Analyze pleadings re Commonwealth Agent's urgent motion       0.40     $590.00
                            to amend complaint; emails; draft outline of proposed
                            objection
                  KNK       Research re options re response or objection to               0.60     $885.00
                            Commonwealth Agent's urgent motion to amend
                  KNK       Conference call with J. Duggan and J. Weiss re objection to   0.10     $147.50
                            Commonwealth Agent
                  DJB       Review UCC urgent motion re amendments to complaint           0.40     $498.00
                            (Counts XII and XIII)
                  DJB       Confer with K. Klee and J. Weiss re response to UCC urgent    0.30     $373.50
                            motion re leave to amend (Counts XII and XIII)
                  DJB       Email correspondence with working group re response to        0.30     $373.50
                            UCC urgent motion re leave to amend (Counts XII and XIII)
                  JMW       Analyze motion to amend and proposed amended complaint        0.80     $580.00

                  JMW       Analysis of strategy in response to motion to ammend          1.80    $1,305.00

                  RJP       Prepare for conference call with municipal finance expert     0.30     $298.50
                            witness B. Wendt
                  RJP       Meet with K. Klee re municipal finance expert testimony and   0.20     $199.00
                            strategy
                  RJP       Review correspondence from J. Weiss re depositions and        0.10       $99.50
                            discovery correspondence generally
    1/12/2018     KNK       Analyze pleadings re revised objection to Commonwealth        0.60     $885.00
                            agent's urgent motion to amend; emails; revise same
                  KNK       Analyze pleadings re Commonwealth agent's reply to            0.20     $295.00
                            COFINA agent's objection; emails
                  DJB       Email correspondence with working group re comments to        0.60     $747.00
                            draft opposition re renewed urgent motion re scope
                  DJB       Review draft opposition to renewed urgent motion re scope     0.20     $249.00

                  DJB       Confer with J. Weiss re scope motion                          0.20     $249.00
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 Date             Init      Description                                                    Hours       Amount

                  JMW       Analyze and exchange correspondence with B. Whyte and          2.30    $1,667.50
                            Willkie team re opposition to motion to amend
                  JMW       Analyze other oppositions to motion to amend                   0.20     $145.00

    1/13/2018     KNK       Analyze pleadings re order granting Commonwealth agent's       0.20     $295.00
                            motion to amend; emails re same and strategy in response
                  DJB       Review order granting UCC motion to amend (scope) and          0.40     $498.00
                            email correspondence with working group re order
                  DJB       Email correspondence with KTBS working group re order          0.30     $373.50
                            granting UCC motion to amend (scope)
                  DJB       Email correspondence with K. Klee re preserving appellate      0.10     $124.50
                            rights
                  JMW       Analyze reply re motion to amend and order and                 0.50     $362.50
                            correspondence (from B. Whyte, Willkie, K. Klee, D. Bussel)
                            re same
    1/14/2018     KNK       Analyze correspondence from J. Duggan re witnesses; reply      0.10     $147.50

                  RJP       Exchange email correspondence with Willkie team, K. Klee,      0.20     $199.00
                            and J. Weiss re accountant deposition
    1/15/2018     DJB       Review Willkie proposed trial schedule and email               0.20     $249.00
                            correspondence with KTBS working group related thereto
    1/16/2018     KNK       Analyze pleadings re second amended complaint; emails re       0.70    $1,032.50
                            same
                  DJB       Email correspondence with working group re second amended      0.30     $373.50
                            complaint
                  DJB       Review second amended complaint (UCC)                          0.30     $373.50

                  DJB       Review Paul Hastings scope chart/Willkie revisions             0.20     $249.00

                  JMW       Analyze second amended complaint and correspondence            0.50     $362.50
                            between Paul Hastings and S. Kirpalani and others re
                            inclusion of dismissed causes of action
                  JMW       Telephone conference with T. Yanez re expert witnesses         0.10       $72.50

    1/17/2018     KNK       Conference call with F. Clark and J. Weiss re expert witness   0.20     $295.00

                  KNK       Analyze correspondence from M. Seidel re expert witness and    0.20     $295.00
                            confer with J. Weiss
                  KNK       Analyze correspondence from F. Clark re expert witness;        0.10     $147.50
                            reply
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 Date             Init      Description                                                       Hours       Amount

                  KNK       Analyze correspondence from B. Whyte et al re expert              0.10     $147.50
                            witness retention
                  KNK       Analyze correspondence from D. Bussel re expert witnesses         0.10     $147.50

                  KNK       Analyze correspondence from S. Hussein re scope chart             0.20     $295.00

                  JMW       Telephone conference with F. Clark re accounting expert           0.20     $145.00
                            issues
                  JMW       Telephone conference with M. Seidel re accounting expert          0.30     $217.50
                            issues
                  JMW       Analyze retention agreements for municipal finance expert         0.30     $217.50
                            and correspondence re same
    1/18/2018     KNK       Conference call with F. Clark and C. Phillips re expert           0.40     $590.00
                            witness re GASB
                  KNK       Confer with J. Weiss re GASB expert                               0.10     $147.50

                  KNK       Analyze correspondence from A. Yanez and B. Whyte re              0.10     $147.50
                            revised litigation stipulation
                  DJB       Email correspondence with working group re GASB expert            0.30     $373.50

                  JMW       Exchange e-mail correspondence with municipal bond                0.20     $145.00
                            accounting expert re engagement
                  RJP       Analyze correspondence re identification, selection, and          0.20     $199.00
                            retention of accountant expert as rebuttal trial witness and as
                            consultant in connection with accounting depositions
    1/19/2018     KNK       Analyze correspondence from B. Whyte re litigation risk           0.30     $442.50
                            chart; reply and confer with D. Bussel and J. Weiss re
                            revisions
                  KNK       Analyze litigation risk chart and summaries                       0.20     $295.00

                  KNK       Conference call with M. Seidel, R. Pfister, J. Weiss re expert    0.20     $295.00
                            on GASB
                  KNK       Confer with J. Weiss and R. Pfister re GASB expert                0.20     $295.00

                  KNK       Conference call with C. Phillips, M. Seidel, R. Pfister et al.    0.30     $442.50

                  KNK       Conference call with M. Seidel, R. Pfister, J. Weiss re expert    0.10     $147.50
                            witnesses
                  JMW       Telephone conference with M. Seidel re accounting experts         0.20     $145.00
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 Date             Init      Description                                                      Hours       Amount

                  JMW       Telephone conference with M. Seidel re follow up to calls        0.10       $72.50
                            with accounting experts
                  JMW       Telephone conference with J. Riley re accounting experts' role   0.60     $435.00

                  JMW       Telephone conference with W. Averett re accounting experts'      0.30     $217.50
                            role
                  JMW       Confer with K. Klee, R. Pfister, D. Bussel re expert calls       0.20     $145.00

                  JMW       Analyze and comment on revised draft scope chart                 0.20     $145.00

                  RJP       Conference call with potential accounting consultants            0.30     $298.50

                  RJP       Telephone conference with M. Seidel re engagement of             0.10       $99.50
                            accounting expert
                  RJP       Conference call with potential accounting consultants            0.60     $597.00

                  RJP       Telephone conference with M. Seidel re vetting and retention     0.20     $199.00
                            of accounting expert/consultant
                  RJP       Analyze revised draft scope chart prepared in connection with    0.10       $99.50
                            mediation, and email correspondence re same
    1/20/2018     KNK       Analyze correspondence from B. Whyte re expert witnesses         0.10     $147.50

    1/22/2018     KNK       Analyze pleadings re Ambac's urgent motion for leave to          0.30     $442.50
                            replead; emails re COFINA agent's response
                  KNK       Analyze correspondence from M. Seidel re Holder as experts       0.20     $295.00
                            witness; emails re same
                  KNK       Analyze pleadings re proposed revised stipulation re summary     0.20     $295.00
                            judgment etc; emails re same
                  DJB       Email correspondence with working group re AMBAC                 0.20     $249.00
                            motion to replead
                  DJB       Review AMBAC motion to replead                                   0.30     $373.50

                  JMW       Analyze proposed order for continuation of discovery             0.50     $362.50
                            deadlines and telephone conference / exchange e-mail
                            correspondence with J. Dugan re same
                  JMW       Exchange e-mail correspondence with M. Seidel, R. Pfister re     0.10       $72.50
                            accounting experts
                  JMW       Analyze draft AMBAC motion for leave to replead and              0.50     $362.50
                            exchange e-mail correspondence with B. Whyte and Willkie
                            re same
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 Date             Init      Description                                                   Hours       Amount

                  JMW       Analyze CW Agent motion to extend deadlines and for           0.40     $290.00
                            expedited consideration
                  RJP       Telephone conference with prospective accounting consultant   0.10       $99.50

                  RJP       Prepare to interview potential accounting expert              0.60     $597.00

                  RJP       Analyze draft scheduling stipulation and exchange email       0.20     $199.00
                            correspondence re acceptability of same
    1/23/2018     KNK       Analyze Homeplace Stores, Inc. case re recharacterization     0.10     $147.50

                  KNK       Analyze pleadings re draft response in support of             0.30     $442.50
                            Commonwealth agent's urgent motion to reschedule; revise
                            same; reply; emails
                  KNK       Analyze correspondence from K. John Shaffer re 2013           0.10     $147.50
                            Commonwealth financial statements; reply
                  KNK       Analyze pleadings re Ambac's motion to amend                  0.30     $442.50
                            counterclaims; emails; reply
                  KNK       Analyze pleadings re Ambac's motion to expedite               0.10     $147.50

                  KNK       Analyze pleadings re Mutual Fund Group's limited objection    0.10     $147.50
                            to Commonwealth agent's motion to reschedule
                  DJB       Email correspondence with working group re AMBAC              0.30     $373.50
                            motion to amend
                  JMW       Call with potential expert witness on accounting issues       0.60     $435.00

                  JMW       Analyze correspondence from D. Goldman, M. Stancil, others    0.30     $217.50
                            re COFINA seniors’ position on motion for amendment of
                            deadlines
                  JMW       Analyze AMBAC motion and Exhibit A to amend                   0.60     $435.00
                            counterclaims
                  JMW       Exchange e-mail correspondence with K. Klee, COFINA           0.20     $145.00
                            seniors re issues relating to preparation for accounting
                            depositions
                  JMW       Exchange e-mail correspondence with B. Whyte, Willkie, K.     0.80     $580.00
                            Klee, and D. Bussel (extensive) re strategy re responses to
                            AMBAC motion and CW Agent motion
                  JMW       Analyze draft response of COFINA Agent to CW Agent            0.20     $145.00
                            motion
                  JMW       Analyze responses (various) to CW Agent motion                0.50     $362.50
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 Date             Init      Description                                                     Hours       Amount

                  RJP       Conference call with prospective expert witness, K. Klee, and   0.60     $597.00
                            Willkie team
                  RJP       Exchange email correspondence with bondholder group and         0.80     $796.00
                            K. Klee, et al. re potential approaches to accounting issues
                            expected to be raised by Commonwealth agent; preliminary
                            review of cited authorities
    1/24/2018     KNK       Analyze Alix engagement letter; emails re same                  0.20     $295.00

                  KNK       Analyze pleadings re statement of support of cross motion for   0.30     $442.50
                            conference; revise same; emails
                  KNK       Analyze correspondence from S. Kirpalani re expert witness      0.20     $295.00
                            re accounting issues; reply; emails
                  KNK       Analyze pleadings re draft memo of law in support of            0.60     $885.00
                            COFINA agent's motion for summary judgment
                  KNK       Revise draft memo of law in support of COFINA agent's           1.80    $2,655.00
                            motion for summary judgment
                  KNK       Analyze pleadings re order denying request for status           0.10     $147.50
                            conference; emails
                  KNK       Analyze pleadings re order amending scheduling order            0.10     $147.50

                  KNK       Analyze correspondence from A. Yanez et al re request for       0.20     $295.00
                            status conference; emails; reply
                  KNK       Prepare correspondence to B. Whyte re summary judgment          0.10     $147.50
                            hearing; reply
                  KNK       Analyze pleadings re order denying Ambac's motion for leave     0.10     $147.50
                            to amend
                  KNK       Telephone conference with A. Yanez re motion to extend          0.10     $147.50
                            summary judgment
                  KNK       Analyze correspondence from B. Whyte re motion to extend        0.10     $147.50
                            summary judgment
                  DJB       Email correspondence with working group re Senior COFINA        0.10     $124.50
                            motion for 105(d) conference
                  DJB       Review statement in support re 105(d) conference; email         0.30     $373.50
                            correspondence with Willkie re same
                  DJB       Conference call with working group re status of litigation,     0.60     $747.00
                            current motions, mediation
                  DJB       Review and revise draft MSJ                                     1.80    $2,241.00
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 Date             Init      Description                                                     Hours       Amount

                  DJB       Review Swain orders re clarification, scheduling, status        0.30     $373.50
                            conference, and email correspondence with working group re
                            same
                  DJB       Review pleadings re urgent motions                              0.40     $498.00

                  DJB       Email correspondence with working group re motion to            0.30     $373.50
                            extend MSJ filing deadline
                  JMW       Analyze order granting extension of deadlines                   0.10       $72.50

                  JMW       Analyze order denying AMBAC motion                              0.10       $72.50

                  JMW       Work on MSJ brief                                               2.10    $1,522.50

                  JMW       Analyze and extensive correspondence with B. Whyte and          0.60     $435.00
                            Willkie re filing of statement re COFINA Seniors’ request for
                            status conference
                  JMW       Extensive correspondence with B. Whyte and Willkie re           0.50     $362.50
                            scheduling order entered by Judge and strategy re next steps
                  JMW       Exchange e-mail correspondence COFINA Seniors, Willkie,         0.10       $72.50
                            and K. Klee re accounting expert and arguments
                  RJP       Review draft and related correspondence/analysis re             0.20     $199.00
                            bondholder status conference request, and Court’s order
                            thereon
    1/25/2018     KNK       Analyze pleadings re motion to extend summary judgment          0.20     $295.00
                            deadline; proposed order
                  KNK       Analyze revisions to summary judgment brief; emails             0.50     $737.50

                  KNK       Analyze correspondence from M. Seidel re Holder status          0.10     $147.50

                  DJB       Review collected KTBS comments to MSJ                           0.50     $622.50

                  DJB       Review draft motion to extend deadlines (MSJ)                   0.30     $373.50

                  DJB       Email correspondence with working group re comments to          0.20     $249.00
                            motion to extend deadlines (MSJ)
                  JMW       Analyze scheduling order re COFINA agent’s motion to            0.10       $72.50
                            extend deadlines
                  JMW       Analyze GO bondholders statement of support of COFINA           0.10       $72.50
                            agent’s motion
                  JMW       Analyze draft motion of COFINA Agent to extend MSJ              0.50     $362.50
                            briefing deadlines and correspondence with working group re
                            same
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 Date             Init      Description                                                   Hours       Amount

                  JMW       Work on comment to motion for summary judgment                0.50     $362.50

    1/26/2018     KNK       Analyze pleadings re proposed reply to FOMB be response to    0.10     $147.50
                            urgent motion to extend summary judgment date
                  KNK       Conference call with A. Yanez; Bob Attmore et al re expert    0.60     $885.00
                            witness
                  KNK       Analyze Oversight Board conditional consent to extension      0.20     $295.00

                  KNK       Analyze pleadings re second amended answer and                1.80    $2,655.00
                            counterclaims; revise
                  DJB       Review Klee comments to second amended answer                 0.30     $373.50

                  DJB       Review FOMB statement re motion to extend MSJ                 0.20     $249.00

                  DJB       Review reply in support of motion to extend MSJ deadlines;    0.20     $249.00
                            email correspondence with working group re same
                  JMW       Call with potential accounting expert and Willkie             0.60     $435.00

                  JMW       Analyze draft second amended counterclaims and answer         0.80     $580.00

                  JMW       Analyze correspondence from M. Seidel re accounting expert    0.10       $72.50

                  RJP       Conference call with potential accounting expert witness      0.60     $597.00

    1/27/2018     KNK       Analyze pleadings re order extending briefing schedule and    0.10     $147.50
                            summary judgment
                  KNK       Analyze pleadings re response re motion to extend time to     0.10     $147.50
                            move for summary judgment
                  DJB       Review draft second amended answer                            0.60     $747.00

                  DJB       Review order re extension of MSJ; email correspondence with   0.30     $373.50
                            working group re same
                  JMW       Analyze responses, replies re COFINA Agent motion re          0.30     $217.50
                            scheduling of SJ briefing
                  JMW       Analyze Senior COFINA Holders’ correspondence re draft SJ     0.20     $145.00
                            brief
                  RJP       Review Quinn Emanuel edits/comments to draft summary          0.10       $99.50
                            judgment brief
    1/29/2018     DJB       Email correspondence with working group re answer to          0.20     $249.00
                            second amended complaint
                  JMW       Telephone conference with T. Yanez, M. Seidel, and R.         0.50     $362.50
                            Pfister re accounting depositions
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 Date             Init      Description                                                       Hours          Amount

                  JMW       Analyze draft second amended complaint and confer with S.         0.30        $217.50
                            Hussein re same
                  RJP       Conference call with Willkie team and J. Weiss re                 0.60        $597.00
                            preparations/strategy for auditor depositions
                  RJP       Analyze proposed protective order stipulation and undertake       0.50        $497.50
                            legal research and analysis re effectiveness of same; exchange
                            email correspondence with K. Klee re results of research
    1/30/2018     KNK       Analyze pleadings re second amended answer                        1.10      $1,622.50

                  KNK       Analyze pleadings re answer affirmative defenses and              0.80      $1,180.00
                            counterclaims of National
                  DJB       Review and comment on draft MSJ                                   1.00      $1,245.00

                  DJB       Email correspondence with working group re second amended         0.40        $498.00
                            answer filings (various parties)
                  JMW       Analyze as-filed COFINA answer                                    0.20        $145.00

                  JMW       Analyze revised draft and redline of COFINA MSJ                   0.80        $580.00

                  JMW       Analyze AMBAC answer to second amended complaint                  0.30        $217.50

                  RJP       Analyze revised draft summary judgment brief and email            0.50        $497.50
                            correspondence re same
    1/31/2018     KNK       Analyze pleadings re draft summary judgment brief and             0.90      $1,327.50
                            comments thereon
                  KNK       Analyze pleadings re amended answers to Commonwealth              2.80      $4,130.00
                            agent's complaint; emails analyzing same
                  KNK       Analyze correspondence from N. Navarro-Cabrer re                  0.20        $295.00
                            certification to Puerto Rico S. Ct.; emails
                  DJB       Email correspondence with Willkie re Bussel comments on           0.30        $373.50
                            MSJ
                  JMW       Analyze answers (several) and redlines to second amended          1.30        $942.50
                            complaint
                  JMW       Analyze correspondence from C. Koenig re impact of J.             0.10          $72.50
                            Swain order re GO bondholders claims dismissal
                  RJP       Analyze correspondence re draft summary judgment brief and        0.20        $199.00
                            strategy/timing issue in connection with request to certify
                            issues to Puerto Rico Supreme Court
Professional Services Rendered                                                               96.20    $102,572.00
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 For Services Rendered Through 1/31/2018

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 In Reference To: Case Administration
 File No.:        2291-0002

 Label27
 Professional Services
 Date                Init      Description                                                    Hours        Amount

    1/2/2018         JMW       Analyze COFINA senior holders' reply re page limit             0.10        $72.50
                               extension in COFINA interpleader case
    1/5/2018         KNK       Analyze pleadings re informative motion of Commonwealth        0.10      $147.50
                               Agent re 1/10 hearing
                     KNK       Analyze pleadings re informative motion of Senior              0.10    No Charge
                               Bondholders re 1/10 hearing on Commonwealth urgent
                               motion
                     KNK       Analyze pleadings re AFSCME informative motion re 1/10         0.10    No Charge
                               hearing on Commonwealth Agent's urgent motion
                     JMW       Analyze several informative motions for 1/10 hearing           0.20      $145.00

                     JMW       Analyze joint report of AMBAC and FOMB re 2004 motion          0.10        $72.50

    1/8/2018         SDP       Set up 1/10 telephonic appearance for K. Klee                  0.10    No Charge

                     SDP       Prepare correspondence to K. Klee re 1/10 telephonic hearing   0.10    No Charge

    1/9/2018         KNK       Analyze article re PR House elimination of SUT                 0.10      $147.50

    1/17/2018        JMW       Analyze COFINA seniors supplemental 2019 statement             0.10        $72.50

                     DJB       Review FEMA letter re CDL                                      0.20      $249.00

    1/18/2018        DJB       Email correspondence with working group and O'Melveny re       0.20      $249.00
                               COFINA board minutes
    1/22/2018        JMW       Analyze correspondence from B. Whyte re insurers’ position     0.10        $72.50
                               on PREPA sale
    1/23/2018        JMW       Analyze proposed expert retention agreement and                0.30      $217.50
                               correspondence from K. Klee and Willkie re same
                     DJB       Email correspondence with COFINA creditors re objections       0.50      $622.50
                               and joinders to AMBAC / UCC; motion for 105(d)
                               conference
    1/29/2018        KNK       Analyze correspondence from S. Hussein re signature block      0.10      $147.50
                               and pro hac vice motion; reply
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 Date                Init      Description                                                   Hours        Amount

                     KNK       Analyze draft expert engagement letters; emails               0.30      $442.50

                     SDP       Revise R. Pfister pro hac vice motion                         0.10        $37.50

                     SDP       Revise R. Pfister pro hac vice motion                         0.10    No Charge

                     JMW       Analyze and suggest revisions to draft expert engagement      0.50      $362.50
                               letters
                     RJP       Review draft expert engagement letters and email              0.10        $99.50
                               correspondence re same
    1/30/2018        KNK       Analyze pleadings re order dismissing GO Bondholders' suit;   0.40      $590.00
                               emails and articles; reply
                     DJB       Review Swain opinion re dismissal of PREPA declaratory        0.70      $871.50
                               relief action on section 305 and ripeness grounds; email
                               correspondence with working group re same (implications for
                               COFINA-Commonwealth dispute)
                     JMW       Analyze J. Swain opinion re GO bondholder suit                0.30      $217.50

                     RJP       Review email correspondence re revisions to expert            0.10        $99.50
                               engagement letters
Professional Services Rendered                                                               5.10    $4,936.00

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Meetings/Creditor Communications
 File No.:        2291-0003

 Label27
 Professional Services
 Date                Init      Description                                                   Hours        Amount

    1/3/2018         KNK       Conference call with B. Whyte, M. Feldman, J. Weiss and D.    0.30      $442.50
                               Bussel re Luc Despins scope motion; objection, hearing date
                     DJB       Weekly conference call with COFINA agent working group        0.30      $373.50

                     JMW       Weekly call with B. Whyte and Willkie                         0.30      $217.50

    1/5/2018         KNK       Conference call with B. Whyte, M. Feldman et al re response   0.40      $590.00
                               to Commonwealth Agent's urgent motion re constitutionality
                     DJB       Email correspondence with working group re constituent        0.20      $249.00
                               positions on scope
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 Date                Init      Description                                                      Hours       Amount

    1/7/2018         KNK       Conference call with B. Whyte and M. Feldman et al re            0.30     $442.50
                               revised objection to Commonwealth motion for
                               reconsideration
    1/10/2018        KNK       Conference call with B. Whyte and J. Weiss re hearing on         0.10     $147.50
                               motion to reconsider
                     DJB       Email correspondence with working group and B. Whyte re          0.10     $124.50
                               subordinated bondholder group
                     JMW       Telephone conference with B. Whyte and K. Klee re scope          0.10       $72.50
                               hearing
    1/11/2018        KNK       Conference call with B. Wendt and J. Duggan et al re expert      0.50     $737.50
                               testimony on municipal finance
                     RJP       Conference call with municipal finance expert witness B.         0.50     $497.50
                               Wendt, with K. Klee et al.
    1/14/2018        KNK       Conference call with A. Yanez et al re depositions and expert    0.30     $442.50
                               witness
                     KNK       Conference call with B. Whyte, A. Yanez et al re S.J.            0.30     $442.50

                     JMW       Call with B. Whyte and Willkie re grant of motion to amend       0.30     $217.50

                     JMW       Call with M. Feldman, T. Yanez and J. Dugan re expert            0.40     $290.00
                               discovery issues
                     DJB       Conference call with B. Whyte and working group re order         0.30     $373.50
                               granting motion to amend (scope); mediation strategy
                     DJB       Conference call with Willkie and KTBS working group re           0.40     $498.00
                               mediation strategy; accounting depositions
    1/16/2018        KNK       Analyze correspondence from COFINA bondholders re                0.10     $147.50
                               response to scope order and amended complaint
                     KNK       Prepare correspondence to Willkie team re 1/17 creditor call     0.10     $147.50

                     KNK       Conference call with B. Whyte and J. Weiss re trial and expert   0.40     $590.00
                               witnesses
                     DJB       Communications with COFINA constituents re mediation             0.20     $249.00
                               posture, process
                     JMW       Call with B. Whyte re litigation and deposition strategy         0.40     $290.00

                     JMW       Telephone conference with B. Whyte and K. Klee re expert         0.10       $72.50
                               witnesses
    1/17/2018        KNK       Conference call with B. Whyte and S. Kirpalani et al re          1.00    $1,475.00
                               COFINA House response to second amended complaint
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 Date                Init      Description                                                       Hours         Amount

                     KNK       Conference call with B. Whyte, A. Yanez et al re summary          0.60       $885.00
                               judgment, certification, depositions
                     DJB       Confer with COFINA constituents re mediation process,             0.60       $747.00
                               scope order issues
                     JMW       Weekly call with B. Whyte and Willkie                             0.60       $435.00

                     JMW       Group call with COFINA parties (seniors, juniors, insurers) re    1.00       $725.00
                               litigation and mediation issues
    1/24/2018        KNK       Conference call with B. Whyte, A. Yanez et al re weekly           0.40       $590.00
                               strategy call
                     JMW       Weekly call re strategy with B. Whyte and Willkie                 0.40       $290.00

    1/25/2018        KNK       Analyze correspondence from J. Gana re creditor working           0.10       $147.50
                               group call re Commonwealth-COFINA mediations
    1/31/2018        KNK       Conference call with B. Whyte, M. Feldman et al re mediation      0.50       $737.50
                               motion
                     KNK       Conference call with B. Whyte, D. Bussel and J. Weiss re          0.20       $295.00
                               mediation motion
                     DJB       Weekly status call with COFINA Agent working group                0.50       $622.50

                     DJB       Confer with B. Whyte and KTBS working group re mediation          0.20       $249.00
                               strategy
                     JMW       Weekly call with Willkie, B. Whyte re mediation motion            0.50       $362.50

                     JMW       Follow up call with B. Whyte re mediation                         0.20       $145.00

Professional Services Rendered                                                                  13.20    $15,361.00

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Mediation/Negotiations
 File No.:        2291-0004

 Label27
 Professional Services
 Date                Init      Description                                                       Hours         Amount

    1/6/2018         KNK       Telephone conference with B. Whyte re judge Houser's views        0.20       $295.00
                               re scope and mediation
    1/9/2018         KNK       Telephone conference with B. Whyte re mediations                  0.20       $295.00
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 Date             Init      Description                                                   Hours       Amount

    1/12/2018     KNK       Analyze memo re mediation from Judge Houser; emails re        0.40     $590.00
                            same; craft response
                  JMW       Analyze mediation memo                                        0.10       $72.50

    1/13/2018     KNK       Analyze correspondence from J. Weiss re mediation memo;       0.10     $147.50
                            reply
    1/14/2018     KNK       Telephone conference with B. Whyte re mediation               0.10     $147.50

                  KNK       Conference call with A. Yanez et al re mediation brief and    0.10     $147.50
                            immunity
    1/15/2018     KNK       Analyze correspondence from C. Koenig re letter to B.         0.20     $295.00
                            Houser re mediation; revise and reply; emails
                  KNK       Analyze revised letter to Judge Houser re mediation           0.10     $147.50

                  KNK       Analyze correspondence from B. Whyte re mediation call        0.10     $147.50
                            with B. Houser; reply
                  KNK       Analyze correspondence from M. Feldman, B. Whyte et al re     0.20     $295.00
                            mediation call with judge Houser; next steps
                  DJB       Email correspondence with working group re Houser call (B.    0.80     $996.00
                            Whyte, M. Feldman)
                  DJB       Review correspondence with working group re letter to B.      0.80     $996.00
                            Houser and comments thereon
                  JMW       Exchange e-mail correspondence with Willkie and K. Klee       0.30     $217.50
                            and B. Whyte re letter to mediators
                  JMW       Analyze correspondence from M. Feldman re result of call      0.20     $145.00
                            with mediators and exchange e-mail correspondence with K.
                            Klee and D. Bussel and B. Whyte re same
    1/16/2018     KNK       Analyze correspondence from B. Whyte re COFINA agent's        0.20     $295.00
                            participation in mediation; reply
                  DJB       Review Houser memo re mediation                               0.20     $249.00

                  DJB       Email correspondence with working group re mediation          0.10     $124.50
                            conference
                  JMW       Analyze memo from Willkie firm to constituents re mediation   0.10       $72.50
                            issues
                  JMW       Analyze draft scope chart prepared by Paul Hastings firm      0.20     $145.00

    1/17/2018     DJB       Review creditor update deck and fiscal plan status            0.30     $373.50
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 Date             Init      Description                                                     Hours       Amount

                  JMW       Analyze scope charts and exchange e-mail correspondence         0.10       $72.50
                            with S. Hussein re same
                  JMW       Analyze correspondence (2) from mediators and Powerpoint        0.20     $145.00
                            attachment
    1/18/2018     KNK       Analyze correspondence from E. Kay re revised memo to           0.10     $147.50
                            Judge Houser re mediation
                  DJB       Review COFINA parties draft mediation memo to B. Houser;        0.30     $373.50
                            email correspondence with working group re mediation memo
                  DJB       Confer with J. Weiss re mediation memo                          0.20     $249.00

                  DJB       Review revised COFINA parties mediation memo to B.              0.10     $124.50
                            Houser
                  JMW       Analyze and strategize re mediation letter (two drafts) to J.   0.60     $435.00
                            Houser
    1/19/2018     DJB       Prepare In-Scope Risk Assessment                                1.20    $1,494.00

                  DJB       Review draft scope chart and email correspondence with          0.20     $249.00
                            working group re same
                  DJB       Review draft charts re risk assessment                          0.30     $373.50

                  SDP       Revise risk assessment charts                                   0.40     $150.00

                  JMW       Work on mediation risk chart                                    0.30     $217.50

    1/21/2018     DJB       Email correspondence with J. Weiss and K. Klee re revised       0.20     $249.00
                            charts
                  JMW       Analyze risk assessment charts and exchange e-mail              0.30     $217.50
                            correspondence with D. Bussel and K. Klee re same
    1/22/2018     KNK       Analyze draft mediation memo                                    0.10     $147.50

                  DJB       Email correspondence with working group re mediation            0.10     $124.50
                            memo to Houser
                  JMW       Analyze revised mediation memo and correspondence from E.       0.20     $145.00
                            Kay re same
    1/23/2018     KNK       Analyze revised risk charts and emails re same                  0.20     $295.00

                  DJB       Email correspondence with B. Whyte re mediation analysis        0.20     $249.00

                  JMW       Analyze final revised risk assessment charts and narrative      0.20     $145.00

    1/27/2018     KNK       Analyze correspondence from B. Howser re mediation and          0.20     $295.00
                            summary judgment; emails; reply
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 Date             Init      Description                                                  Hours       Amount

                  DJB       Email correspondence with working group re Houser            0.40     $498.00
                            correspondence
                  DJB       Email correspondence with working group re Senior COFINA     0.10     $124.50
                            clarification request
                  JMW       Analyze correspondence re B. Houser correspondence re        0.20     $145.00
                            mediation
    1/28/2018     KNK       Analyze correspondence from B. Houser re mediation           0.10     $147.50
                            schedule
                  KNK       Analyze correspondence from M. Feldman re call with B.       0.10     $147.50
                            Houser and mediation schedule; reply
                  KNK       Analyze revised risk assessment charts                       0.20     $295.00

                  DJB       Email correspondence with working group re agreement to      0.30     $373.50
                            move to extend mediation immunity
                  DJB       Email correspondence with B. Whyte re revised mediation      0.40     $498.00
                            analysis
                  JMW       Analyze mediation memo from mediation team                   0.10       $72.50

    1/29/2018     KNK       Conference call with B. Whyte and M. Feldman re AFFAF        0.20     $295.00
                            mediation position
                  KNK       Analyze pleadings re joint urgent motion to expand agent's   0.30     $442.50
                            mediation authority and immunity; emails re same; reply
                  DJB       Email correspondence with working group re out-of-scope      0.30     $373.50
                            mediation authority
                  DJB       Review draft motion re mediation scope                       0.20     $249.00

                  DJB       Email correspondence with working group re draft motion re   0.20     $249.00
                            mediation scope
                  JMW       Analyze motion re expansion of mediation immunity and        0.50     $362.50
                            confer with Willkie and B. Whyte re same
    1/30/2018     KNK       Analyze correspondence from B. Houser re motion re           0.10     $147.50
                            immunity
                  KNK       Revised motion to expand scope of mediation and immunity;    0.20     $295.00
                            emails re same
                  KNK       Analyze pleadings re proposed order re motion to expand      0.10     $147.50
                            scope of mediation
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 Date             Init      Description                                                     Hours         Amount

                  DJB       Email correspondence with working group re comments and         0.50       $622.50
                            objections to draft order re out-of-scope mediation (various
                            constituents)
                  DJB       Review revised order re out-of-scope mediation and email        0.30       $373.50
                            correspondence with working group re comments
                  DJB       Email correspondence with working group re Ambac                0.20       $249.00
                            objections to out-of-scope mediation
                  JMW       Analyze revised order granting mediation immunity               0.20       $145.00

                  JMW       Analyze correspondence (extensive) between COFINA               0.20       $145.00
                            constituencies and FOMB re mediation immunity motion
    1/31/2018     KNK       Confer with D. Bussel and J. Weiss re mediation motion          0.30       $442.50

                  KNK       Prepare correspondence to M. Feldman re mediation authority     0.10       $147.50

                  KNK       Revise joint motion expanding authority for mediation           0.60       $885.00
                            purposes
                  DJB       Email correspondence with working group re proposed             0.20       $249.00
                            modifications to out-of-scope mediation order
                  DJB       Review revised form of order (mediation of out-of-scope         0.30       $373.50
                            issues)
                  DJB       Review draft motion to authorize Agents re mediation            0.20       $249.00
                            (out-of-scope)
                  DJB       Confer with K. Klee and J. Weiss re mediation strategy          0.30       $373.50

                  JMW       Confer with K. Klee and D. Bussel re mediation                  0.30       $217.50

                  JMW       Continued review and analysis re mediation brief                0.50       $362.50

                  JMW       Analyze revised FOMB draft of mediation immunity motion         0.50       $362.50
                            and several iterations of order and exchange e-mail
                            correspondence with Willkie and K. Klee re same
Professional Services Rendered                                                             19.40    $22,153.00

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Fee Applications and Retention
 File No.:        2291-0005

 Label27
 Professional Services
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    1/3/2018         KNK       Analyze memo re fee examiner demands; confer with J.            0.30      $442.50
                               Weiss re same
                     DJB       Review Fee Examiner memo                                        0.10      $124.50

                     SDP       Analyze correspondence from K. Stadler re fee examiner          0.10    No Charge
                               memo to professionals on status report and fee review process
                     SDP       Analyze fee examiner's 1/3 status report/fee review process     0.10        $37.50
                               memo
                     JMW       Analyze fee examiner memo and prepare correspondence to         0.40      $290.00
                               K. Klee, D. Bussel and b. Whyte re same
                     JMW       Work on monthly fee statement                                   0.50    No Charge

    1/9/2018         SDP       Prepare December fee statement and exhibits                     1.60      $600.00

                     SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re        0.20        $75.00
                               December fee statements
    1/11/2018        SDP       Analyze correspondence from J. Weiss re fee payment             0.10        $37.50

                     JMW       Prepare correspondence re notice of COFINA non-payment of       0.20      $145.00
                               fees to Commonwealth
    1/12/2018        SDP       Analyze email exchange between J. Weiss and N.                  0.20        $75.00
                               Navarro-Cabrer re December fee statement (multiple)
    1/15/2018        KNK       Analyze draft email to S. Uhland re overdue fees                0.10      $147.50

                     JMW       Prepare fifth monthly fee application                           1.50    $1,087.50

                     JMW       Prepare correspondence to S. Uhland re payment on fourth        0.20      $145.00
                               monthly fee application
    1/16/2018        KNK       Revise Fifth Monthly Fee Statement                              0.20      $295.00

                     KNK       Prepare correspondence to S. Uhland re past due fees            0.10      $147.50

                     SDP       Analyze correspondence from N. Navarro-Cabrer re payment        0.10        $37.50
                               of November fees
                     SDP       Analyze correspondence from J. Weiss to N. Navarro-Cabrer       0.10        $37.50
                               re payment of November fees
                     JMW       Revise and finalize monthly fee statement                       0.50      $362.50

    1/17/2018        SDP       Analyze email exchange between J. Weiss and N.                  0.20    No Charge
                               Navarro-Cabrer re payment of November fees
    1/25/2018        SDP       Exchange e-mail correspondence with J. Weiss re statement       0.20        $75.00
                               of no objection re December fee statement
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 Date                Init      Description                                                     Hours       Amount

                     SDP       Analyze email exchange between J. Weiss and N.                  0.20       $75.00
                               Navarro-Cabrer re statement of no objection
                     JMW       Exchange e-mail correspondence with S. Pearson, N. Navarro      0.10       $72.50
                               re statements of non-objection re December fees
    1/26/2018        SDP       Prepare statement of no objection re December fee application   0.20       $75.00

    1/29/2018        KNK       Analyze pleadings re fee examiner stiuplation re                0.20     $295.00
                               confidentiality; emails re same
                     DJB       Email correspondence with working group re attorney-client      0.10     $124.50
                               privilege waiver
                     DJB       Email correspondence with working group re fee examiner         0.20     $249.00
                               agreement
                     SDP       Exchange e-mail correspondence with N. Navarro-Cabrer re        0.30     $112.50
                               statement of no objection
                     SDP       Revise KTB&S statement of no objection                          0.10       $37.50

                     SDP       Analyze correspondence from K. Stadler re stipulated            0.10       $37.50
                               disclosure agreement and protective order
                     SDP       Serve KTB&S's and N. Navarro-Cabrer's statements of no          0.30     $112.50
                               objection
                     JMW       Revise no-objection statement for December 2017 fees            0.20     $145.00

                     JMW       Analyze stipulated disclosure agreement and protective order    0.40     $290.00
                               from fee examiner
                     JMW       Exchange e-mail correspondence with Willkie and B. Whyte        0.20     $145.00
                               and K. Klee and R. Pfister re fee examiner attorney client
                               privilege issues
Professional Services Rendered                                                                 9.60    $5,933.00

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Budget
 File No.:        2291-0007

 Label27
 Professional Services
 Date                Init      Description                                                     Hours       Amount

    1/3/2018         SDP       Analyze correspondence from N. Navarro-Cabrer re fee            0.10       $37.50
                               examiner requirements for budgets
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 Date                Init      Description                                                  Hours        Amount

    1/5/2018         SDP       Analyze correspondence from N. Navarro-Cabrer re budget      0.10        $37.50

    1/15/2018        KNK       Analyze correspondence from J. Weiss re proposed budget      0.10      $147.50

                     JMW       Prepare budget and staffing plan                             0.50      $362.50

                     JMW       Prepare prospective budget per fee examiner request          0.50      $362.50

    1/16/2018        KNK       Revise January 2018 budget; email J. Weiss                   0.10      $147.50

                     KNK       Revise February 2018 budget; email J. Weiss                  0.10      $147.50

                     SDP       Analyze email to B. Whyte re February budget                 0.10    No Charge

Professional Services Rendered                                                              1.60    $1,242.50

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Discovery/Fact Analysis
 File No.:        2291-0008

 Label27
 Professional Services
 Date                Init      Description                                                  Hours        Amount

    1/1/2018         RJP       Review correspondence re newly-produced documents from       0.10        $99.50
                               PMA
    1/2/2018         KNK       Analyze correspondence from B. Whyte re SUT                  0.10      $147.50

                     JMW       Exchange e-mail correspondence with J. Dugan re experts      0.10        $72.50

    1/3/2018         JMW       Analyze COFINA Agent responses and objections to CW          0.20      $145.00
                               Agent first set of interrogatories
                     RJP       Analyze COFINA Agent’s objections and responses to           0.20      $199.00
                               interrogatories served by Commonwealth Agent; review
                               correspondence re same and re document productions
    1/5/2018         JMW       Analyze correspondence from J. Worthington re CO Agent       0.10        $72.50
                               responses to COFINA discovery
                     JMW       Analyze GO Bondholders brief re fiscal plan materials        0.20      $145.00

                     RJP       Review correspondence from Commonwealth Agent’s              0.10        $99.50
                               counsel re objections/responses to interrogatories; review
                               document production notifications
    1/7/2018         DJB       Review 30(b)(6) notice re PMK                                0.20      $249.00
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 Date                Init      Description                                                     Hours       Amount

                     JMW       Analyze 30(b)(6) notice to COFINA                               0.10       $72.50

    1/8/2018         JMW       Analyze objections and responses of GO holders to COFINA        0.50     $362.50
                               document requests
                     JMW       Analyze CW Agent responses to CO Agent interrogatories          0.40     $290.00

                     JMW       Analyze CO Agent deposition notice and exchange e-mail          0.10       $72.50
                               correspondence with D. Bussel re same
                     RJP       Analyze Rule 30(b)(6) notice, discovery objections/responses,   0.30     $298.50
                               and correspondence re same
    1/9/2018         DJB       Review status of SUT legislation                                0.10     $124.50

                     KNK       Analyze pleadings re discovery objections                       0.30     $442.50

                     DJB       Review answers to third party interrogatories                   0.50     $622.50
                               (Decagon/Tilden/Golden Tree)
                     DJB       Email correspondence with working group re accounting           0.10     $124.50
                               expert
                     JMW       Analyze COFINA holders responses/objections to CW Agent         0.20     $145.00
                               discovery
                     RJP       Analyze document subpoena and objections/responses to           0.20     $199.00
                               same
    1/10/2018        DJB       Analyze reports re fiscal plan extension                        0.10     $124.50

                     KNK       Analyze correspondence from S. Hussein re depositions;          0.30     $442.50
                               confer with B. Whyte, R. Pfister and J. Weiss re coverage
                     KNK       Analyze pleadings re deposition subpoenas                       0.30     $442.50

                     DJB       Review Wendt resume and related email correspondence with       0.10     $124.50
                               working group
                     DJB       Review 30(b)(6) deposition notices for COFINA Agent             0.20     $249.00
                               (PMK); Pagan Irizarry
                     DJB       Email correspondence with working group re deposition           0.20     $249.00
                               coverage
                     JMW       Analyze accounting-related discovery served by CW and CO        1.70    $1,232.50
                               Agents and research re analyze related issues
                     JMW       Analyze chart of depositions for week of 1/19-1/26 and          0.20     $145.00
                               correspondence from Willkie firm re same
                     JMW       Confer with K. Klee and R. Pfister re deposition coverage       0.10       $72.50
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 Date             Init      Description                                                    Hours       Amount

                  RJP       Plan and prepare for depositions, with K. Klee and J. Weiss;   0.80     $796.00
                            extensive correspondence re same with B. Whyte and Willkie
                            team
    1/11/2018     JMW       Telephone conference with J. Dugan re response to motion to    0.10       $72.50
                            amend
                  JMW       Analyze notice of CW Agent deposition of                       0.10       $72.50
                            government/treasury
    1/12/2018     KNK       Analyze correspondence from D. Bussel and J. Weiss re          0.10     $147.50
                            subpoenas and depositions
                  DJB       Email correspondence with KTBS working group re KPMG           0.30     $373.50
                            deposition
                  JMW       Exchange e-mail correspondence with S. Hussein re              0.10       $72.50
                            deposition coverage
                  JMW       Analyze issues re accounting firm discovery and depositions    0.80     $580.00
                            and research re same
                  RJP       Plan and prepare for cross-noticed deposition of KPMG          0.50     $497.50

    1/13/2018     KNK       Analyze correspondence from J. Weiss re depositions; reply     0.10     $147.50

                  DJB       Email correspondence with working group re mediation brief,    0.20     $249.00
                            accounting depositions
                  JMW       Exchange e-mail correspondence with M. Feldman and T.          0.20     $145.00
                            Yanez re mediation and discovery issues
    1/14/2018     JMW       Exchange e-mail correspondence with J. Dugan, K. Klee, R.      0.30     $217.50
                            Pfister re expert discovery proposal
    1/15/2018     KNK       Analyze correspondence from J. Weiss re discovery; reply       0.10     $147.50

                  KNK       Analyze correspondence from S. Hussein re accountants          0.10     $147.50
                            depositions
                  DJB       Review O'Melveny document production (J. Daniels               0.20     $249.00
                            correspondence)
                  JMW       Analyze correspondence from J. Daniels re AAFAF                0.10       $72.50
                            production
                  JMW       Analyze correspondence from S. Hussein re COFINA               0.10       $72.50
                            financial statements
                  JMW       Work on preparation for accounting depositions (analyze        1.10     $797.50
                            relevant produced documents)
                  RJP       Analyze correspondence re accountant depositions               0.20     $199.00
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 Date             Init      Description                                                      Hours       Amount

    1/16/2018     DJB       Email correspondence with Willkie re discovery issues,           0.20     $249.00
                            accounting depositions, timing
                  DJB       Email correspondence with B. Whyte re accounting expert          0.10     $124.50

                  DJB       Confer with J. Weiss re accounting expert                        0.20     $249.00

                  DJB       Confer with C. Nelson re accounting expert                       0.30     $373.50

                  DJB       Email correspondence with M. Luber re accounting expert          0.10     $124.50

                  JMW       Analyze documents and issues re accounting deposition            3.30    $2,392.50
                            preparation and expert witnesses
                  RJP       Analyze correspondence re upcoming depositions                   0.10       $99.50

                  RJP       Coordinate with B. Whyte, K. Klee, D. Bussel, and J. Weiss       0.20     $199.00
                            re retention of account expert in advance of third-party
                            depositions of accounting expert
                  RJP       Plan and prepare for lead role in accounting-related             0.20     $199.00
                            depositions; coordinate with J. Weiss re same
    1/17/2018     JMW       Prepare for accounting depositions, including analysis of        1.90    $1,377.50
                            produced documents regarding same and expert issues
                  KNK       Analyze correspondence from S. Cooper re COFINA                  0.10     $147.50
                            discovery
                  DJB       Confer with M. Luber re accounting experts                       0.40     $498.00

                  DJB       Email correspondence with M. Luber and working group re          0.30     $373.50
                            potential experts (accounting)
                  DJB       Review draft retention agreement (accounting expert)             0.20     $249.00

                  DJB       Email correspondence with Willkie re deposition schedule         0.40     $498.00

                  JMW       Analyze discovery letter from S. Cooper to J. Daniels            0.10       $72.50

                  JMW       Exchange e-mail correspondence with S. Hussein re 1/19           0.10       $72.50
                            deposition attendance
                  RJP       Continue preparing for accountant depositions, including         0.50     $497.50
                            correspondence with Willkie et al. re deposition scheduling
                            and re engagement of accounting expert/consultant to assist in
                            reviewing accounting-related documents
    1/18/2018     KNK       Analyze correspondence from S. Hussein re accountant             0.10     $147.50
                            depositions
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 Date             Init      Description                                                     Hours       Amount

                  KNK       Analyze correspondence from J. Weiss re depositions in New      0.10     $147.50
                            York
                  KNK       Analyze pleadings re KPMG motion to quash; emails               0.20     $295.00

                  KNK       Analyze correspondence from J. Daniels re COFINA minutes        0.10     $147.50
                            document production
                  KNK       Analyze pleadings re Commonwealth agents objection to           0.10     $147.50
                            KPMG motion to quash
                  DJB       Email correspondence with working group re KPMG motion          0.30     $373.50
                            to quash, deposition rescheduling
                  DJB       Review Dugan letter re discovery objections                     0.10     $124.50

                  JMW       Analyze J. Dugan letter to AAFAF re discovery                   0.10       $72.50

                  JMW       Analyze KPMG motion to quash and Commonwealth                   0.30     $217.50
                            response thereto
                  JMW       Analyze correspondence from J. Daniels and attachments re       0.10       $72.50
                            discovery
                  JMW       Analyze status of KTBS third-party discovery subpoena           0.40     $290.00
                            recipients (underwriting banks and Hawkins Delafield law
                            firm)
                  JMW       Work on preparation for accounting depositions                  0.80     $580.00

                  RJP       Analyze KPMG motion to quash and exchange email                 0.30     $298.50
                            correspondence with Willkie, et al, re impact on accounting
                            depositions
    1/19/2018     RJP       Prepare for accountant depositions, including meet with K.      0.80     $796.00
                            Klee and D. Bussel re issues/strategies and confer/correspond
                            with J. Weiss and Willkie team re timing
                  JMW       Analyze Commonwealth financial statements (production           1.20     $870.00
                            from AAFAF) in preparation for accounting expert calls
                  KNK       Conference call with Susan and John from Alix with M.           0.60     $885.00
                            Seidel et al re expert witness
                  DJB       Review report of FOMB meeting re liquidity                      0.20     $249.00

                  KNK       Analyze correspondence from N. Navarro-Cabrer re FOMB           0.20     $295.00
                            meeting; emails
                  DJB       Email correspondence with working group re GASB expert          0.10     $124.50

                  DJB       Confer with R. Pfister, K. Klee, and J. Weiss re GASB expert    0.40     $498.00
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 Date             Init      Description                                                   Hours       Amount

                  JMW       Analyze summary of 1/19 FOMB session on liquidity             0.10       $72.50

    1/20/2018     KNK       Analyze correspondence from A. Yanez and B. Whyte re          0.10     $147.50
                            discovery extension; reply
                  DJB       Email correspondence with working group re accounting         0.10     $124.50
                            expert
                  DJB       Email correspondence with working group re trial schedule /   0.20     $249.00
                            discovery cutoff
    1/21/2018     JMW       Analyze correspondence from B. Whyte re federal loan and      0.10       $72.50
                            Commonwealth liquidity
    1/22/2018     DJB       Email correspondence with working group re stipulation on     0.20     $249.00
                            discovery schedule
    1/23/2018     KNK       Conference call with potential expert and A. Yanez et al re   0.60     $885.00
                            expert GASB witness
                  KNK       Analyze Commonwealth audited financial statements FY          1.30    $1,917.50
                            2014 and emails re same
                  DJB       Email correspondence with working group re retention          0.20     $249.00
                            (expert)
                  DJB       Email correspondence with working group re UCC motion on      0.40     $498.00
                            discovery / summary judgment and objections thereto
                  DJB       Email correspondence with working group re accounting         0.30     $373.50
                            working papers
                  DJB       Email correspondence with working group and O'Melveny re      0.20     $249.00
                            Commonwealth document production
                  DJB       Review and comment on joinder to UCC motion re discovery      0.30     $373.50
                            and summary judgment deadlines
                  JMW       Analyze (partial) accounting workpapers from KPMG             0.40     $290.00

                  JMW       Analyze correspondence from B. Gray re production from        0.10       $72.50
                            Santander
                  RJP       Analyze KPMG memoranda and analyses of proper                 1.00     $995.00
                            accounting treatment in preparation for accountant
                            depositions and accounting expert retention
    1/24/2018     DJB       Review revised expert engagement letter                       0.10     $124.50

                  JMW       Analyze productions from accounting firms                     1.20     $870.00

                  JMW       Analyze subpoenas to Rivera and Velez and correspondence      0.10       $72.50
                            from J. Worthington and S. Hussein re same
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0000                                                                                                Bill # 16266
.

 Date             Init      Description                                                     Hours       Amount

                  JMW       Analyze deposition notices from Committee to Goldman and        0.10       $72.50
                            Lehman
                  JMW       Prepare correspondence to S. Hussein re third party discovery   0.10       $72.50
                            status
                  RJP       Review correspondence re draft summary judgment brief and       0.30     $298.50
                            discovery/scheduling materials and issues
                  RJP       Analyze continued production of accounting-related              0.40     $398.00
                            documents and exchange email correspondence with J. Weiss
                            re same
    1/25/2018     KNK       Analyze auditor documents re Commonwealth expert                0.40     $590.00

                  KNK       Analyze deposition subpoenas                                    0.10     $147.50

                  DJB       Email correspondence with working group re search for           0.30     $373.50
                            accounting expert
                  JMW       Exchange e-mail correspondence with M. Seidel, K. Klee re       0.10       $72.50
                            accounting expert
                  JMW       Anlayze supplemental auditor documents                          0.30     $217.50

                  JMW       Analyze correspondence re claimed Puerto Rico auditor           0.10       $72.50
                            privilege
                  RJP       Analyze additional accounting-related documents identified      0.60     $597.00
                            by the Commonwealth Agent in support of its theories and
                            exchange email correspondence re same and re
                            discovery/experts
    1/26/2018     DJB       Email correspondence with working group re KPMG                 0.10     $124.50
                            deposition
                  DJB       Email correspondence with working group re potential            0.40     $498.00
                            accounting experts
                  DJB       Review expert credentials for accounting expert                 0.20     $249.00

                  JMW       Exchange e-mail correspondence with J. Worthington, R.          0.10       $72.50
                            Pfister re KPMG deposition
                  RJP       Exchange email correspondence re potential KPMG                 0.30     $298.50
                            deposition date and other accounting-related discovery
                            matters
                  RJP       Analyze accounting-related documents to be relied upon by       1.50    $1,492.50
                            Commonwealth Agent’s accounting expert, in preparation for
                            accountant depositions
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 Date             Init      Description                                                    Hours         Amount

    1/28/2018     JMW       Analyze accounting expert report from Commonwealth             1.20       $870.00

    1/29/2018     DJB       Email correspondence with working group re expert retention    0.10       $124.50

                  DJB       Review expert report from FTI (accounting issues)              0.60       $747.00

                  JMW       Analyze Miller Buckfire materials re SUT collection            0.20       $145.00

                  JMW       Telephone conference with R. Pfister re accounting             0.10         $72.50
                            depositions
    1/30/2018     JMW       Exchange e-mail correspondence with J. Worthington, R.         0.10         $72.50
                            Pfister, Willkie re KPMG deposition
                  RJP       Exchange email correspondence with Willkie team re KPMG        0.10         $99.50
                            deposition
    1/31/2018     KNK       Analyze Malloy deposition notice                               0.10       $147.50

                  JMW       Due diligence and deposition preparation re documents          3.20     $2,320.00
                            produced by KPMG, RSM, and Deloitte
                  JMW       Exchange e-mail correspondence with S. Hussein and Willkie     0.10         $72.50
                            litigation team re third party discovery
Professional Services Rendered                                                            46.20    $44,753.00

 For Services Rendered Through 1/31/2018

 Label27
 In Reference To: Non-Working Travel
 File No.:        2291-0009

 Label27
 Professional Services
 Date             Init      Description                                                    Hours         Amount

    1/23/2018     JMW       One half non-working travel to New York for COFINA             4.70     $3,407.50
                            30(b)(6) and Commonwealth 30(b)(6) depositions
                  JMW       One half non-working travel to New York for COFINA             4.70    No Charge
                            30(b)(6) and Commonwealth 30(b)(6) depositions
    1/28/2018     JMW       One half time, travel back from NY from (adjourned)            4.00    No Charge
                            depositions
                  JMW       One half time, travel back from NY from (adjourned)            4.00    No Charge
                            depositions
Professional Services Rendered                                                            17.40     $3,407.50
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    Label6
                                               Timekeeper Summary
    Name                                                        Hours     Rate              Amount
    Label6
    Bussel, Daniel J.                                           42.80   1245.00            $53,286.00
    Pearson, Shanda D.                                           0.70      0.00            No Charge
    Pearson, Shanda D.                                           4.50    375.00             $1,687.50
    Klee, Kenneth N.                                             0.20      0.00            No Charge
    Klee, Kenneth N.                                            45.30   1475.00            $66,817.50
    Pfister, Robert J.                                          17.10    995.00            $17,014.50
    Weiss, Jonathan M.                                          13.20      0.00            No Charge
    Weiss, Jonathan M.                                          84.90    725.00            $61,552.50
                                                               208.70                     $200,358.00


                  Total fees and expenses incurred                         $201,020.23
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                Itemized Expenses forDocument
                                     the Period January
                                                   Page1,177
                                                          2018ofThrough
                                                                 197    January 31, 2018


   Date          Expense Category         Total                           Description                      Invoice No.
                                                    FedEx to Hermann D. Bauer at Oneill & Borges LLC
01/04/2018 Delivery Services/Messengers   $ 89.04   on 12/27/17                                              16266
                                                    FedEx to Andres W. Lopez at Law Offices of Andres
01/04/2018 Delivery Services/Messengers   $ 89.04   W. Lopez on 12/27/17                                     16266
                                                    FedEx to Paul V. Possinger, Esq at Proskauer Rose
01/17/2018 Delivery Services/Messengers   $ 15.78   LLP on 12/27/17                                          16266
                                                    FedEx to M. Bienenstock & Barak at Proskauer Rose
01/17/2018 Delivery Services/Messengers   $ 16.40   LLP on 12/27/17                                          16266
                                                    FedEx to J. Rapisardi, S. Uhland at OMelveny &
01/17/2018 Delivery Services/Messengers   $ 16.40   Myers LLP on 12/27/17                                    16266
01/18/2018 Telephone                      $ 3.46    Telephone Conference Service                             16266
                                                    FedEx to A.J. Bennazar-Zequeira, Esq. at Bennazar,
01/19/2018 Delivery Services/Messengers   $ 29.50   Garcia & Millian CSP on 01/16/18                         16266
                                                    FedEx to Juan Casillas Ayala at Casillas, Santiago &
01/19/2018 Delivery Services/Messengers   $ 29.50   Torres LLC on 01/16/18                                   16266
                                                    FedEx to Edificio Ochoa at Office of the US Trustee
01/19/2018 Delivery Services/Messengers $ 29.50     on 01/16/18                                              16266
01/29/2018 Travel                        $ 338.31   Airfare from SFO to JFK on 01/22/18 for J. Weiss         16266
01/31/2018 Online Research               $ 5.30     Pacer - January2018                                      16266
Total                                   $ 662.23




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                                  EXHIBIT 5




             COMPARABLE COMPENSATION DISCLOSURES




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                              COMPARABLE COMPENSATION DISCLOSURES


                                                                     Blended Hourly Rate
Category of Timekeeper                                Billed                                            Billed

(Using categories already                 Firm for Preceding Year1                              In this Application
maintained by the Firm)
          Partners                                   $875.00                                           $999.70

   Counsel/Associates                                $487.00                                             N/A

          Paralegal                                  $305.00                                           $348.99

         Aggregated                                  $779.00                                           $964.00




     1
           Represents the blended hourly rate for 2017 for each category of timekeeper, excluding estate work, per the
           UST Guidelines.

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                                  EXHIBIT 6




                     BUDGETS AND STAFFING PLANS




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                The Commonwealth of Puerto Rico, et al., Case No. 17 BK 3283-LTS
                Budget and Staffing Plan for Klee, Tuchin, Bogdanoff & Stern LLP,
                  Special Municipal Bankruptcy Counsel for the COFINA Agent

            For the Period from October 1, 2017 through and including October 31, 2017

                                            Budget

                     Project Category                     Budgeted Hours      Budgeted Fees

 0001 – Litigation/Adversary Proceedings                              40.00           $40,000
 0002 – Case Administration                                           20.00           $20,000
 0003 – Meetings/Creditor Communications                              10.00           $12,000
 0004 – Mediation/Negotiations                                        80.00           $80,000
 0005 – Fee Application and Retention                                  8.00            $6,000
 0006 – Fee Application and Retention Objections                       1.50            $2,000
 0007 – Budget                                                         1.50            $1,000
 0008 – Discovery/Fact Analysis                                       30.00           $30,000
 0009 – Non-Working Travel                                            15.00           $10,000
 Total:                                                              206.00          $201,000


                                         Staffing Plan
                                                   Number of Primary
                                                       Timekeepers
                                                                           Average Hourly
              Category of Timekeeper               Expected to Work on
                                                                                Rate
                                                    the Matter During
                                                    the Budget Period
 Partners                                                  4                        $1,043.00
 Counsel/Associates                                        0                             N/A
 Paralegals                                                1                         $345.00
 Law Clerk                                                 0                             N/A

 TOTAL                                                     5




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               The Commonwealth of Puerto Rico, et al., Case No. 17 BK 3283-LTS
               Budget and Staffing Plan for Klee, Tuchin, Bogdanoff & Stern LLP,
                 Special Municipal Bankruptcy Counsel for the COFINA Agent

       For the Period from November 1, 2017 through and including November 30, 2017

                                           Budget

                   Project Category                       Budgeted Hours      Budgeted Fees

 0001 – Litigation/Adversary Proceedings                            110.00          $120,000
 0002 – Case Administration                                          22.00           $20,000
 0003 – Meetings/Creditor Communications                             20.00           $15,000
 0004 – Mediation/Negotiations                                       50.00           $65,000
 0005 – Fee Application and Retention                                10.00            $7,000
 0006 – Fee Application and Retention Objections                      1.50            $2,000
 0007 – Budget                                                        2.50            $2,000
 0008 – Discovery/Fact Analysis                                      55.00           $45,000
 0009 – Non-Working Travel                                           16.00           $22,400
 Total:                                                             287.00          $298,400


                                        Staffing Plan
                                                   Number of Primary
                                                       Timekeepers
                                                                           Average Hourly
              Category of Timekeeper               Expected to Work on
                                                                                Rate
                                                    the Matter During
                                                    the Budget Period
 Partners                                                  4                       $1,043.00
 Counsel/Associates                                        0                            N/A
 Paralegals                                                1                        $345.00
 Law Clerk                                                 0                            N/A

 TOTAL                                                     5




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               The Commonwealth of Puerto Rico, et al., Case No. 17 BK 3283-LTS
               Budget and Staffing Plan for Klee, Tuchin, Bogdanoff & Stern LLP,
                 Special Municipal Bankruptcy Counsel for the COFINA Agent

        For the Period from December 1, 2017 through and including December 31, 2017

                                           Budget

                   Project Category                       Budgeted Hours        Budgeted Fees

 0001 – Litigation/Adversary Proceedings                             60.00            $65,000
 0002 – Case Administration                                           8.00             $8,000
 0003 – Meetings/Creditor Communications                             15.00            $15,000
 0004 – Mediation/Negotiations                                       13.00            $13,000
 0005 – Fee Application and Retention                                22.00            $14,000
 0006 – Fee Application and Retention Objections                         1.00           $1,000
 0007 – Budget                                                           3.00           $2,000
 0008 – Discovery/Fact Analysis                                      30.00            $25,000
 0009 – Non-Working Travel                                               0                 $0
 Total:                                                             152.00           $143,000


                                        Staffing Plan
                                                   Number of Primary
                                                       Timekeepers
                                                                            Average Hourly
              Category of Timekeeper               Expected to Work on
                                                                                 Rate
                                                    the Matter During
                                                    the Budget Period

 Partners                                                  4                         $1,043.00

 Counsel/Associates                                        0                              N/A

 Paralegals                                                1                          $345.00

 Law Clerk                                                 0                              N/A



 TOTAL                                                     5




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                The Commonwealth of Puerto Rico, et al., Case No. 17 BK 3283-LTS
                Budget and Staffing Plan for Klee, Tuchin, Bogdanoff & Stern LLP,
                  Special Municipal Bankruptcy Counsel for the COFINA Agent

            For the Period from January 1, 2018 through and including January 31, 2018

                                            Budget



                     Project Category                     Budgeted Hours        Budgeted Fees

 0001 – Litigation/Adversary Proceedings                              95.00           $95,000
 0002 – Case Administration                                            5.00            $5,000
 0003 – Meetings/Creditor Communications                              10.00           $10,000
 0004 – Mediation/Negotiations                                        20.00           $20,000
 0005 – Fee Application and Retention                                    8.00            $6,000
 0006 – Fee Application and Retention Objections                         1.00            $1,000
 0007 – Budget                                                           3.00            $2,000
 0008 – Discovery/Fact Analysis                                       65.00           $65,000
 0009 – Non-Working Travel                                            60.00           $27,000
 Total:                                                              267.00          $231,000


                                         Staffing Plan
                                                   Number of Primary
                                                       Timekeepers
                                                                            Average Hourly
              Category of Timekeeper               Expected to Work on
                                                                                 Rate
                                                    the Matter During
                                                    the Budget Period

 Partners                                                  4                         $1,110.00

 Counsel/Associates                                        0                              N/A

 Paralegals                                                1                          $375.00

 Law Clerk                                                 0                              N/A



 TOTAL                                                     5


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                                  EXHIBIT 7




                   LIST OF PROFESSIONAL BY MATTER




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                                                                                                     List of Professionals By Matter
                                                                                                   (October 1, 2017 - January 31, 2018)


                        Matter 0001            Matter 0002           Matter 0003            Matter 0004            Matter 0005           Matter 0006           Matter 0007             Matter 0008             Matter 0009           All Matters
                         (Litigation          (Case Admin)       (Meetings & Creditor      (Mediation &            (Fee Apps &           (Fee Apps &            (Budget)               (Discovery             (Non-Working
                         Adversary                                     Comm.)              Negotiations)            Retention)             Retention                                        &                    Travel)
                        Proceedings)                                                                                                      Objections)                                 Fact Analysis)



                     Hours    Amount       Hours    Amount       Hours    Amount        Hours    Amount        Hours    Amount        Hours    Amount       Hours    Amount       Hours      Amount        Hours    Amount       Total     Total
Timekeeper           Billed    Billed      Billed    Billed      Billed    Billed       Billed    Billed       Billed    Billed       Billed    Billed      Billed    Billed      Billed      Billed       Billed    Billed      Hours    Amount

Bussel, Daniel J.     50.90   $61,820.50    11.60   $13,942.00     9.20    $11,134.00    30.30    $36,653.50     3.00     $3,605.00     1.30    $1,553.50     0.10     $119.50     17.60      $21,492.00                         124.00   $150,320.00

Klee, Kenneth N.      70.50 $100,740.00      2.30    $3,295.00    20.90    $29,680.00    20.50    $29,060.00     5.10     $7,207.50                           1.90    $2,682.50    13.40      $19,172.50    16.40   $22,960.00 151.00     $214,797.50

Fidler, David A.                                                   0.50       $490.00                                                                                                                                              0.50       $490.00

Pfister, Robert J.    10.90   $10,621.50     0.20      $199.00     0.50       $497.50                                                                                              14.30      $13,836.50                          25.90     $25,154.50

Weiss, Jonathan M.   111.70   $75,710.00    16.20   $10,657.50    15.00    $10,072.50    25.90    $17,232.50    24.50    $16,202.50     0.10      $65.00      4.20    $2,805.00    71.70      $48,315.00     4.70    $3,407.50 274.00     $184,467.50

Pearson, Shanda D.     0.30     $103.50      0.90      $313.50                            2.50      $874.50     28.70    $10,015.50                           0.90     $316.50      0.50         $172.50                          33.80     $11,796.00

TOTALS               244.30 $248,995.50     31.20   $28,407.00    46.10    $51,874.00    79.20    $83,820.50    61.30   $37,030.50      1.40   $1,618.50      7.10   $5,923.50    117.50     $102,988.50    21.10   $26,367.50   609.20   $587,025.50
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                                  EXHIBIT 8




              KLEE, TUCHIN, BOGDANOFF & STERN LLP’S
                       ENGAGEMENT LETTER




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